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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW MEXICO
                                                   Case No.
THOMAS CAVALIERE; ROGER
CHAVEZ JR.; MICHAEL CLANCY;
SCOTT HAMILTON; RAFAEL                             CLASS ACTION COMPLAINT
HERNANDEZ; ROBERT JONES;
LAURENCE KIRCHER; ROBERT                           JURY TRIAL DEMANDED
RAICHLE; JEFFREY TAUB; DON
WATKINS; DEBORAH GOGUEN;
PRESCOTT CHARTIER; MICHAEL
SCOTT; FREDDIE TEWES; DAVID
SAMPLE; CHARLES ROMANEK;
GREEN ACRES OUTDOOR SERVICES
LLC; SAMANTHA BARSKY O/B/O
NOTEIFY; CATHIE GILSTRAP O/B/O
CRAIG GILSTRAP & ASSOCIATES;
KEVIN ALLEN O/B/O KEVIN ALLEN
PHOTOGRAPHY; A LITTLE BIT OF
SUMMER LLC; TRACEY M. BOSTON
LLC; EAGLEWOOD HOLDINGS LLC;
THE DIFFERENCE LANDSCAPES;
AEGIS HEALTHCARE SOLUTIONS,
INC.; CRAIG B. GREENFIELD
ATTORNEY AT LAW PC; BARBARA
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FORMICHELLA; XOCHITL POBLANO;
MICHAEL SEGEL; CHERIE GRANT
JOHNSON; SHIRLEY HECHT-ASHER;
CATHERINE FOSTER; ANGELA
MATHES; JOEL BELLEFEUILLE, JR.;
PATRICK WITT; DEBRA FRENCH;
DENEIGE KAPOR; MARLIN SVITAK,
JR.; ANNE LANE; VERA MCKELLEY;
SUE JONES; GARRETT MAIR; KIM
FRANZEN; ERIC WILIM; SEAN
HODGES; and RUSSELL DEMAN,
Individually and on Behalf of All Others
Similarly Situated,
                           Plaintiffs,


v.

PERMIAN RESOURCES CORP. f/k/a
CENTENNIAL RESOURCE
DEVELOPMENT, INC.; EXPAND ENERGY
CORPORATION f/k/a CHESAPEAKE
ENERGY CORPORATION;
CONTINENTAL RESOURCES INC.;
DIAMONDBACK ENERGY, INC.; EOG
RESOURCES, INC.; HESS CORPORATION;
OCCIDENTAL PETROLEUM
CORPORATION; PIONEER NATURAL
RESOURCES COMPANY; SCOTT D.
SHEFFIELD, and individual; and JOHN B.
HESS, an individual,


                           Defendants.
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       Plaintiffs Thomas Cavaliere; Roger Chavez Jr.; Michael Clancy; Scott Hamilton; Rafael

Hernandez; Robert Jones; Laurence Kircher; Robert Raichle; Jeffrey Taub; Don Watkins;

Deborah Goguen; Prescott Chartier; Michael Scott; Freddie Tewes; David Sample; Charles

Romanek; Green Acres Outdoor Services LLC; Samantha Barsky o/b/o Noteify; Cathie Gilstrap

o/b/o Craig Gilstrap & Associates; Kevin Allen o/b/o Kevin Allen Photography; A Little Bit of

Summer LLC; Tracey M. Boston LLC; Eaglewood Holdings LLC; The Difference Landscapes;

Aegis Healthcare Solutions, Inc.; Craig B. Greenfield Attorney at Law PC; Barbara Formichella;

Xochitl Poblano; Michael Segel; Cherie Grant Johnson; Shirley Hecht-Asher; Catherine Foster;

Angela Mathes; Joel Bellefeuille, Jr.; Patrick Witt; Debra French; Deneige Kapor; Marlin Svitak,

Jr.; Anne Lane; Vera McKelley; Sue Jones; Garrett Mair; Kim Franzen; Eric Wilim; Sean Hodges;

and Russell Deman, individually and on behalf of all others similarly situated (the “Class” as

defined below), upon personal knowledge as to the facts pertaining to themselves and upon

information and belief as to all other matters, and based on the investigation of counsel, bring this

class action complaint to recover treble damages, injunctive relief, and/or other relief as

appropriate, based on violations of the Sherman Act and numerous state antitrust and consumer

protection laws by Permian Resources Corporation f/k/a Centennial Resource Development, Inc.;

Expand Energy Corporation f/k/a Chesapeake Energy Corporation; Continental Resources Inc.;

Diamondback Energy, Inc.; EOG Resources, Inc.; Hess Corporation; Occidental Petroleum

Corporation; Pioneer Natural Resources Company; Scott D. Sheffield; and John B. Hess.

I.     NATURE OF ACTION

       1.      This action arises from Defendants’ conspiracy to coordinate, and ultimately

constrain, domestic shale oil production, which has had the effect of fixing, raising, and

maintaining the price of crude oil, and thereby the price paid by end-users of oil-derivative

products, including but not limited to gasoline, distillate fuel (including diesel fuel home heating




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oil), marine fuel, and jet and aviation fuel (“jet fuel”, and together “crude oil derivative fuel

products”) in and throughout the United States of America.

       2.      Shale oil, also called “tight oil,” is a high-quality crude oil found between layers of

shale rock, impermeable mudstone, or siltstone that can be extracted, refined, and used to produce

gasoline, diesel fuel, home heating oil, and other commercial products sold in the U.S.

       3.      Shale oil is produced by fracturing the rock formations that contain the layers of oil

in a process known as hydraulic fracturing, or “fracking.” Today, shale oil comprises almost two-

thirds of the onshore production of crude oil in the United States.

       4.      Crude oil supply is measured by the number of “barrels” produced, each of which

contains 42 gallons of crude oil. Daily oil production is measured in barrels per day, which is at

times abbreviated as bpd, but is also b/d or B/D. Production over longer periods is often measured

in millions of barrels, abbreviated as MMbbl.

       5.      Shale oil, along with other crude oil, is sold to refineries. Refineries co-mingle

shale oil produced by Defendants with other shale oil, as well as with crude oil extracted via

traditional drilling methods, then refine the crude oil into gasoline and other petroleum-based

products. Crude oil is the primary upstream input in gasoline, diesel fuel, marine fuel, home

heating oil, and myriad other crude oil derivative fuel products.

       6.      After refining, crude oil derivative fuel products take similar, but distinct, routes to

end users:

       a.      Gasoline: Once refined, gasoline is transported to storage terminals, where it is

               stored and blended prior to sale to end-users or gas stations for onward sale to other

               members of the Classes. Gasoline is a critical commodity for American consumers.

               Approximately 40 million Americans fill up their vehicles every day at American




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              gas stations.1 Gasoline purchases account for approximately 5% of U.S. consumer

              household spending per year, with the average car using approximately 500 gallons

              of gasoline each year.2

       b.     Distillate Fuels - Diesel Fuel and Home Heating Oil: Diesel fuel and heating oil

              are virtually identical in terms of chemical composition, though heating oil is dyed

              red to denote its tax-free status. While diesel fuel generally follows the same path

              to the end user as gasoline, home heating oil is usually transported by rail or barges

              from refineries to large storage facilities. From there, heating oil is then transported

              to smaller storage tanks for sale to end users, who typically have their heating oil

              delivered by truck directly to their home or business. Approximately five million

              households across the United States, mostly in the Northeast, use heating oil to heat

              their homes.3
       c.     Marine Fuel: Marine fuel is sold at a fuel dock for commercial and personal uses

              in boats. Marine fuel includes gasoline that is essentially identical to that sold at

              terrestrial gas stations, gasoline specially formulated for marine use, diesel that is

              essentially identical to that sold in terrestrial gas stations, and “red-dye” diesel

              (denoting the latter’s tax-exempt status). After refining and blending, marine fuel

              is transported from storage terminals to fuel docks via trucks, pipelines, and barges.

              Fuel docks are often located on municipality-owned docks and marinas and are

              generally serviced by different companies than those that service and/or operate



1
        Factors     that    impact      gas     prices,     NACS       (Apr.     05,     2023),
https://www.convenience.org/Topics/Fuels/The-Price-Per-Gallon.
2
        Jeff Lenard, Who Makes Money Selling Gas?, NACS (Nov. 12, 2021),
https://www.convenience.org/Media/conveniencecorner/Who-Makes-Money-Selling-Gas.
3
        Heating Oil Explained – Use of Heating Oil, U.S. ENERGY INFO. ADMIN. (last updated June
13, 2024), https://www.eia.gov/energyexplained/heating-oil/use-of-heating-oil.php.


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               terrestrial gas stations. Fuel consumption for marine uses represents a significant

               volume of the total fuel consumption in the United States. The U.S. Department of

               Energy estimates that in 2021 boats and ships used approximately 4.6% of the

               energy dedicated to transportation in the United States, a figure that includes marine

               fuel. The Bureau of Transportation Statistics reports that marine uses of gasoline,

               in particular, account for more than two billion gallons per year since 2015.

       d.      Jet Fuel: Jet fuel is a kerosene-based fuel product meeting the requirements of the

               applicable ASTM International specification (e.g., composition, volatility, fluidity,

               combustion, corrosion, thermal stability, contaminants, additives). Jet fuel is

               derived from crude oil and used to power aircraft with jet, turbine, and turboprop

               engines – essentially all modern aircraft across commercial, military, and

               recreational aviation. Like diesel fuel and gasoline, jet fuel is created by refining

               crude oil. Jet fuel represents less than 10 percent of U.S. refinery yield, but could

               be as much as 25 percent or more at a specific refinery depending on the refinery’s

               configuration and source of crude oil. After it is refined, jet fuel is transported to

               storage terminals, where it is stored and blended, then sold to refuelers. Jet fuel

               purchasers in the U.S., like certain Plaintiffs and members of the Classes, purchase

               jet fuel at airports.

       7.      United States shale producers (“Shale Producers”) are companies that primarily

focus on the exploration, development, and production of domestic shale resources. These

companies are distinct from large vertically integrated energy companies, like British Petroleum

and the Shell companies (known as “supermajor(s)”), with diverse global operations encompassing

the exploration, production, refining, and distribution of various energy resources.

       8.      Defendants Permian Resources Corp. f/k/a Centennial Resource Development

(“Centennial”),   Expand      Energy   Corporation     f/k/a   Chesapeake    Energy     Corporation


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(“Chesapeake”), Continental Resources Inc. (“Continental”), Diamondback Energy, Inc.

(“Diamondback”), EOG Resources, Inc. (“EOG”), Hess Corporation (“Hess”), Occidental

Petroleum Corporation (“Occidental”), and Pioneer Natural Resources Company (“Pioneer”),

collectively “Defendants,” are among the largest independent domestic Shale Producers.4

Independent Shale Producers traditionally acted as “swing producers” for the global oil market,

with the ability to adjust shale oil production levels rapidly in response to changes in market

conditions and push, or “swing,” the price of crude oil.

          9.    The U.S. experienced record-high crude oil prices beginning on or around January

2021, continuing through the present. Basic principles of supply and demand dictate that in their

role as swing producers, Defendants should have increased production to capitalize on this price

rise. Instead, Defendants collectively decided not to increase their U.S. shale oil production.

          10.   Defendants’ agreement is complimented by their cooperation and collusion with

the Organization of the Petroleum Exporting Countries (“OPEC”), the international cartel of large

oil producing nations, that also sought to raise oil prices by limiting oil production during this

period.

          11.   Between 2017 and 2023, Defendants met and communicated regularly with each

other, and with OPEC, to coordinate their collective oil output. Following these meetings,

representatives from Defendants consistently made public statements confirming these discussions

and the exchange of confidential information. Specifically, Defendants also confirmed that they

discussed with each other and OPEC their production strategies, future investment plans, and price

targets. Likewise, when publicly discussing their meetings with Defendants, OPEC officials

praised the cooperative nature of their developing relationship with Defendants.




4
      As further described below, during the Class Period, Defendants Sheffield and Hess were
the CEOs of Defendants Pioneer and Hess, respectively.


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         12.    From the time when the meetings between U.S. Shale Producers and OPEC began

in 2017 until the onset of the COVID-19 pandemic, worldwide oil prices and supply remained

relatively stable. In the early days of the COVID-19 pandemic, gasoline and other crude oil

derivative fuel product demand dropped precipitously, sending a shockwave through the oil supply

chain.

         13.    Gasoline demand, and thereby oil prices, recovered and ultimately began increasing

at a rapid rate in 2021. The increase in the price of crude oil following the COVID-19 pandemic

was exacerbated by the Russian invasion of Ukraine in late February 2022, which led to sanctions

that largely sequestered Russian oil from the global market. This extended run of historically high

crude oil prices provided prime market conditions for agile swing producers like Defendants ‒

whose breakeven prices have never been lower and who operate in regions with a wealth of

profitable opportunities ‒ to aggressively increase production and steal market share.

         14.    But Defendants did not take advantage of this market opportunity.                Rather,

departing from their historical practice and rational independent self-interest, each Defendant

limited their domestic shale production growth.

         15.    Defendants’ agreement to limit their respective shale production volumes has had

the effect of fixing and/or stabilizing at an artificially high-level U.S. (and global) crude oil prices,

which in turn fixed and/or stabilized crude oil derivative fuel product prices in the United States

at an artificially high level.

         16.    Defendants’ cartel is a per se unlawful restraint of trade under numerous state

antitrust and competition laws. Plaintiffs are end-payors of crude oil derivative fuel products.

Plaintiffs and the Classes suffered substantial harm from the supracompetitive prices they paid for

crude oil derivative fuel products, including, gasoline, diesel fuel, heating oil, marine fuel, and jet

fuel, as a direct and proximate result of the cartel to constrain domestic production of shale oil in

the United States. Plaintiffs bring this suit to end that harm and recover that loss.


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II.     PARTIES

        A.     Plaintiffs

        17.    Plaintiff Thomas Cavaliere is a citizen of New Mexico and resides in the city of

Sante Fe. Mr. Cavaliere is the sole proprietor of Cavaliere Art & Antiques LLC which is registered

in New Mexico and through which he sells Native American art. Mr. Cavaliere purchased gasoline

on approximately a weekly basis in New Mexico for personal and commercial use from gas

stations and purchased gasoline in Arizona, Oklahoma, Texas, Colorado, and Utah during the Class

Period, as defined below, for commercial use from gas stations. Mr. Cavaliere has paid higher gas

prices by reason of the allegations alleged herein.

        18.    Plaintiff Roger Chavez Jr. is a citizen of New Mexico and resides in the town of

Questa. Mr. Chavez purchased gasoline on approximately a weekly basis in New Mexico during

the Class Period for personal use from gas stations. Mr. Chavez also purchased gasoline several

times in Colorado during the Class Period for personal use from gas stations. Mr. Chavez has paid

higher gas prices by reason of the allegations herein.

        19.    Plaintiff Michael Clancy is a citizen of Rhode Island and resides in the town of

Warren, which borders Massachusetts. Mr. Clancy purchased gasoline on approximately a weekly

basis in Rhode Island, Massachusetts, or Florida during the Class Period for personal use from gas

stations. Mr. Clancy also regularly purchased gasoline from Delaware, Virginia, Georgia, and

South Carolina during the Class Period for personal use from gas stations while driving between

Rhode Island and Florida. Mr. Clancy also purchased gasoline in Maine and New York during the

Class Period for personal use from gas stations. Mr. Clancy has paid higher gas prices by reason

of the allegations herein.

        20.    Plaintiff Scott Hamilton is a citizen of Connecticut and resides in the town of

Ansonia. Mr. Hamilton purchased gasoline on approximately a weekly basis in Connecticut during




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the Class Period for personal use from gas stations. Mr. Hamilton has paid higher gas prices by

reason of the allegations herein.

       21.     Plaintiff Rafael Hernandez is a citizen of Florida and resides in the city of Miami.

Mr. Hernandez purchased gasoline on approximately a weekly basis in Florida during the Class

Period for personal use from gas stations. Mr. Hernandez has paid higher gas prices by reason of

the allegations herein.

       22.     Plaintiff Robert Jones is a citizen of New Mexico and resides in the town of Rio

Rancho. Mr. Jones is the owner of Sweet & Savory which is registered in Colorado and through

which Mr. Jones sells baked goods at craft shows. Mr. Jones purchased gasoline on approximately

a weekly basis in New Mexico during the Class Period for personal use from gas stations. Mr.

Jones also purchased gasoline regularly on behalf of Sweet & Savory in New Mexico, Arizona,

Nevada, Kansas, Colorado, Utah, Wyoming, and South Dakota during the Class Period for

commercial purposes from gas stations. Mr. Jones has paid higher gas prices by reason of the

allegations herein.

       23.     Plaintiff Laurence Kircher is a citizen of Arizona and resides in the town of

Kingman. Mr. Kircher purchased gasoline on approximately a weekly basis in Arizona during the

Class Period for personal use from gas stations. Mr. Kircher has paid higher gas prices by reason

of the allegations herein.

       24.     Plaintiff Robert Raichle is a citizen of Arizona and resides in the city of Mesa. Mr.

Raichle purchased gasoline on approximately a weekly basis in Arizona during the Class Period

for personal use from gas stations. Mr. Raichle also purchased gasoline in New Mexico, Colorado,

Missouri, Illinois, and Wisconsin during the Class Period for personal use from gas stations. Mr.

Raichle has paid higher gas prices by reason of the allegations herein.

       25.     Plaintiff Jeffrey Taub is a citizen of Florida and resides in the city of Miami Beach.

Mr. Taub is the sole proprietor of GTFOLI LLC which is registered in Florida and through which


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Mr. Taub provides forensic flooring consulting services. Mr. Taub purchased gasoline on behalf

of GTFOLI LLC on approximately a bi-weekly basis in Florida during the Class Period for

commercial use from gas stations. Mr. Taub has paid higher gas prices by reason of the allegations

herein.

          26.   Plaintiff Don Watkins is a citizen of Florida and resides in the town of Dunnellon.

Mr. Watkins purchased gasoline on approximately a weekly basis in Florida during the Class

Period for personal use from gas stations. Mr. Watkins has paid higher gas prices by reason of the

allegations herein.

          27.   Plaintiff Deborah Goguen is a citizen of Rhode Island and resides in the town of

Charlestown. Ms. Goguen purchased gasoline on approximately a weekly basis in Rhode Island

during the Class Period for personal use from gas stations. Ms. Goguen has paid higher gas prices

by reason of the allegations herein.

          28.   Plaintiff Prescott Chartier is a citizen of Florida and resides in the town of

Casselberry. Mr. Chartier purchased gasoline on approximately a weekly basis in Florida, Rhode

Island, or Massachusetts during the Class Period for personal use from gas stations. Mr. Chartier

has paid higher gas prices by reason of the allegations herein.

          29.   Plaintiff Michael Scott is a citizen of Alabama and resides in the town of Athens.

Mr. Scott purchased gasoline on approximately a weekly basis in Alabama during the Class Period

for personal use from gas stations. Mr. Scott has paid higher gas prices by reason of the allegations

herein.

          30.   Plaintiff Freddie Tewes is a citizen of Illinois and resides in the town of Villa Park.

Mr. Tewes purchased gasoline on approximately a weekly basis in Illinois during the Class Period

for personal use from gas stations. Mr. Tewes has paid higher gas prices by reason of the

allegations herein.




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       31.     Plaintiff David Sample is a citizen of Colorado and resides in the city of Colorado

Springs. Mr. Sample purchased gasoline on approximately a bi-weekly basis in Colorado during

the Class Period for personal use from gas stations. While traveling across the country in 2021

and 2022, Mr. Sample purchased gasoline for personal use from gas stations in New Mexico,

Arizona, Florida, Texas, California, Mississippi, Alabama, Georgia, South Carolina, North

Carolina, Virginia, West Virginia, Maryland, Pennsylvania, New York, Connecticut,

Massachusetts, Maine, Vermont, Michigan, Illinois, Iowa, and Nebraska. Mr. Sample has paid

higher gas prices by reason of the allegations herein.

       32.     Plaintiff Charles Romanek is a citizen of Pennsylvania and resides in the town of

Levittown. Mr. Romanek purchased gasoline on approximately a weekly basis in Pennsylvania

during the Class Period for personal use from gas stations. Mr. Romanek also regularly purchased

gasoline in New Jersey and Massachusetts during the Class Period for personal use from gas

stations. Additionally, Mr. Romanek purchased home heating oil for his personal residence in

Pennsylvania for personal use during the Class Period. Mr. Romanek has paid higher gas and

home heating oil prices by reason of the allegations herein.

       33.     Plaintiff Green Acres Outdoor Services LLC resides, is registered, and operates in

Illinois. Green Acres Outdoor Services LLC purchased gasoline on approximately a weekly basis

in Illinois during the Class Period for commercial use from gas stations. Green Acres Outdoor

Services LLC has paid higher gas prices by reason of the allegations herein.

       34.     Plaintiff Samantha Barsky is a citizen of Oregon and is the sole proprietor of

Noteify, a company residing in and registered in Oregon. Samantha Barsky, on behalf of Noteify,

purchased gasoline on approximately a weekly basis during the Class Period for commercial use

from gas stations in one or more of the following states: Oregon, Minnesota, North Dakota, and

South Dakota. Noteify has paid higher gas prices by reason of the allegations herein.




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       35.     Plaintiff Cathie Gilstrap is a citizen of Kansas and is the sole proprietor of Craig

Gilstrap & Associates, a company residing in and registered in Kansas. Cathie Gilstrap purchased

gasoline on behalf of Craig Gilstrap & Associates on approximately a weekly basis in Kansas

during the Class Period for commercial use from gas stations. Craig Gilstrap & Associates has

paid higher gas prices by reason of the allegations herein.

       36.     Plaintiff Kevin Allen is a citizen of the District of Columbia and is the sole

proprietor of Kevin Allen Photography, a company residing in and registered in the District of

Columbia. Kevin Allen Photography operates in the District of Columbia and Maryland, and

Kevin Allen purchased gasoline on approximately a weekly basis in the District of Columbia

and/or Maryland on behalf of Kevin Allen Photography during the Class Period for commercial

use from gas stations. Kevin Allen Photography has paid higher gas prices by reason of the

allegations herein.

       37.     Plaintiff A Little Bit of Summer LLC resides, operates, and is registered in

Tennessee. A Little Bit of Summer LLC purchased gasoline on approximately a weekly basis in

Tennessee during the Class Period for commercial use from gas stations. A Little Bit of Summer

LLC has paid higher gas prices by reason of the allegations herein.

       38.     Plaintiff Tracey M. Boston LLC resides, operates, and is registered in Mississippi.

Tracey M. Boston LLC purchased gasoline on approximately a weekly basis in Mississippi during

the Class Period for commercial use from gas stations. Tracey M. Boston LLC has paid higher

gas prices by reason of the allegations herein.

       39.     Plaintiff Eaglewood Holdings LLC resides, operates, and is registered in Arizona.

Eaglewood Holdings LLC purchased gasoline and/or diesel fuel on approximately a weekly basis

in Arizona during the Class Period for commercial use from gas stations. Eaglewood Holdings

LLC has paid higher gas and diesel prices by reason of the allegations herein.




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          40.   Plaintiff The Difference Landscapes resides, operates, and is registered in New

Hampshire. The Difference Landscapes purchased gasoline and/or diesel fuel on approximately a

weekly basis in New Hampshire during the Class Period for commercial use from gas stations.

The Difference Landscapes has paid higher gas and diesel prices by reason of the allegations

herein.

          41.   Plaintiff Aegis Healthcare Solutions, Inc. resides, operates, and is registered in New

York. Aegis Healthcare Solutions, Inc. also operates in Florida. Aegis Healthcare Solutions, Inc.

purchased gasoline on approximately a weekly basis in New York and/or Florida during the Class

Period for commercial use from gas stations. Aegis Healthcare Solutions, Inc. has paid higher gas

prices by reason of the allegations herein.

          42.   Plaintiff Craig B. Greenfield Attorney at Law PC resides, operates, and is registered

in New York. Craig B. Greenfield Attorney at Law PC also operates in Florida. Craig B.

Greenfield Attorney at Law PC purchased gasoline on approximately a weekly basis in New York

and/or Florida during the Class Period for commercial use from gas stations. Craig B. Greenfield

Attorney at Law PC has paid higher gas prices by reason of the allegations herein.

          43.   Plaintiff Barbara Formichella is a citizen of Arizona and resides in the city of Mesa.

Ms. Formichella purchased gasoline in Arizona during the Class Period for personal use from gas

stations. Ms. Formichella has paid higher gas prices by reason of the allegations herein.

          44.   Plaintiff Xochitl Poblano is a citizen of California and resides in the city of Chula

Vista. Ms. Poblano purchased gasoline on approximately a weekly basis in California during the

Class Period for personal use. Ms. Poblano has paid higher gas prices by reason of the allegations

herein.

          45.   Plaintiff Michael Segel is a citizen and resident of the District of Columbia. Mr.

Segel purchased gasoline on approximately a weekly basis in the District of Columbia and/or




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Maryland during the Class Period for personal use. Mr. Segel has paid higher gas prices by reason

of the allegations herein.

       46.     Plaintiff Cherie Grant Johnson is a citizen of Hawaii and resides in the town of

Hilo. Ms. Johnson purchased gasoline on approximately a weekly basis in Hawaii during the Class

Period for personal use. Ms. Johnson has paid higher gas prices by reason of the allegations herein.

       47.     Plaintiff Shirley Hecht-Asher is a citizen of Kansas and resides in the city of

Topeka. Ms. Hecht-Asher purchased gasoline on approximately a weekly basis in Kansas during

the Class Period for personal use. Ms. Hecht-Asher has paid higher gas prices by reason of the

allegations herein.

       48.     Plaintiff Catherine Foster is a citizen of Massachusetts and resides in the town of

Adams. Ms. Foster purchased gasoline on approximately a weekly basis in Massachusetts and/or

Vermont during the Class Period for personal use. Ms. Foster has paid higher gas prices by reason

of the allegations herein.

       49.     Plaintiff Angela Mathes is a citizen of Michigan and resides in the city of Flint.

Ms. Mathes purchased gasoline on approximately a weekly basis in Michigan during the Class

Period for personal use. Ms. Mathes has paid higher gas prices by reason of the allegations herein.

       50.     Plaintiff Joel Bellefeuille, Jr. is a citizen of Michigan, and resides in the city of

Holland. Mr. Bellefeuille purchased gasoline on approximately a weekly basis in Michigan during

the Class Period for personal use. Mr. Bellefeuille has paid higher gas prices by reason of the

allegations herein.

       51.     Plaintiff Patrick Witt is a citizen of Minnesota and resides in the city of New Prague.

Mr. Witt purchased gasoline on approximately a weekly basis in Minnesota and/or Iowa and/or

Wisconsin during the Class Period for personal use. Mr. Witt has paid higher gas prices by reason

of the allegations herein.




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       52.     Plaintiff Debra French is a citizen of Missouri and resides in the city of Springfield.

Ms. French purchased gasoline on approximately a weekly basis in Missouri during the Class

Period for personal use. Ms. French has paid higher gas prices by reason of the allegations herein.

       53.     Plaintiff Deneige Kapor is a citizen of Montana and resides in the city of Missoula.

Ms. Kapor purchased gasoline on approximately a weekly basis in Montana during the Class

Period for personal use. Ms. Kapor has paid higher gas prices by reason of the allegations herein.

       54.     Plaintiff Marlin Svitak, Jr. is a citizen of Nebraska and resides in the city of

Beatrice. Mr. Svitak purchased gasoline on approximately a weekly basis in Nebraska and/or

Colorado during the Class Period for personal use. Mr. Svitak has paid higher gas prices by reason

of the allegations herein.

       55.     Plaintiff Anne Lane is a citizen of North Carolina and resides in the city of

Reidsville. Ms. Lane purchased gasoline on approximately a weekly basis in North Carolina

and/or the District of Columbia during the Class Period for personal use. Ms. Lane has paid higher

gas prices by reason of the allegations herein.

       56.     Plaintiff Vera McKelley is a citizen of South Carolina and resides in the city of

Myrtle Beach. Ms. McKelley purchased gasoline on approximately a weekly basis in South

Carolina and/or North Carolina during the Class Period for personal use. Ms. McKelley has paid

higher gas prices by reason of the allegations herein.

       57.     Plaintiff Sue Jones is a citizen of South Dakota and resides in the census-designated

place of Black Hawk. Ms. Jones purchased gasoline on approximately a weekly basis in South

Dakota during the Class Period for personal use. Ms. Jones has paid higher gas prices by reason

of the allegations herein.

       58.     Plaintiff Garrett Mair is a citizen of Utah and resides in the city of Santa Clara. Mr.

Mair purchased gasoline on approximately a weekly basis in Utah during the Class Period for

personal use. Mr. Mair has paid higher gas prices by reason of the allegations herein.


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          59.   Plaintiff Kim Franzen is a citizen of Wisconsin and resides in the village of

Whitelaw. Ms. Franzen purchased gasoline on approximately a weekly basis in Wisconsin during

the Class Period for personal use. Ms. Franzen has paid higher gas prices by reason of the

allegations herein.

          60.   Plaintiff Eric Wilim is a citizen of Illinois and resides in the village of Grayslake.

Mr. Wilim purchased gasoline on approximately a weekly basis in Illinois and/or Wisconsin during

the Class Period for personal use. Mr. Wilim has paid higher gas prices by reason of the allegations

herein.

          61.   Plaintiff Sean Hodges is a citizen and resident of California. Mr. Hodges purchased

marine fuel and gasoline on approximately a weekly basis in California during the Class Period

for commercial use. Mr. Hodges has paid higher marine fuel and gasoline prices by reason of the

allegations herein.

          62.   Plaintiff Russell Deman is a citizen and resident of Oregon. Mr. Deman purchased

marine fuel, diesel, and gasoline regularly in Oregon and California during the Class Period for

commercial use. Mr. Deman has paid higher marine fuel, diesel, and gasoline prices by reason of

the allegations herein.

          B.    Defendants

          63.   Defendant Permian Resources Corporation (“Permian Resources”), known as

Centennial Resource Development, Inc. or “Centennial” during the relevant period, is a Delaware

corporation headquartered in Midland, Texas. Permian Resources’ common stock is listed and

traded on the New York Stock Exchange under the trading symbol PR. Permian Resources is an

oil and gas company that produces shale oil in Texas and New Mexico for sale in the U.S. domestic

market, where it is refined and disseminated to a variety of end users across the country.

          64.   Defendant Chesapeake Energy Corporation is now known as Expand Energy

Corporation, after a merger between Chesapeake Energy and Southwest Energy finalized on


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October 1, 2024.     Like Chesapeake Energy, Expand Energy is an Oklahoma corporation

headquartered in Oklahoma City, Oklahoma. Expand Energy’s common stock is listed and traded

on the NASDAQ Stock Market under the trading symbol EXE. During the Class Period,

Chesapeake Energy produced shale oil in Louisiana and Pennsylvania for sale in the U.S. domestic

market where it was refined and disseminated to end users across the country.

       65.     Defendant Continental Resources, Inc. is an Oklahoma corporation headquartered

in Oklahoma City, Oklahoma. Continental common stock was listed and traded on the New York

Stock Exchange under the trading symbol CLR until the purchase of the company by its founder

Harold Hamm, on November 22, 2022, through a series of take-private transactions with Omega

Acquisition Inc. Continental is an oil and gas company that acquires and processes shale oil in

North Dakota, Montana, Oklahoma, Texas, and Wyoming, before selling the resulting shale oil

into the U.S. domestic market where it is refined and disseminated across the country.

       66.     Defendant Diamondback Energy, Inc. is a Delaware corporation headquartered in

Midland, Texas. Diamondback’s common stock is listed and traded on the NASDAQ Stock

Market under the trading symbol FANG. Diamondback is an oil and gas production company that

acquires and processes shale oil in Texas, before selling the resulting shale oil into the U.S.
domestic market where it is refined and disseminated across the country.

       67.     Defendant EOG Resources, Inc., is a Delaware corporation headquartered in

Houston, Texas. EOG’s common stock is listed and traded on the New York Stock Exchange

under the trading symbol EOG. EOG is an oil and gas production company that produces shale

oil in North Dakota, Wyoming, Colorado, Oklahoma, Texas, New York, Pennsylvania, and New

Mexico, before selling the resulting shale oil into the U.S. domestic market where it is refined and

disseminated across the country.

       68.     Defendant Hess Corporation is a Delaware corporation headquartered in New

York, New York. Hess’s common stock is listed and traded on the New York Stock Exchange


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under the trading symbol HES. Hess is an oil and gas production company that acquires and

processes shale oil in North Dakota, before selling the resulting shale oil into the U.S. domestic

market where it is refined and disseminated across the country. Hess also sells the refined

consumer gasoline across the United States.

       69.     Defendant Occidental Petroleum Corporation is a Delaware corporation

headquartered in Houston, Texas. Occidental’s common stock and warrants to purchase common

stock are listed and traded on the New York Stock Exchange under the trading symbols OXY and

OXY WS, respectively. Occidental is an oil and gas production company that acquires and

processes shale oil in Colorado, Texas, and New Mexico, before selling the resulting shale oil into

the U.S. domestic market where it is refined and disseminated to end users across the country.

       70.     Defendant Pioneer Natural Resources Co. is a Delaware corporation headquartered

in Irving, Texas. Pioneer’s common stock is listed and traded on the New York Stock Exchange

under the trading symbol PDX. Pioneer is an oil and gas production company that acquires and

processes shale oil in Texas, before selling the resulting shale oil into the U.S. domestic market

where it is refined and disseminated to end users across the country.

       71.     Defendant Scott D. Sheffield is a resident of the Texas and the founder of Defendant

Pioneer Natural Resources Co. Mr. Sheffield was the Chief Executive Officer of Defendant

Pioneer throughout the Class Period, until his retirement at the end of 2023.5

       72.     Defendant John B. Hess is a New York resident and has been the Chief Executive

Officer of Defendant Hess since 1995 and, has served as CEO during all times relevant to this

Complaint.




5
       See Liz Hampton, US shale producer Pioneer’s founder and CEO Sheffield to retire,
REUTERS (Apr. 26, 2023), https://www.reuters.com/business/energy/pioneer-natural-resources-
beats-profit-estimates-ceo-step-down-2023-04-26/#:~:text=Sheffield%2C%2070%2C%20was
%20Pioneer's%20founding,31%2C%20the%20company%20said.


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          73.   Each Defendant was a co-conspirator with the other Defendants and committed

overt acts in furtherance of the conspiracy alleged herein in the United States and in this District.

          74.   Other unnamed co-conspirators include the members of OPEC and OPEC+, as well

as any other currently unknown U.S. shale producers that committed overt acts in furtherance of

the conspiracy alleged herein.

          75.   Where Plaintiffs ascribe an action to “Defendants,” unless stated otherwise, the

action is alleged to have been taken by each of Centennial, Chesapeake, Continental,

Diamondback, EOG, Hess, Occidental, and Pioneer.

          76.   “Defendants,” as used herein, refers to and includes each of the named Defendants’

predecessors, successors, parents, wholly-owned or controlled subsidiaries or affiliates,

employees, officers, or agents.

          77.   Defendants are also liable for acts done in furtherance of the alleged conspiracy by

their officers, directors, agents, partners, employees, representatives, affiliates, subsidiaries, and

companies they acquired through mergers and acquisitions. Whenever reference is made to any

act of any organization, corporation, or other business entity, the allegation means that the entity

engaged in the act by or through its officers, directors, agents, partners, employees, or

representatives while they were actively engaged in the management, direction, control, or

transaction of the corporation’s business or affairs.

          78.   At all relevant times, other known and unknown corporations, individuals, and

entities willingly conspired with Defendants in their unlawful and illegal conduct. Numerous

individuals and entities participated actively during the course of, and in furtherance of, the scheme

described herein. The individuals and entities acted in concert through, amongst other things, joint

ventures, and by acting as agents for principals in order to advance the objectives of the scheme to

benefit Defendants and themselves through the manipulation of shale oil production and crude oil

prices.


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III.     JURISDICTION, VENUE, AND COMMERCE

         79.    This action arises under Section 1 of the Sherman Act (15 U.S.C. §1), and Section

16 of the Clayton Act (15 U.S.C. §26), as well as the antitrust, fair competition, and consumer

protection laws of various states. This action is for compensatory damages, treble damages, costs

of suit, injunctive relief, and reasonable attorneys’ fees.

         80.    This Court has subject matter jurisdiction over Plaintiffs’ claim under Section 16

of the Clayton Act, 15 U.S.C. §26, and under 28 U.S.C. §§1331, 1333(d), 1337(a), and 1367.

         81.    This Court also has personal jurisdiction over all Defendants, and venue in this

District is proper, because, inter alia, each Defendant: (a) transacted business throughout the

United States, including in this District; (b) has manufactured, sold, shipped, and/or delivered

substantial quantities of shale oil throughout the United States, including this District; (c) has

substantial contacts with the United States, including this District; and/or (d) engaged in an

antitrust conspiracy that was directed at and had a direct, foreseeable, and intended effect of

causing injury to the business or property of persons residing in, located in, or doing business

throughout the United States, including in this District. Further, venue is appropriate in this

District as a substantial portion of the conduct alleged in this Complaint occurred in, or directly

affected shale oil production in, the Permian Basin, which spans Southeastern New Mexico and

West Texas.

         82.    Defendants’ activities were within the flow of, and were intended to and did have

a substantial effect on, interstate commerce of the United States. Defendants’ products and

services are sold in the flow of interstate commerce.

         83.    By reason of the unlawful activities alleged herein, Defendants’ unlawful activities

substantially affected commerce throughout the United States, causing injury to Plaintiffs and the

geographically dispersed members of the Classes. Defendants, directly and through their agents,

engaged in activities affecting all states.


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        84.    Defendants’ conspiracy, wrongful anticompetitive conduct, and substantial

anticompetitive effects described herein proximately caused injury to Plaintiffs and members of

the Classes.

IV.     FACTUAL ALLEGATIONS

        A. Organization of the Petroleum Exporting Countries (“OPEC”)

        85.    OPEC, an intergovernmental organization made up of nations who purport to

benefit from sovereign immunity to the Sherman Act,6 controls close to 40% of the world’s oil

production. Historically, OPEC exerted market power over global oil prices through coordinating

its members’ respective production levels.7 Non-member nations historically keyed their oil
production levels off OPEC’s guidance to benefit from the oil prices targeted by OPEC; a classic

“umbrella pricing” situation.8

        86.    Historically, Saudi Arabia acted as OPEC’s (and thereby the global) swing

producer – a producer known for its ability to adjust production levels relatively rapidly in response

to changes in market conditions and influence crude oil prices – leveraging its status as the member

with the largest production capacity to become OPEC’s de facto leader.9


6
        Mamdouh G. Salameh, OPEC is an Important Energy Policy Tool to Keep Oil Markets
Stable, I.A.E.E. ENERGY FORUM, Vol. 28, Issn 1944-3188 (Feb. 2019),
https://www.iaee.org/documents/2019EnergyForum1qtr.pdf, at 17 (OPEC’s stated mission is to
“‘coordinate and unify the oil policies of its member countries and ensure the stabilization of oil
markets . . . .’ The organization is also a significant provider of information about the international
oil market. The current OPEC members are Algeria, Angola, Ecuador, Equatorial Guinea, Gabon,
Iran, Iraq, Kuwait, Libya, Nigeria, Qatar, the Republic of Congo, Saudi Arabia (the de facto
leader), UAE and Venezuela.”).
7
        Anshu Siripurapu & Andrew Chatzky, OPEC in a Changing World, COUNCIL ON FOREIGN
RELS. (Mar. 9, 2022), https://www.cfr.org/backgrounder/opec-changing-world.
8
        Salameh, supra n.6 (“In the 1980s, OPEC began setting production quotas for its member
nations; generally, when the quotas are reduced, oil prices increase. . . . Since the 1980s,
representatives from Egypt, Mexico, Norway, Oman, and Russia and other oil-exporting nations
have attended many OPEC meetings as observers. This arrangement serves as an informal
mechanism for coordinating policies.”).
9
        Id.


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       87.     In December 2016, OPEC expanded its cartel, signing the first of several

agreements with 10 other oil-producing nations (most notably Russia, whose production rivaled

that of Saudi Arabia) and, forming what is now known as “OPEC+.”10

       88.     This long-resisted expansion of OPEC was done out of necessity11 ‒ by 2014,

OPEC had lost its ability to exert complete control over global oil prices, thanks to the arrival of a

new global oil player: which OPEC dubbed “Cowboyistan.”

       B.      “Cowboyistan” Establishes a “New Oil Order”

       89.     Fracking changed everything. Equal parts controversial and successful upon its

introduction in the early 2000s, within eight years of the first commercial shale fracking operation

coming online in Texas in 2002, U.S. Shale Producers were pumping enough shale oil to reverse

a 35-consecutive-year trend of declining U.S. domestic crude oil production. The seven years

starting from 2008 represented the fastest increase in domestic crude oil production in U.S. history

‒ the “Shale Revolution.”12




10
        Id. at 18 (In 2017, “Saudi Arabia was forced to eventually discard its [price war with U.S.
Independants] strategy and engineer with Russia an OPEC/non-OPEC production cut agreement”
in an attempt to regain control of crude oil prices. The agreement was extended through 2018 and
converted into a “permanent mechanism for cooperation between OPEC and Russia in what has
been dubbed as OPEC+.”). Throughout this complaint, references to OPEC from December 2016
onwards encompass OPEC+.
11
        Guy Laron, The OPEC+ Puzzle: Why Russian-Saudi Cooperation Starts – and Stops – with
Oil Prices, THE WILSON CENTER (Jan. 19, 2023), https://www.wilsoncenter.org/article/opec-
puzzle-why-russian-saudi-cooperation-starts-and-stops-oil-prices (despite decades of tension and
bad blood between Russia and Saudi Arabia, “[t]here was no way for OPEC to deal with the
growing market power of the US without cooperating with the Russians”); see also Harry First &
Darren Bush, The U.S. Can Take on the Oil Cartel that Enables Putin, and Win, THE N.Y. TIMES
(June 3, 2022), https://www.nytimes.com/2022/06/03/opinion/gas-prices-russia-opec.html
(Antitrust specialists have concluded that “as more countries joined or allied themselves with the
[OPEC] cartel, it has only become more effective at controlling the output of what would otherwise
have been competing oil producers.”).
12
        Robert Rapier, How The Shale Boom Turned the World Upside Down, FORBES (Apr. 21,
2017), https://www.forbes.com/sites/rrapier/2017/04/21/how-the-shale-boom-turned-the-world-
upside-down/?sh=497a463b77d2.


                                                 21
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       90.     Shale production posed a unique problem for OPEC. Unlike the supermajors,

which typically invest in decades-long traditional drilling projects that require substantial lead time

and infrastructure construction before production begins, shale oil wells: (a) require smaller

capital commitments; (b) can be drilled in two to four weeks;13 (c) can be brought online within

months; (d) can be shut off relatively quickly if prices fall;14 and (e) allow for production to be

comparatively front-loaded. Consequently, production of crude oil from shale wells is more

responsive to changing prices and real-time market conditions than traditional drilling methods

used by supermajors. According to market analysts, “the shale sector’s ability to boost production

– and to scale back – relatively quickly is its calling card,”15 which makes U.S. shale oil “as close
to inventory-on-demand as oil ever comes.”16

       91.     But independent Shale Producers are like the supermajors in one important respect

that is problematic for OPEC: they are subject to the Sherman Act. This means that while U.S.

Shale Producers would come to produce as much oil as the largest OPEC and OPEC+ nations,17 it

was not a monolith capable of making industry-wide production decisions. Rather, as a boon to


13
        Ryan Moore, The Numbers: The Permian Excels, PHEASANT ENERGY (last updated Sept.
7, 2023), https://www.pheasantenergy.com/the-numbers-the-permian-excels (Defendant Pioneer,
the largest acreage holder in the Midland Basin of the Permian, reported that as of 2018, it was
taking Pioneer approximately 15 to 20 days to drill a well down 10,000 feet and horizontal out to
20,000 feet).
14
        See, e.g., Mamdouh G Salameh, Saudi Arabia’s Unwinnable Oil Price War Against
Russia?, INT’L ASS’N FOR ENERGY ECONOMICS, COVID-19 Issue (2020),
https://www.iaee.org/en/publications/newsletterdl.aspx?id=894 (“Russian oil companies couldn’t
switch off oil production at their oilfields as easy as U.S. shale oil . . .”).
15
        Liam Denning, Shale Companies Say They Can’t Drill More. Even When There’s a War?,
BLOOMBERG (Feb. 28, 2022), https://www.bloomberg.com/opinion/articles/2022-02-28/shale-
companies-say-they-can-t-drill-more-even-when-there-s-a-war.
16
        Steve LeVine, Oil Hasn’t Bottomed out, so Trade Now at Your Own Peril, QUARTZ (Feb.
10, 2015), https://qz.com/341884/oil-hasnt-bottomed-out-so-trade-now-at-your-own-peril.
17
        By 2018, the United States eclipsed Saudi Arabia and Russia as the largest oil producer in
the world. Devin Krishna Kumar, U.S. expected to end 2018 as world’s top oil producer: EIA,
REUTERS (Dec. 11, 2018), https://www.reuters.com/article/us-usa-oil-eia-outlook/u-s-expected-
to-end-2018-as-worlds-top-oil-producer-eia-idUSKBN1OA21D.


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crude oil derivative fuel product end-payors like Plaintiffs and members of the Classes, U.S. Shale

Producers were a group of relatively smaller producers, bound by law to compete with each other

and OPEC.

       92.     So, U.S. shale’s arrival on the global oil scene in the early-to-mid-2010s was a

nightmare for OPEC. The U.S. shale movement was dubbed “Cowboyistan”18 in the industry for

Shale Producers’ “drill-first, ask-questions-later” business model.19 A “new oil order” had

emerged.20 The aggressive competition of U.S. Shale Producers usurped the Saudi swing producer

role21 and saw U.S. domestic production erode OPEC-set cartel price premiums.
       93.     This new, aggressive competition arrived as forward-looking demand projections

for crude oil were softening. Worldwide attention and recognition of the link between global

temperature and climate change and carbon emissions was driving governments around the world

to discuss and implement long-term policies designed to curb those emissions. For example, in

2010, the share of new automobiles that were either fully battery powered or plug-in hybrids was

less than 1%. In 2018, it was 2%. In 2023, that percentage was 18%.

18
        Christopher Helman, Welcome to Cowboyistan: Fracking King Harold Hamm’s Plan for
U.S.       Domination        of     Global       Oil,     FORBES         (Mar.      9,      2015),
https://www.forbes.com/sites/christopherhelman/2015/03/09/welcome-to-cowboyistan-fracking-
king-harold-hamms-plan-for-u-s-domination-of-global-oil/?sh=bc9df884ed2.
19
        Barney Jopson, Fracking: The Energy revolution that shook the world, FIN. TIMES (May
6, 2015), https://www.ft.com/content/6fab1192-f30d-11e4-a979-00144feab7de.
20
        Derek Brower and Myles McCormick, What the End of the US Shale Revolution Would
Mean for the World, FIN. TIMES (Jan. 15, 2023), https://www.ft.com/content/60747b3b-e6ea-
47c0-938d-af515816d0f1.
21
        Hailey Lee, Why OPEC’s Losing Its Ability to Set Oil Prices, CNBC (Oct. 27, 2014),
https://www.cnbc.com/2014/10/27/us-shale-replaces-opec-as-leading-swing-producer-
goldman.html (U.S. shale’s spare capacity ‒ the amount of crude a country is able to produce in
30 days in case of an emergency ‒ was almost four times that of Saudi Arabia’s); David Livingston
& Eugene Tan, Shale’s True Contribution to the Oil Market, CARNEGIE ENDOWMENT FOR INT’L
PEACE (July 9, 2015), https://carnegieendowment.org/2015/07/09/shale-s-true-contribution-to-oil-
market-pub-60659 (“consensus has developed that Saudi Arabia has surrendered its role as de
facto manager of the world oil market to U.S. shale oil producers” because “shale wells take less
time to drill and complete than comparatively larger conventional oil projects, which require years
and many millions of dollars to move from planning into first production”).


                                                23
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         94.   This combination of additional global supply from U.S. Shale Producers and

forecasted slowing of worldwide demand22 pointed to a new global oil paradigm: perpetually cheap

oil.

         C.    The 2014-2016 “OPEC Price War”

         95.   Perpetually cheap and plentiful crude oil would be catastrophic for OPEC members,

as sovereign nation-states with GDPs (and, in some cases, currencies) heavily reliant on crude oil

prices.23 As such, OPEC was not about to willingly cede the pricing power OPEC had held over

global oil prices for a half-century to U.S. Shale Producers.

         96.   Perhaps underestimating the willingness of American companies to flaunt the

Sherman Act, or perhaps the result of a rebuffed invitation(s) not yet publicly known, at some

point in 2014, OPEC determined Cowboyistan could not be bought and had to go.

         97.   Consequently, despite a global oversupply of crude oil, in mid-2014 OPEC made a

deliberate long-term choice to maintain, rather than reduce, its production levels to win back the

market share it had lost to Shale Producers, and to push oil prices to a level that would render U.S.

shale oil no longer economically viable.24 This two-year period of open global competition,
dubbed within the industry as the “OPEC Price War,” had begun:



22
        See, e.g., Dmitry Zhdannikov and David Sheppard, IEA sees 2015 oil demand growth much
lower,       supply        hitting      prices,     REUTERS         (October       14,       2014),
https://www.reuters.com/article/business/iea-sees-2015-oil-demand-growth-much-lower-supply-
hitting-prices-idUSKCN0I30TC/; Grant Smith and Mark Shenk, Oil Demand Outlook Lowered as
Sub-$60 Price Seen Holding, BLOOMBERG (December 12, 2014), https://www.bloomberg.com/
news/articles/2014-12-12/iea-cuts-global-oil-demand-forecast-for-4th-time-in-five-months.
23
        See, e.g., Ulrich Blum and Jiarui Zhong, The Loss of Raw Material Criticality: Implications
of the Collapse of Saudi Arabian Oil Exports, INTERECONOMICS, 56:6 (2021) (“[A] 30% fall in oil
prices would cause Saudi GDP to contract by 15%, other things being equal.”).
24
        Siripurapu & Chatzky, supra n.7; Javier Blas, Wall Street is Finally Going to Make Money
Off the Permian, BLOOMBERG (Apr. 24, 2023), https://www.bloomberg.com
/opinion/articles/2023-04-24/higher-oil-prices-means-wall-street-s-shale-investments-will-
finally-pay-off#xj4y7vzkg (In February 2016, Saudi Arabia’s Oil Minister Al-Naimi warned U.S.
shale producers, “[l]ower costs, borrow cash, or liquidate.”).


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Figure 1. Daily Crude Oil Spot Prices (2010-2016)




        98.     The OPEC Price War dragged on for years for two reasons. First, shale production

was a brand-new industry where technological advancements and accumulating experience was

driving breakeven points lower,25 allowing Shale Producers to exploit less productive shale plays

profitably.26   Second, the U.S. legal structure (including corporate and bankruptcy law),




25
        In the beginning of 2014, “Rystad Energy estimated the average breakeven price for tight
oil to be $82 per barrel,” but by 2018, the average breakeven price reported had dropped to $47
per barrel, and by 2021, $37 per barrel. See Rystad Energy: As falling Costs Make New Oil
Cheaper to Produce, Climate Policies May Fail Unless they Target Demand, ROGTEC
MAGAZINE (Nov. 17, 2021), https://www.rogtecmagazine.com/rystad-energy-as-falling-costs-
make-new-oil-cheaper-to-produce-climate-policies-may-fail-unless-they-target-demand/;
Maitham A. Rodhan, The Effect of US Shale Oil Production on Local and International Oil
Markets, 13 INT’L J. OF ENERGY ECONS. & POLICY 4 (July 2023),
https://econjournals.com/index.php/ijeep/article/view/14455 (“This continuous decrease in the
break-even price of shale oil made the US shale oil industry more flexible to face fluctuations in
oil prices” and “[d]espite the drop in prices from about $100 a barrel in 2014 to $64 a barrel in
2019, shale oil production has doubled by 100% during this period.”).
26
        A shale oil “play” refers to a specific geographic area or region where shale formations
contain significant amounts of oil that can be economically extracted. The top three shale oil plays
in the U.S. are the Permian Basin in Texas and New Mexico (40% of all U.S. crude production in
2022), the Bakken Formation in North Dakota and Montana, and Eagle Ford in Texas.
Technological advancements have made more shale oil plays economically viable over time.


                                                25
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encourages business formation and risk-taking, making business failure less economically

devastating to the individuals involved.27

       99.     As a result, by implementing cost-cutting measures and focusing on the most

productive shale plays to remain competitive in the lower-price environment, many U.S. shale

producers, including Defendants, continued to drill at consistent levels despite the price drop

caused by OPEC’s Price War.28

       100.    Yet, the OPEC price war consolidated the U.S. shale industry, causing dozens of

smaller Shale Producers to fail29 and larger Shale Producers, like Defendants, to rally together in
the face of a shared adversary.

       D.      If You Can’t Beat ‘Em: Cowboyistan Takes a Seat at the “Table on Pricing”

       101.    Weary after years of low prices,30 OPEC changed tactics. First, as noted above, in

December 2016, it struck a deal with 10 non-OPEC oil producing nations to form OPEC+. Having



27
        Clifford Krauss, Why $4-a-Gallon Gas May Be Coming Your Way This Summer, THE N.Y.
TIMES (Mar. 13, 2021), https://www.nytimes.com/2021/03/11/business/energy-environment/oil-
prices-opec-shale.html (“But the U.S. oil industry was far more resilient than [OPEC] officials
expected, and American production continued to rise as [Shale Producers] cut costs. While many
shale companies were hurt by OPEC’s [price war] and oil prices never completely recovered, the
economies of Saudi Arabia and other oil-dependent nations were damaged far more than the United
States.”).
28
        Steven Mufson, Is the Oil World Big Enough for Two Swing Producers?, THE WASH. POST
(Sept. 29, 2016), https://www.washingtonpost.com/business/economy/is-the-oil-world-big-
enough-for-two-swing-producers/2016/09/29/ce4e96f0-85f7-11e6-a3ef-f35afb41797f_story.html
(noting that “the companies in [the U.S. shale industry] are ready to add production every time the
price starts creeping up” and attributing to Defendant Pioneer CEO Scott Sheffield a promise that
if oil prices moved above $60 a barrel, the U.S. Shale industry would respond by ramping up
production).
29
        Matt Egan, OPEC tried to put this US shale oil driller out of business. It ‘backfired’, CNN
BUSINESS (May 12, 2017), https://money.cnn.com/2017/05/12/investing/shale-oil-ceo-
opec/index.html#:~:text=Saudi%20Arabia%2Dled%20OPEC%20launched,went%20out%20of%
20business%2C%20too.
30
        Mufson, supra n.28 (as a result of the ongoing price war, OPEC “regained some market
share and put a floor under prices. But its success has been slow, limited and remains fragile. And
the price [$45-$55 a barrel at that time] is still half of where they’d like it to be.”).


                                                26
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brought one enormous potential competitor (Russia) into the fold, OPEC turned its attention to

Cowboyistan.

       102.    Unable to beat Shale Producers in the free market, OPEC started a years-long

campaign to add them to the cartel.

       103.    Shale Producers, too, were weary of the price war. As reported by MarketWatch

on September 8, 2016, “Shale-oil baron [and Defendant Continental CEO] Harold Hamm thinks

major crude-oil producers need to settle on a plan to stabilize oil prices sooner than later.”31

Hamm, “calling for a freeze of production . . . said it is ‘high time’ for Russia and the Organization

of the Petroleum Exporting Countries [OPEC] to forge a pact that would put an end to slide in

crude oil prices.”32 Hamm and Defendants had gained leverage and the respect of OPEC during
the price war. Now, Hamm was signaling to OPEC that Continental and the other Defendants

were willing to play ball with OPEC.

       104.    Shortly thereafter, in early 2017, Defendants and members of OPEC began meeting

and sharing dinners together.33 Many of these meetings took place on the sidelines of the

CERAWeek Conference, held annually in Houston, Texas.

       105.    March 6-10, 2017 – Houston, TX, USA (CERAWeek Conference):                     Former

Nigerian politician and then-OPEC General Secretary Mohammed Barkindo “dined with about

two dozen U.S. shale executives on the sidelines of [the 2017] CERAWeek conference, including

Scott Sheffield of [Defendant] Pioneer Natural Resources, Co., John Hess of [Defendant] Hess


31
        Mark DeCambre, Harold Hamm Says It Is ‘High Time’ for an OPEC Pact to Freeze
Output, MARKETWATCH (Sept. 8, 2016), https://www.marketwatch.com/story/trumps-potential-
energy-czar-says-its-high-time-for-an-opec-pact-to-freeze-output-2016-09-08.
32
        Id.
33
        Liz Hampton, As Oil Prices Soar, U.S. Shale, OPEC in no Rush to Resume Price War,
REUTERS (Mar. 10, 2022), https://www.reuters.com/business/energy/ceraweek-oil-prices-soar-us-
shale-opec-no-rush-resume-price-war-2022-03-10 (OPEC began hosting regular dinners and
events in 2017 “to better understand private sources of financing that allowed new companies to
emerge” and “[o]ver time, the dinners grew more collegial.”).


                                                 27
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Corp., Robert Douglas Lawler of [Defendant] Chesapeake Energy Corp. and Tim Leach of Concho

Resources Inc.”34 OPEC had purportedly never before met with U.S. shale producers,35 leading

to reporters describing the meeting as “unusual.”36 Meetings during the March 2017 CERAWeek

Conference “opened a communication channel between the shale companies and OPEC

countries.”37 Scott Sheffield of Defendant Pioneer stated, “I’m seeing a series of meetings where

OPEC is reaching out and spending more time with US [I]ndependents than I have seen over my

entire career.”38

        106.    Indeed, CERAWeek 2017 served as a channel for OPEC’s Secretary General to

“garner views and opinions from other senior oil industry executives” in “bi-lateral” meetings with

shale executives, according to Defendant Hess’s CEO, John Hess.39 Following a dinner with
OPEC officials, Hess reported to Bloomberg, “It was a very good exchange of information and

views about oil . . . I really commend the OPEC Secretary General for outreach. It was a good

talk.”40 OPEC Secretary General Barkindo confirmed everyone was on the same page regarding




34
        Javier Blas & Grant Smith, OPEC Head to Meet with U.S. Shale Producers for Dinner
Next Week, BLOOMBERG (Feb. 27, 2018), https://www.bloomberg.com/news/articles/2018-02-
27/opec-head-to-meet-u-s-shale-oil-producers-for-dinner-next-week.
35
        Id.
36
        Id.
37
        Id.
38
        David Wethe, Oil to Hit $40 if OPEC Fails to Expand Cuts, Pioneer Says, BLOOMBERG,
(Mar. 7, 2017). https://www.bloomberg.com/news/articles/2017-03-07/pioneer-s-sheffield-sees-
40-oil-if-opec-doesn-t-extend-cuts?embedded-checkout=true#xj4y7vzkg.
39
        CERAWeek 2017: Encouragement & engagement, 47 OPEC BULLETIN 2, (Mar./Apr.
2017), https://docplayer.net/55519391-Vienna-austria-save-the-date-june-hofburg-palace-vienna-
austria.html, at 16.
40
        Javier Blas, OPEC Said to Break Bread with Shale in Rare Show of Détente, BLOOMBERG
(Mar. 7, 2017), https://www.bloomberg.com/news/articles/2017-03-07/opec-said-to-break-bread-
with-shale-in-rare-show-of-detente.


                                                28
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the need to collectively work to achieve price stability following the meeting, because “no-one

wants to see a repeat of 2015 and 2016.”41

       107.    During CERAWeek 2017, OPEC and the U.S. Shale Producers “agreed in principle

that the market should be better balanced and lower inventories would be beneficial to everyone

. . . [but] shale producers signaled they weren’t ready to give up on the growth they see ahead,” or

at least not yet.42 Shortly after the meeting, Saudi Arabia’s Energy Minister Khalid Al-Falih

warned U.S. Shale Producers that if they wanted to collaborate, there would be no “free rides” on

OPEC production cuts, and they must be ready to pull their weight when the time comes.43 Put
another way, OPEC told U.S. Shale Producers that OPEC expected Shale Producers to work

together and coordinate their production cuts alongside OPEC.

       108.    Later that year, OPEC Secretary General Barkindo told reporters that Defendants

were “beginning to ask questions about how to proceed [alongside OPEC] in a more responsible

manner.”44 Barkindo explained that he understood, from a meeting with executives of Defendants

Hess and Continental Resources during the CERAWeek Conference, that “[t]here is a general

understanding that this downturn [caused by the price war] was not in the interest of anybody” and

“[a]s much as we felt the pinch so did they.”45

       109.    March 5, 2018 – Houston, TX, USA (CERAWeek Conference): In February 2018,

discussing plans to meet with U.S. shale executives for the second year in a row at the upcoming



41
       OPEC BULLETIN, supra n.39, at 15.
42
       Blas, supra n.40.
43
       Ron Bousso, Exclusive - Saudis Tell U.S. Oil: OPEC Won’t Extend Cuts to Offset Shale -
Sources, REUTERS (Mar. 9, 2017), https://www.reuters.com/article/us-ceraweek-saudi-
shale/exclusive-saudis-tell-u-s-oil-opec-wont-extend-cuts-to-offset-shale-sources-idUSKBN16G
2TJ
44
       Anjli Raval, OPEC Secretary General: ‘No Doubt’ Oil Market is Re-Balancing, FIN. TIMES
(Oct. 19, 2017), https://www.ft.com/content/89ddcf13-f338-315a-99ba-366256c7266a.
45
       Id.


                                                  29
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March 2018 CERA Week conference, Barkindo explained, “[i]t’s a fulfillment of our common

desire to continue the dialogue as agreed last year on the sidelines of CERAWeek.” 46 Barkindo

explained that OPEC and the U.S. shale industry agreed at their first meeting in 2017, that they

had a “shared responsibility” towards the oil markets.47 The 2018 CERAWeek dinner between

OPEC members and U.S. Shale Producers, including Defendants, was organized to “further

explore the mechanic of achieving our common objective” of stable production volumes and

prices, per Barkindo.48

       110.    On March 5, 2018, OPEC officials met with U.S. shale executives at Houston’s The

Grove restaurant, during which Secretary General Barkindo gave a speech to dinner attendees.

Afterwards, Defendant Pioneer’s then-CEO Tim Dove summarized Barkindo’s speech to a

reporter as an exchange of OPEC’s forward-looking views on the oil market: “his main message

was that [OPEC] believe[s] very strongly that demand is going to be significant moving forward

in terms of growth.” Defendant Centennial’s CEO, Mark Papa described the speech as “a

statement that everyone will work together to make sure the oil market is well-supplied and

everyone is happy to be working together.”49
       111.    OPEC representatives, including Gabriel Mbaga Obiang Lima, Equatorial Guinea’s

petroleum minister, described the meeting between OPEC and U.S. shale executives as much more

than generalizations, with the key takeaway being a shared commitment to exchange confidential

production information: “The key thing is that information is shared about our projections; it really

helps everybody . . . the important thing is to know how much they [U.S. shale] are investing and

46
       Blas & Smith, supra n.34.
47
       Id.
48
       Id.
49
       Ernest Scheyder and Ron Bousso, CERAWEEK-U.S. Shale and OPEC Share Steak in
Uneasy Truce at Houston Dinner, REUTERS (Mar. 7, 2018), https://www.reuters.com/article
/ceraweek-energy-opec-shale/rpt-%20ceraweek-u-s-shale-and-opec-share-steak-in-uneasy-truce-
at-houston-dinner-idUKL2N1QP05R.


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their projections because usually they have good statistics.”50 Lima explained that, by sharing this

information, “[w]hat we are doing is avoiding volatility,” or put another way – coordinating

production decisions to impact the price of crude oil rather than allowing market forces to dictate

outcomes.51

       112.    Nigerian Oil Minister and OPEC representative Emmanuel Ibe Kachikwu agreed

that it was time for U.S. shale to “take some responsibilities in terms of stability of oil prices.”52

Indeed, Secretary General Barkindo confirmed that OPEC and the U.S. shale executives “had a

very open, frank and lively conversations on the current state of the cycle and we also compared

notes from our experiences during these cycles, how we should proceed going forward. I was very

surprised by the high-level of turnout, as well as the interest they [U.S. shale executives] have

shown in continuing this energy dialogue.”53 Barkindo explained that OPEC and Defendants
“compared notes on our experiences in this cycle [i.e., the recent price war] which everyone agreed

was the most injurious.”54




50
        Id.
51
        Id.
52
        Ernest Sheyder, Nigeria Prime Minister says majors in shale, OPEC should keep crude
price stable, REUTERS (Mar. 5, 2018), https://www.reuters.com/article/us-ceraweek-energy-
nigeria/nigeria-minister-says-majors-in-shale-opec-should-keep-crude-price-stable-
idINKBN1GH347.
53
        OPEC bulletin Special Edition: OPEC international energy dialogues, OPEC (May 9,
2018), https://www.opec.org/opec_web/static_files_project/media/downloads/publications/OB02
2019.pdf, at 51.
54
        Patti Domm, OPEC Wants to Take Its Relationship with US Shale Producers to the Next
Level, CNBC (Mar. 6, 2018), https://www.cnbc.com/2018/03/06/opec-wants-to-take-its-
relationship-with-us-shale-producers-to-the-next-level.html.


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       113.    As one shale executive, who insisted on remaining anonymous, described it to

Reuters, Cowboyistan had parlayed their successful price-war resistance into a seat at OPEC’s

“table on pricing.”55

       114.    In the wake of the 2018 conference, Defendant Continental’s CEO Harold Hamm

“appeared . . . to be trying to reach a more conciliatory tone with OPEC producers” and, in May

2018, even “attended a board meeting of Saudi Aramco, the oil producer controlled by OPEC’s

largest member, Saudi Arabia.”56

       115.    June 2018 – Vienna, Austria (7th OPEC International Seminar): Following the
CERAWeek 2018 dinner, Secretary General Barkindo invited U.S. shale officials to join him at an

OPEC summit in Vienna in June 2018.57 Defendants’ executives Scott Sheffield (Pioneer) and

John Hess (Hess) attended the June 2018 OPEC International Seminar in Vienna, Austria. At the

event, Sheffield spoke for all Defendants when he said, “[t]hey [OPEC] need to put together some

kind of deal to phase into the market. None of us want $80 to $100 [per barrel] oil, that’s too high.

There’s a sweet spot between $60 and $80.”58 Sheffield urged, “OPEC needs to fulfill its duty.”59

       116.    Critically, the 2018 OPEC summit in Vienna was the first time Defendants admitted

publicly to more than listening to OPEC during these meetings. Sheffield admitted speaking to

the OPEC panel about Defendants’ and OPEC’s volumes, and the effects on global oil prices: “My




55
       Alex Lawler & Ernest Scheyder, OPEC to Meet with U.S. Shale Firms in Houston on
Monday: Sources, REUTERS (Feb. 27, 2018), https://www.reuters.com/article/us-oil-opec-
usa/opec-to-meet-with-u-s-shale-firms-in-houston-on-monday-sources-idUSKCN1GB2KP.
56
       Ernest Scheyder, Continental Resources CEO Harold Hamm pulls out of OPEC meeting,
REUTERS via YAHOO!NEWS (June 18, 2018), https://www.yahoo.com/news/continental-resources-
ceo-harold-hamm-162200046.html.
57
       Domm, supra n.54.
58
       Ernest Scheyder, U.S. Shale Executive Pushes OPEC to Gradually Boost Output, REUTERS
(June 20, 2018), https://www.reuters.com/article/oil-opec-pioneer-natl-rsc-idINKBN1JG2OB.
59
       Id.


                                                 32
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message yesterday as I spoke to the panel was that it’s important that OPEC increases production

somewhat to make up for the difference . . . . If they don’t we are going to see $100 oil or higher.”60

       117.    Sheffield delivered a message, and apparently got one in return – two days before

OPEC’s June 22, 2018 production negotiation, Sheffield predicted to Bloomberg the exact amount

of OPEC’s forthcoming production change.61

       118.    January 2019 – Davos, Switzerland (World Economic Forum): In January 2019 at

the Davos World Economic Forum, OPEC’s Secretary General sat on a panel with John Hess,

CEO of Defendant Hess Corp, Vicki Hollub, CEO of Defendant Occidental, and Dan Yergin, Vice

Chairman of IHS Markit.62
       119.    According to Reuters, Hess and Hollub both “said that [the] growth of U.S. shale

oil output would slow” in the near future.63 OPEC’s Secretary General addressed the current oil

market dynamics at Davos, highlighting the importance of OPEC+ in helping stabilize the oil

market over the past two years following the price war.64 He also underscored that market

uncertainties and volatility are detrimental to industry investments and that continuing joint and

collaborative efforts among producers were crucial to ensure timely investments.65


60
        Bloomberg Daybreak: Americas, Pioneer Chairman Sees an OPEC Increase of Up to
600,000 B/D, BLOOMBERG (June 21, 2018), https://www.bloomberg.com/news/videos/2018-06-
21/pioneer-chairman-sees-an-opec-increase-of-up-to-600-000-b-d-video.
61
        Compare id. (Sheffield: “The soft number will be around 5-600,000 [bpd], they might
announce 1 million . . . and that will phase in over the next few months.”) with Rania El Gamal, et
al., OPEC agrees modest hike in oil supply after Saudi and Iran compromise, REUTERS (June 22,
2018), https://www.reuters.com/article/us-oil-opec/opec-agrees-modest-hike-in-oil-supply-after-
saudi-and-iran-compromise-idUSKBN1JI0OG/ (“Saudi Arabia said the move [increase in
production] would translate into a nominal output rise of around 1 million barrels per day (bpd),
or 1 percent of global supply. Iraq said the real increase would be around 770,000 bpd[.]”).
62
        IHS performs market analyses on behalf of OPEC member nations.
63
        Dmitry Zhdannikov, U.S. Oil Firms Tell OPEC Their Growth Will Slow, REUTERS (Jan.
23, 2019), https://www.reuters.com/article/uk-davos-meeting-opec-usa-idUKKCN1PH1TG.
64
        Id.
65
        Id.


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       120.    These comments were praised by Hess, who said that “the Secretary General of

OPEC, as well as OPEC Members, play a very important role in stabilizing markets for oil, so

those efforts are to be recognized.”66    Referencing OPEC’s relationships with Defendants,

Barkindo emphasized, “[w]e have to continue to collaborate. It is one industry. It is a global

industry, and I think our colleagues in the US are on the same page with us and we will work

together to exchange views.”67

       121.    March 11-14, 2019 – Houston, Texas (CERAWeek Conference): For the third
consecutive year, U.S. shale executives met with OPEC members during CERAWeek. Bloomberg

reported that “[t]he event has become an informal communication channel between the cartel and

fast-growing shale producers.”68 Discussing his upcoming meeting with U.S. shale executives,

Secretary General Barkindo shared, “[w]e initiated a valuable dialogue with the U.S. shale

producers two years ago in the midst of the last cycle and we agreed to continue the dialogue

because we broke barriers . . . . It is essential we continue the conversation with U.S. shale

industry.”69

       122.    Barkindo reported that a Monday night dinner attended by CEOs John Hess, Vicki

Hollub, Mark Papa, and Travis Stice, from Defendants Hess, Occidental, Centennial, and

Diamondback, respectively,70 included a “friendly conversation on current industry issues and the

66
       Tom DiChristopher, Trump blasted OPEC this past year. Hess CEO says the oil producer
group deserves praise, CNBC (Jan. 23, 2019), https://www.cnbc.com/2019/01/23/trump-blasted-
opec-hess-ceo-says-the-group-deserves-praise.html.
67
       Id.
68
       Javier Blas and Kevin Crowley, OPEC to Break Bread With Shale Competitors for Third
Year, BLOOMBERG (Mar. 11, 2019), https://www.bnnbloomberg.ca/opec-to-break-bread-with-
shale-competitors-for-third-year-1.1227226.
69
       Id.
70
       CERAWeek 2019 in Review – New World of Rivalries: Reshaping the Energy Future,
CERAWEEK.COM (Mar. 2019), https://cdn.ihsmarkit.com/www/pdf/0819/CW19Review.pdf.;
Javier Blas & Rachel Adams-Heard, OPEC Splits Avocado Appetizer with Shale Adversaries in



                                               34
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immediate prospects and challenges for all.”71 Diamondback CEO Stice spoke with reporters

directly after what he called “a very good session” between OPEC and Defendants, noting that the

meeting featured “open dialogue on some of the things that are going on in the U.S. shale

revolution, U.S. oil production and the associated balance of what’s going on in our industry.”72




 Defendant John Hess (left) was pictured with OPEC Secretary General Mohammed Barkindo
                                          (center)
                              in Houston on March 11, 201973

       123.    In January 2019, OPEC and its allies began new production cuts, agreeing to reduce

supply by 1.2 million bpd over the next six months.74 After the cuts were announced, Reuters

reported that “U.S. shale producers cheered OPEC’s decision to trim output, a move that sent crude



Texas, BLOOMBERG (Mar. 11, 2019), https://www.bloomberg.com/news/articles/2019-03-
11/opec-to-break-bread-with-shale-rivals-in-houston-for-3rd-year#xj4y7vzkg.
71
       Blas & Adams-Heard, supra n.70.
72
       Id.
73
       Id.
74
       Alex Lawler, OPEC posts first 2019 oil-output rise despite Saudi cuts, REUTERS (Aug. 30,
2019), https://www.reuters.com/article/us-oil-opec-survey-idUSKCN1VK1YD.


                                                35
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prices higher [when announced] closing at levels that [shale] oil executives said would keep their

profits flowing.”75 At CERAWeek 2019, Barkindo indicated that OPEC and allies will continue

supply adjustments through 2019.76

       E.      2021: Defendants Actualize Their Agreement with OPEC

       124.    It is unclear when, exactly, Defendants began coordinating their output in

conjunction with OPEC. As 2018 came to an end, it at least appeared to the outside world that

OPEC’s pleas were falling on deaf ears:




75
       Jennifer Hiller, U.S. shale producers see OPEC pullback helping 2019 profits, REUTERS
(Dec. 8, 2018), https://www.reuters.com/article/idUSL1N1YC20I/#:~:text=HOUSTON%2C%20
Dec%207%20(Reuters),would%20keep%20their%20profits%20flowing.
76
       OPEC Secretary General on Saudi Arabia’s oil production, Venezuela and NOPEC,
CNBC (Mar. 12, 2019), https://www.cnbc.com/video/2019/03/12/opec-secretary-general-on-
saudi-arabias-oil-production-venezuela.html.


                                               36
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Figure 2. Change in Crude-Oil Production – U.S. Shale Oil v. OPEC (2014 – 2019)77




       125.    Indeed, analysts predicted that 2019 would be the start of “[t]he second wave of the

U.S. Shale revolution,” which should have been “concerning for OPEC” because “U.S. oil output

is expected to grow by 1.4 million barrels a day this year, to average 12.4 million barrels a day.”78
       126.    The second wave never occurred. In 2020, lockdowns associated with the COVID-

19 pandemic cratered gasoline and other crude oil derivative fuel product demand, sending




77
        Sarah McFarlane & Pat Minczeski, OPEC vs. Shale: The Battle for Oil Price Supremacy,
THE WALL STREET J. (Apr. 18, 2019), https://www.wsj.com/articles/opec-vs-shale-the-battle-for-
oil-price-supremacy-11555588826.
78
        Id.


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multiple shocks through the world oil markets. Worldwide oil production fell,79 and the U.S. shale

oil industry consolidated and suffered as production fell and smaller Shale Producers went

bankrupt.80

       127.    During this economic turmoil, Defendants and OPEC signaled to each other their

willingness to end their price war and market share competition once and for all and collaborate

on their respective production levels, and consequently, global crude oil prices. In July 2020,

OPEC’s Secretary General made it clear that OPEC could inflate and sustain high crude prices if

Defendants played ball: “We were able to reach out to the U.S. [I]ndependents and we had

established a line of communication with them. We have reached some level of comfort among

ourselves. They have been participating also at their own levels to ensure that this conversation is

inclusive and is led by the biggest producers. There is no objective whatsoever from us as a group

or as individual countries to drive U.S. shale production out of business . . . . Everybody has a role

to play . . . . We are very much appreciative of the support and the cooperation we are getting

from the U.S. both at the level of policymakers as well as from industry.”81 On November 28,
2020, Defendant EOG Resources’ CEO Bill Thomas confirmed Defendants’ willingness, as a

group, to follow OPEC’s lead on pricing: “In the future, certainly we believe OPEC will be the

swing producer – really, totally in control of oil prices . . . . We don’t want to put OPEC in a



79
        Charles Riley, Oil Prices Surge as OPEC and Its Allies Extend Production Cuts, CNN
BUSINESS (Mar. 4, 2021), https://www.cnn.com/2021/03/04/investing/opec-oil-prices-saudi-
russia/index.html (due to the global Coronavirus pandemic and market panic, OPEC members
agreed to “slash[] output [of crude oil] by a record-shattering 9.7 million barrels per day”).
80
        Irina Slav, Shale Executives See Little Chance of Significant Growth, OILPRICE.COM via
BUSINESS INSIDER (Dec. 6, 2020), https://markets.businessinsider.com/news/stocks/shale-
executives-see-little-chance-of-significant-growth-1029867633 (“Between January and October,
43 oil and gas producers in North America filed for bankruptcy protection. Most of them were
from the shale patch.”).
81
        OPEC Secretary General: No objective to drive US shale out of business, OIL & GAS
JOURNAL (July 9, 2020), https://www.ogj.com/general-interest/article/14179258/opec-secretary-
general-no-objective-to-drive-us-shale-out-of-business.


                                                 38
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situation where they feel threatened, like we’re taking market share while they’re propping up oil

prices.”82

        128.   When the world emerged from the pandemic in early 2021, gasoline and other crude

oil derivative fuel product demand surged, and with it, so did crude oil prices, reaching nearly $70

a barrel in March 2021. As OPEC and OPEC+ countries rebounded from the pandemic, they

collectively withheld production to push up prices further.83 As part of these cuts, OPEC signaled

to U.S. Shale Producers that OPEC did not view Saudi Arabia, or any other member of OPEC, to

be a “swing producer.”84
        129.   Defendants also responded to rising prices by withholding production, suddenly

(and in near-unison) preaching supply “discipline” for the first time in the history of U.S. shale.

Over the course of 2021, Defendants would continue to signal to each other, OPEC, and the market

that they were no longer competing for market share or willing to act as swing producers:

               a.      In a February 2021 interview, Defendant Chesapeake CEO Doug Lawler

                       explained that U.S. Shale Producers were entering a “new era” of shale

                       production that “requires a different mindset” of “more discipline and

                       responsibility.”85     Defendant Pioneer CEO Scott Sheffield agreed,


82
        Kevin Crowley, et al., The Pandemic Has Broken Shale and Left Oil Markets in OPEC
Hands, BLOOMBERG (Nov. 28, 2020), https://www.bloomberg.com/news/articles/2020-11-28/the-
pandemic-has-broken-shale-and-left-oil-markets-in-opec-hands.
83
        Charles Riley, Oil Prices Surge as OPEC and Its Allies Extend Production Cuts, CNN
BUSINESS (Mar. 4, 2021), https://www.cnn.com/2021/03/04/investing/opec-oil-prices-saudi-
russia/index.html.
84
        Amena Bakr and Rafiq Latta, Saudis Surprise with Big Solo Cut, INTERNATIONAL OIL
DAILY (Jan. 4, 2021) (“Prince Abdulaziz vigorously rejected any suggestion that the [announce
production cut] marked a return of Saudi acceptance of a swing producer role. Those days ‘are
gone, all over,’ he argued.”).
85
        Alex Lawler & Jennifer Hiller, OPEC, U.S. Oil Firms Expect Subdued Shale Rebound
Even as Crude Prices Rise, REUTERS (Feb. 22, 2021), https://www.reuters.com/article/us-shale-
opec-outlook/opec-u-s-oil-firms-expect-subdued-shale-rebound-even-as-crude-prices-rise-
idUSKBN2AM0E2/.


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                     predicting that small companies would increase output but in the aggregate

                     U.S output would remain flat, even if crude prices go above $60, as the large

                     U.S. Shale Producers would jointly practice discipline.86

              b.     In March 2021, on the same day that OPEC announced supply restrictions,

                     Defendant Occidental CEO Vicki Hollub said that despite a “healthier

                     supply and demand environment” and “a V-shaped” post-pandemic

                     recovery, U.S. oil production would not return to pre-pandemic heights,

                     because Defendants and other U.S. Shale Producers were “committed to

                     value growth, rather than production growth.”87
              c.     In April 2021, Pioneer CEO Sheffield said that U.S. Shale Producers risked

                     another price war with OPEC and its allies if they resumed the breakneck

                     production growth of the last decade.       He also balked at the federal

                     government’s forecasts that predicted an increase in domestic oil

                     production, and instead declared that he was “totally against” any

                     production increase as “producers now know the stakes and will stick to

                     their mantra of capital discipline.”88

              d.     In a June 2021 interview with Reuters, Sheffield said that he was “confident

                     the producers will not respond” to the high crude oil prices by increasing




86
        Id.
87
        Pippa Stevens, U.S. Oil Production Won’t Return to Pre-Pandemic Levels, Says Occidental
CEO, CNBC (Mar. 4, 2021), https://www.cnbc.com/2021/03/04/us-oil-production-wont-return-
to-pre-pandemic-levels-occidental-ceo.html#:~:text=Occidental%20CEO% 20Vicki%20Hollub
%20said,Evolve%20conversation%20with%20Brian%20Sullivan.
88
        Kevin Crowley, Pioneer Chief Warns of OPEC+ Price War Risk, RIGZONE (Apr. 14. 2021),
https://www.rigzone.com/news/wire/pioneer_chief_warns_of_opec_price_war_risk-14-apr-
2021-165162-article/.


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                     production, because they were focused on “shareholder returns.”89

                     According to Reuters, “[i]n the United States, closely held companies have

                     contributed substantially to rig additions this year, but Sheffield said those

                     smaller firms should not drive up volumes enough to ruffle OPEC+

                     producers.”90

              e.     On an August 5, 2021 earnings call, Defendant EOG President and CEO

                     Bill Thomas, echoing Lawler’s February 2021 language, referenced a “new

                     era” of collaboration in the global crude oil market with a “more positive

                     macro environment than we’ve been in since really the shale business

                     started. I think OPEC+ is solid. I think the U.S. will remain disciplined.

                     And so, I think the industry is in for a long run of really good results.”91
              f.     On October 3, 2021, Defendant Pioneer CEO Sheffield said U.S. producers

                     were not willing to increase supply to curb soaring crude oil prices that were

                     “under OPEC control,”92 reflecting Defendants’ production restraint

                     agreement. Sheffield reaffirmed Pioneer’s commitment to the agreement,

                     promising to cap any Pioneer output increase at 5% per year no matter the




89
        Liz Hampton, U.S. Shale Industry Tempers Output Even as Oil Prices Jump, REUTERS
(June 28, 2021), https://www.reuters.com/business/energy/us-shale-industry-tempers-output-
even-oil-price-jumps-2021-06-28.
90
        Id.
91
        EOG Resources (EOG), Q2 2021 Earnings Call Tr., THE MOTLEY FOOL (Aug. 5, 2021),
https://www.fool.com/earnings/call-transcripts/2021/08/05/eog-resources-eog-q2-2021-earnings-
call-transcript/.
92
        Derek Brower & David Sheppard, US Shale Drillers Cannot Contain Oil Price Rise,
Pioneer Boss Says, FIN. TIMES (Oct. 3, 2021), https://www.ft.com/content/c21eb656-8d09-45ce-
a13a-7d8419426b05.


                                               41
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                      price of crude oil, explaining that “everybody’s going to be disciplined,

                      regardless whether it’s $75 Brent,93 $80 Brent, or $100 Brent . . . .”94

       130.    Defendants’ breakeven prices at the time were around $40/barrel,95 while Saudi

Arabia’s 2021 breakeven prices were publicly estimated to be as much as $68/barrel.96 Thus,

economic conditions were ripe for Defendants to increase production and capture market share.

Defendants’ restraint, therefore, came as a surprise to some oil industry observers:

               a.     In January 2021, Reuters reported that “U.S. shale producers are keeping

                      their pledges to hold the line on spending and keep output flat, a departure

                      from previous boom cycles.”97
               b.     In June 2021, another Reuters columnist noted that “U.S. shale producers

                      have normally captured market share from OPEC+ whenever prices have

                      been above $55-60 per barrel.”98 2021’s “run up in crude prices, and oil

                      output curbs imposed by the OPEC+ producers group, historically would

93
         “Brent” refers to Brent crude, a widely recognized benchmark for pricing crude oil
internationally. The price of Brent crude oil is determined through trading on the Intercontinental
Exchange (“ICE”) in London. It is often used as a reference point for setting oil prices.
94
         Brower & Sheppard, supra n.92.
95
         EOG      Resources,     Value     Matters:      4Q     2021     Presentation,     (2022),
https://s24.q4cdn.com/589393778/files/doc_financials/2021/q4/EOG_0222.pdf               (Defendant
EOG’s price needed to secure 10% return on capital, not breakeven, was ~$40); Occidental
Petroleum Corp., Q3 2020 Earnings Call Tr., OXY.COM (Nov. 10, 2020),
https://www.oxy.com/globalassets/documents/investors/quarterly-earnings/OXY3Q20 Transcri
pt.pdf (Defendant Occidental’s breakeven price ~$40); Diamondback Energy, Investor
Presentation (Nov. 2021), at Slide 11, https://www.diamondbackenergy.com/static-
files/532c60b3-f8f0-4f43-8368-91b9f4b628e2 (Defendant Diamondback Energy’s 2021
breakeven price was “approximately $32 per barrel.”).
96
         INT’L MONETARY FUND, https://data.imf.org/?sk=388dfa60-1d26-4ade-b505-a05a558d
9a42&sid=1479331931186.
97
         Liz Hampton, U.S. Shale Industry Tempers Output Even as Oil Prices Jump, REUTERS
(Jan. 28, 2021), https://www.reuters.com/business/energy/us-shale-industry-tempers-output-even-
oil-price-jumps-2021-06-28.
98
         John Kemp, U.S. Shale Restraint Pushes Oil Prices to Multi-Year High, REUTERS (June 4,
2021), https://www.reuters.com/article/global-oil-kemp-idAFL5N2NM37M.


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                       have triggered a drilling boom.”99 However, the author observed that

                       Defendants’ output restraints had “emboldened OPEC+ to maintain its own

                       output curbs, temporarily removing the threat of lost market share and

                       accelerating the upward pressure on prices . . . . Shale producers have

                       publicly reiterated their new commitment to output restraint in interviews

                       as well as calls with analysts and investors.”100 The author noted that “there

                       is a broad consensus among OPEC+ countries and the U.S. shale industry

                       on the need for slower output growth, higher prices, and wider profit

                       margins.”101
               c.      On Defendant Chesapeake’s Q4 2021 earnings call, Bank of America

                       Managing Director and Head of U.S. Oil and Gas was confounded by

                       Chesapeake’s new strategy, telling Chesapeake CEO that their plans to slow

                       production would be “the easiest way to destroy value” for the company in

                       the long term.102

       131.    OPEC, however, was not surprised. In early 2021, OPEC estimated that U.S. shale

production would see a significant annual drop. Reuters reported that anonymous OPEC sources

confirmed that “[t]he lack of a shale rebound could make it easier for OPEC and its allies to manage

the market.”103 OPEC also signaled that the price war was over. Secretary General Barkindo told




99
      Hampton, supra n.97.
100
      Kemp, supra n.98.
101
      Id.
102
      Chesapeake Energy Corporation (CHK), CEO Nick Dell’Osso on Q4 2021 Results -
Earnings Call Transcript, SEEKING ALPHA (Feb. 24, 2022), https://seekingalpha.com/article/
4489980-chesapeake-energy-corporation-chk-ceo-nick-dellosso-on-q4-2021-results-earnings-
call.
103
      Lawler & Hiller, supra n.85.


                                                43
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Reuters that “U.S. shale is an important stakeholder in our global efforts to restore balance to the

oil market” and that Shale Producers and OPEC “have a shared responsibility in this regard.”104

        F.     2022-2023: $200 a barrel? No Thanks

        132.   In 2022, after Russia invaded Ukraine, crude oil prices spiked. Unlike the steep

fall in demand during the early days of COVID-19, this was a supply-side shock that resulted in a

decrease in the volume of oil available in the U.S. market, both from increased strain on supply

chains and, more importantly, the removal of Russia’s oil production from the world market.

        133.   By mid-2022, the price of oil crossed $120 a barrel. At this price, oil cost more

than at any point during the five-year runup to the OPEC Price War and nearly quadruple the 2016

price war low water mark.

        134.   OPEC responded to the possibility that the high prices might recede with further

production restraint, including cuts in October 2022 of “two million barrels per day.” These

amounts were announced as crude prices began to normalize from their near-record highs, and

were intended to “stabilize the recent fall in global energy prices.”105
        135.   Despite record prices in 2022 and consistently high prices in 2023, in a break from

their prior behavior,106 Defendants refused to increase production in an independently

economically rational manner:




104
        Id.
105
        Jeff Stein, et al., OPEC, Allies Move to Slash Oil Production, Eliciting Blistering White
House Response, THE WASH. POST (Oct. 5, 2022), https://www.washingtonpost.com/business/
2022/10/05/opec-plus-oil-cut-russia-saudi-arabia/.
106
        See Lawler & Scheyder, supra n.55 (even OPEC members understood that “[i]t’s normal
for shale oil, tight oil [production] to increase . . . whenever oil prices support it.”); Erik Norland,
As Oil Prices Plunge, What Will Swing Producers Do?, CME GROUP (Nov. 21, 2018),
https://www.cmegroup.com/education/featured-reports/as-oil-prices-plunge-what-will-swing-
producers-do.html (in the past, “higher [crude oil] prices incentivized an enormous increase in
U.S. production”).


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              a.     In February of 2022, as Russian troops staged on the Ukrainian border in

                     advance of the invasion, Sheffield again made comments that support the

                     existence of an agreement between and among Defendants: “In regard to

                     the industry, it’s been interesting watching some of the announcements so

                     far, the public[ly listed] [I]ndependents are staying in line,” and “I’m

                     confident they will continue to stay in line.”107 Indeed, following the

                     massive 2022 oil price spike during which oil prices increased 20% between

                     just January and February 2022, Sheffield emphasized, “[w]hether it’s $150

                     oil, $200 oil, or $100 oil, we’re not going to change our growth plans[.]”108
              b.     Later in February, other Defendants signaled their alignment. During an

                     earnings call, Defendant Continental’s CEO Berry confirmed, “[w]e project

                     generating flat to 5% annual production growth over the next five

                     years[.]”109

              c.     Defendant Diamondback’s executive Stice explained on February 22, 2023,

                     “we have no reason to put growth before returns . . . we will continue to be

                     disciplined.”110

              d.     Bloomberg reported on February 24, 2022 that Defendant “EOG Resources

                     Inc. plan[ned] to restrain oil growth [in 2022] despite surging prices, falling

                     into line with most other major U.S. independent shale producers. . . . like

107
       Tsvetana Paraskova, Not Even $200 Oil Will Make Shale Giants Drill Aggressively,
OILPRICE.COM (Feb. 18, 2022), https://oilprice.com/Energy/Energy-General/Not-Even-200-Oil-
Will-Make-Shale-Giants-Drill-Aggressively.html#:~:text=The%20largest%20U.S.%20shale
%20producers,shale%20firms %20said%20this%20week.
108
       Id.
109
       Id.
110
       Geert De Lombaerde, Diamondback to Keep Production Flat, Invest $1.75 Billion in 2022,
OIL & GAS J. (Feb. 23, 2022), https://www.ogj.com/drilling-production/article/
14234465/diamondback-to-keep-production-flat-invest-175b-in-22.


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                     [Defendant] Pioneer Natural Resources and [Defendant] Continental

                     Resources[, who] are also limiting increases to less than 5% this year.”111

              e.     In March 2022, Occidental Petroleum’s CEO Vicki Hollub stated that

                     Occidental had a “huge inventory of high-quality investments” available

                     around the world, especially in U.S. shale, but was not acting on those

                     opportunities to expand production, instead focused on maintaining high

                     profits.112

              f.     On an August 2022 earnings call, Defendant EOG said it planned to keep

                     production growth to “low single digits” in 2023 and it was “committed to

                     remaining disciplined” despite ideal economic conditions for production

                     increases.113 In 2022, EOG increased production by only 4% and said it
                     was targeting the same increase in 2023.114

              g.     In January 2023, Sheffield confirmed that the “aggressive growth era of US

                     shale is over” and that Pioneer and the other Defendants were “no longer a

                     swing producer.”115



111
        Kevin Crowley, EOG Holds Back Oil-Production Growth in Line with Shale Peers,
BLOOMBERG (Feb. 24, 2022), https://www.bloomberg.com/news/articles/2022-02-24/eog-holds-
back-oil-production-growth-in-line-with-shale-peers.
112
        Pippa Stevens, Oil Producers in a ‘Dire Situation’ and Unable to Ramp Up Output, Says
Oxy CEO, CNBC (Mar. 8, 2022), https://www.cnbc.com/2022/03/08/oil-producers-in-a-dire-
situation-and-unable-to-ramp-output-says-oxy-ceo.html.
113
        EOG Resources (EOG), Q2 2022 Earnings Call Tr., THE MOTLEY FOOL (Aug. 5, 2022),
https://www.fool.com/earnings/call-transcripts/2022/08/05/eog-resources-eog-q2-2022-earnings-
call-transcript/.
114
        Liz Hampton, U.S. Shale Producer EOG Sticks to 4% Annual Output Growth, REUTERS
(Aug. 5, 2022), https://www.reuters.com/business/energy/us-shale-producer-eog-maintain-low-
single-digit-oil-output-2022-08-05/.
115
        Derek Brower and Myles McCormick, What the End of the US Shale Revolution Would
Mean for the World, FIN. TIMES (Jan. 15, 2023), https://www.ft.com/content/60747b3b-e6ea-
47c0-938d-af515816d0f1.


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                h.     When asked in a March 2023 interview why Occidental was not using its

                       profits to “drill more wells” and “bring down prices,” Defendant

                       Occidental’s President, Vicki Hollub responded that “prices are in a good

                       place right now,” “gas prices at the pump are not so bad at this price,” and

                       Occidental had no intention of increasing production to meet global demand

                       and lower U.S. consumer gas prices, despite having the ability to profitably

                       increase production.116

        136.    Again, knowing that the Shale Producers’ breakeven prices were continuing to

fall,117 oil industry observers expressed disbelief at Defendants’ flat out refusal to compete for
market share:




116
         Ian Thomas, U.S. Won’t Reach a New Record in Oil Production ‘Ever Again,’ Says Pioneer
Natural Resources CEO, CNBC (Mar. 9, 2023), https://www.cnbc.com/2023/03/09/us-wont-
reach-new-record-oil-production-ever-again-pioneer-ceo.html.
117
         E.g., Press Release, Continental Resources Announces Record 2021 Results; 2022
Projections Highlight Increasing Cash Flow and Corporate Returns, News Release (Exhibit 99.1),
SEC                     ARCHIVES                     (Feb.                  14,                 2022),
https://www.sec.gov/Archives/edgar/data/732834/000119312522042827/d272362dex991.htm
(Defendant Continental reported that for 2022 it was “projecting an approximately $30 WTI free
cash flow breakeven price.”); Centennial Resource Development Inc., 2022 Corporate
Sustainability      Report,       PERMIAN       RES.COM      (2022),       https://permianres.com/wp-
content/uploads/2022/08/Centennial-2022-Corporate-Sustainability-Report.pdf. ($32 breakeven
for Defendant Centennial); Using Scenarios to Understand Risks, Opportunities, CHESAPEAKE
ENERGY        (2023),     https://sustainability.chk.com/climate/portfolio-resilience/     (Defendant
Chesapeake breakeven between $33 and $42); Investor Relations Presentation, May 2022, HESS
CORP.       (May       2022),      https://investors.hess.com/static-files/3814592c-05ea-4659-9651-
88012e29468f (Defendant Hess breakeven ~$45); The Value Portfolio: Pioneer Natural
Resources       is     Heavily      Undervalued,       SEEKING      ALPHA       (Aug.     9,    2023),
https://seekingalpha.com/article/4593056-pioneer-natural-resources-heavily-undervalued
(Defendant Pioneer breakeven $39); Irina Slav, Running Out of Sweet Spots: Shale Growth May
Not           Materialize,          MARKETS            INSIDER          (Feb.         7,        2022),
https://markets.businessinsider.com/news/stocks/running-out-of-sweet-spots-the-biggest-
problem-for-us-shale-1031168908 (“Technologically, oil and gas resources can be stretched to
near infinity as drilling technology advances further and further.”).


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              a.     As the Washington Post noted, the price increases following the Russian

                     invasion were a “clear signal to raise [shale] production; we’re talking Bat-

                     Signal clarity here.”118

              b.     A February 2022 Bloomberg article wondered why Defendant EOG

                     wouldn’t “take advantage of higher prices by pumping more crude from its

                     shale fields.” The article said that EOG “plan[ned] to restrain oil growth

                     this year despite surging prices, falling into line with most other major U.S.

                     independent shale producers.”119
              c.     In March 2022, a CNBC anchor observed: “I know we keep hearing about

                     this key code word from all of the oil companies right now that they are

                     ‘disciplined,’ but when you see oil at north of 120 dollars a barrel, I mean

                     it’s one thing to be disciplined, it’s another thing to miss an opportunity.”120

              d.     Again in March 2023, the Financial Times published an article titled, “Oil

                     executives warn of higher prices now that OPEC is back ‘in charge.’”121

                     Another March 2023 article, this one from CNBC, was titled “US won’t

                     reach a new oil record in oil production ‘ever again’ says Pioneer Natural

                     Resources CEO.”122




118
        Denning, supra n.15.
119
        Crowley, supra n.111.
120
        Stevens, supra n.112.
121
        Myles McCormick, Derek Brower, & Justin Jacobs, Oil Executives Warn of Higher Prices
Now      that   OPEC      Is   Back    in   Charge,     FIN. TIMES       (Mar.     8,   2023),
https://www.ft.com/content/f1674a6e-39ae-4abb-ae2a-40fefb58d6b9.
122
        Ian Thomas, U.S. Won’t Reach a New Record in Oil Production ‘Ever Again,’ Says Pioneer
Natural Resources CEO, CNBC (Mar. 9, 2023), https://www.cnbc.com/2023/03/09/us-wont-
reach-new-record-oil-production-ever-again-pioneer-ceo.html.


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               e.    On April 3, 2023, after OPEC made further cuts, Bloomberg reported that

                     the U.S. shale industry did not plan to “break a three-year trend” by

                     increasing production in response to rising oil prices, and would not

                     “rescue” U.S. consumers from high gas prices, despite being “flush with

                     cash after record profits.”123 According to one industry expert, “OPEC and

                     shale are much more on the same team now, with supply discipline on both

                     sides” which “really puts a floor under the price of oil long term.”124

        137.   Defendants’ own employees were unable to explain of why production was not

ramping up to meet market demand:

               a.    A former Senior Lease Operator at Diamondback Energy found it

                     “somewhat weird” that “even with multiple acquisitions and growth,

                     [Diamondback Energy] always maintain[ed] flat production and flat oil

                     sales” during the Class Period. He was confused by this strategy, asking

                     “[w]e’re an oil company, we make money by selling oil… at times when oil

                     was $95 a barrel, why aren’t we ripping these things open?”

               b.    A former Operations Accountant at Pioneer shared that he observed

                     significant delays, often up to a year, in bringing wells on to produce Shale

                     Oil throughout the Class Period. This former employee asked his direct

                     supervisor numerous times why these delays were happening and was told

                     that the operations team made those decisions and his supervisor did not

                     have an explanation. Additionally, this former employee attended Pioneer’s

                     quarterly company-wide town hall meetings and said that during these

123
       Kevin Crowley and Mitchell Ferman, Don’t Expect US Shale to Quickly Fill the Gap Left
by OPEC+ Cut, BLOOMBERG (Apr. 3, 2023), https://www.bloomberg.com/news/articles/2023-04-
03/opec-surprise-cut-won-t-be-filled-by-us-shale-oil?in_source=embedded-checkout-banner.
124
       Id.


                                              49
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                      meetings, Sheffield would make statements “that did not match the

                      information [he] was seeing” in the drilling data.

        138.   Defendants also continued meeting with OPEC officials in 2022 and 2023:

               a.     2022: Once again, Defendants met with OPEC officials during the 2022

                      CERAWeek Conference in Houston, Texas on March 6-10, 2022. Reuters

                      reported that at the time of this conference, “[i]t was at least the fourth time

                      since 2017 that U.S. shale oil producers and OPEC officials have held such

                      meetings to discuss energy concerns.”125 In Houston, Defendants and
                      OPEC “gathered in a private room at a restaurant and U.S. producers

                      presented OPEC Secretary General Barkindo with a bottle labeled ‘Genuine

                      Barnett Shale’ – from the oilfield that launched the shale revolution.

                      Barkindo proudly displayed the memento as he left the meeting, which

                      included executives from Hess Corp . . . and Chesapeake Energy.”126 As

                      Reuters noted, Defendants and OPEC “found themselves on similar sides

                      as oil prices have surged well above $100 a barrel: in no rush to rapidly

                      boost production.”127 Chesapeake CEO Domenic Dell’Osso confirmed that

                      “[w]ere shale to ramp up output only to have prices fall, we have destroyed

                      a lot of value for shareholders and haven’t helped the problem.”128




125
       Liz Hampton & Arathy Somasekhar, OPEC Meets with U.S. Shale Executives as Oil Prices
Skyrocket, REUTERS (Mar. 7, 2022), https://www.reuters.com/business/opec-meet-with-us-shale-
executives-us-energy-conference-oil-prices-skyrocket-2022-03-08/. (In attendance: EQT Corp
Chief Executive Officer Toby Rice, Hess Corp CEO John Hess, and Chesapeake Energy CEO
Domenic Dell’Osso).
126
       Hampton, supra n.33.
127
       Id.
128
       Id.


                                                50
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               b.     2023: In March 2023, the Financial Times reported that “about two dozen

                      [U.S. shale executives] including [Defendants’ executives:] Sheffield [of

                      Pioneer], . . . Nick Dell’Osso of Chesapeake Energy, Travis Stice of

                      Diamondback Energy, Vicki Hollub of Occidental Petroleum, and John

                      Hess of Hess Corporation met with OPEC Secretary General[-elect]

                      Haitham Al Ghais129 for a private dinner in a downtown Houston

                      steakhouse” to reaffirm their agreement to restrict production, “[d]espite

                      recent record profits.”130 During this dinner, it was reported that “[t]he shale
                      executives pressed Al Ghais on how much spare production capacity OPEC

                      could deploy, and offered their own assessment of how much extra output

                      the US could deliver this year ‒ a range between 400,000 and 600,000 b/d,

                      according to one person at the dinner.”131 In the article, Sheffield doubled

                      down on his support of OPEC, “I think the people that are in charge now

                      are three countries ‒ and they’ll be in charge the next 25 years. . . . Saudi

                      first, UAE second, Kuwait third.”132

        139.   Early in 2023, Defendants removed all doubt that they were coordinating with

OPEC.

129
       In January 2022, OPEC declined to grant Mohammad Sanusi Barkindo a third term as
Secretary General and chose Haitham Al-Ghais, a veteran oil official from Kuwait, as his
successor. Barkindo was scheduled to leave his position at the end of July 2022, but on July 5, he
passed away. According to the New York Times, “[t]here is no indication that the change of
leadership will influence how much oil OPEC produces.” Stanley Reed, Mohammad Barkindo,
OPEC’s top official, dies, THE N.Y. TIMES (July 6, 2022), https://www.nytimes.com/2022
/07/06/business/opec-barkindo.html#:~:text=Barkindo%20 was%20scheduled%20to%20leave,
how%20much%20oil%20OPEC%20produces.
130
       Myles McCormick, et al., Oil Executives Warn of Higher Prices Now that OPEC Is Back
in Charge, FIN. TIMES (Mar. 8, 2023), https://www.ft.com/content/f1674a6e-39ae-4abb-ae2a-
40fefb58d6b9.
131
       Id.
132
       Id.


                                                51
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        140.   On January 5, 2023, Defendant Pioneer’s CEO Sheffield stated that “OPEC

ministers are frustrated over the recent price fall,” before predicting that forthcoming production

was “going to change . . . . If [price] stays too low, it wouldn’t surprise me if [OPEC] ha[s] another

cut . . . . [W]e’ll see what happens in the next 90 days.”133

        141.   Eighty-seven days later, OPEC “shocked traders around the world”134 when it

announced a “surprise” production cut, when OPEC “had been largely expected to stick to its

already agreed 2m bpd cuts.”135

        142.   After Sheffield’s prediction, but before OPEC’s surprise production cut

announcement, on March 27, 2023, news emerged that some Defendants, including at least Pioneer

(Sheffield’s company) and EOG, had pulled back the hedge positions they had previously

established to protect against downward oil price movements. This left Defendants “suddenly

vulnerable” and exposed them to massive economic risk if oil prices went down.136
        143.   Indeed, Defendant Pioneer’s CEO Sheffield defended the extraordinarily risky

move, stating, “we’re not going to hedge” and that he was still “optimistic that we’ll see $100 a

barrel before the end of the year.”137

        144.   Less than a week after news emerged of Defendants’ exposed positions, on April

2, 2023, OPEC announced their “surprise” production cut, slashing 1.15 million barrels of oil




133
       Kevin Crowley, One Shale Executive Correctly Called OPEC+’s Surprise Output Cut,
BLOOMBERG (Apr. 4, 2023), https://www.bloomberg.com/news/articles/2023-04-04/one-shale-
executive-correctly-called-opec-s-surprise-output-cut?sref=NqTCpwwa#xj4y7vzkg.
134
       Id.
135
       Reuters, OPEC+ Announces Surprise Cuts in Oil Production, THE GUARDIAN (Apr. 2,
2023), https://www.theguardian.com/business/2023/apr/02/opec-announces-surprise-cuts-in-oil-
production-of-about-115-mbpd.
136
       Justin Jacobs, Shale Oil Drillers Left Exposed After Pulling Back Price Hedges, FIN. TIMES
(Mar. 28, 2023), https://www.ft.com/content/c3baf69f-41fc-42ea-b13a-5ef6f546e143.
137
       Id.


                                                 52
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production per day.138 Defendants’ failure to hedge was inexplicable but for their advanced

knowledge of OPEC’s planned production cuts.

        145.   In April 2023, an energy analyst succinctly summarized the effects of Defendants’

output constraint agreement:
        In its early days, shale behaved like a dimmer, with output growth accelerating
        proportionally as oil prices were dialed up. That ability to respond quickly to the
        market was due to the speed at which shale wells could be developed: a few months
        compared to the years or decades of Big Oil projects. Today, shale is as responsive
        as in the past. But there’s a difference. The dimmer appears to be capped at a
        certain level: No matter how high oil prices go above that level – say $100 a barrel
        – the industry will no longer add rigs to sop up market share. Rather, it will stay
        put and go into harvest mode with existing wells – that’s exactly what happened in
        2022, much to the consternation of the White House, which urged shale companies
        to drill more.139
        146.   Shale Producers had the ability to increase production and gain market share, they

just chose not to:
Table 1: Defendants’ U.S. Oil Production Growth Rates In pre- and post-Class Period

                                        2017-2019 U.S. Oil            2021-2023 U.S. Oil
                 Defendant              Production Growth Rate        Production Growth Rate
                                        (Comparison Period)           (Class Period)
         Centennial/Permian140                  123%                          56%

         Chesapeake                             31%                           -63%

         Continental                            43%                           42%

         Diamondback                            220%                          19%

138
        Reuters, supra n.135.
139
        Blas, supra n.24.
140
        On September 1, 2022, Centennial Resources merged with Colgate Energy Partners II,
LLC to form Permian Resources. Centennial, Colgate Finalize $3.9B Merger; Debut as Permian
Resources Corp, SHALE EXPERTS (Sept. 1, 2022), https://www.shaleexperts.com/
articles/Centennial-Colgate-Finalize-3.9B-Merger-Debut-as-Permian-Resources-Corp_99995160
3. Accordingly, the 56% figure listed in Table 1 for Centennial is its 2021-2022 pre-merger growth
rate as public figures do not permit Plaintiffs to back-out production figures from Colgate’s rigs
post-acquisition.


                                                53
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                                       2017-2019 U.S. Oil            2021-2023 U.S. Oil
                Defendant              Production Growth Rate        Production Growth Rate
                                       (Comparison Period)           (Class Period)
        EOG                                    36%                           6%

        Hess                                   25%                          -6%

        Occidental                             89%                           8%

        Pioneer                                34%                           3%
        Defendants’ Production
        Weighted Average                       63%                           14%
        Average Crude Oil Price per
        Barrel                                 $55.01                        $78.42
        Average U.S. Consumer
        Gasoline Price                         $2.67                         $3.61


       147.    Defendants’ production restraint agreement worked. Defendants are reaping the
rewards in the form of massive revenue increases while not reinvesting that additional revenue

into new production. Compare Figure 3 with Figures 4, 5, 6, 7, 8, 9, and 10 (recording Defendants’

revenue growth after 2020).




                                               54
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Figure 3. U.S. Shale Producer’s Reinvestment Rate (capital expenditure as a percentage of
operational cash flow)




 Figure 4. Pioneer’s Annual Revenue (USD)




                                           55
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Figure 5. Permian/Centennial’s Annual Revenue (USD)




Figure 6. Chesapeake’s Annual Revenue (USD)




                                       56
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Figure 7. Continental’s Annual Revenue (USD)




Figure 8. Diamondback’s Annual Revenue (USD)




                                       57
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Figure 9. EOG’s Annual Revenue (USD)




Figure 10. Occidental’s Annual Revenue (USD)




                                       58
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        G.      Defendants’ “Restraint” Is Economically Irrational, Absent Agreement

        148.    The terms Defendants used may have varied: being “disciplined,” or focusing on

“value growth,” or “staying in line,” or operating for “shareholder returns.” But they are all code

words for each Defendant’s agreement to coordinate and restrain domestic shale oil production.

Further, Defendants’ repeated public confirmation of their production discipline was an admission

that they each had spare productive capacity that they chose not to utilize.

        149.    In a competitive market for arguably the most important commodity on earth: crude

oil, expanding production to take advantage of prices above a company’s breakeven is the

economically rational response. If a company does not do that, its competitor will; taking margin

share and reinvesting its additional profits into further production capacity and/or efficiency gains.

Defendants taught OPEC this lesson during the Shale Revolution.

        150.    In a competitive market, no single Defendant would restrain production unless they

knew their competitors would also restrain their production. No business in a competitive market

would turn down opportunities to make three times marginal cost (i.e., breakeven) and couch that

economically irrational decision with a preposterous statement about focusing on “shareholder

returns.” In a competitive market, if a company is not drilling that oil, someone else is.

        151.    And others did drill some of that oil. Notoriously conservative and well-known to

view fracking as a waste of time (in part because their overhead structure made small-scale

operations relatively more expensive), the supermajors started investing in shale in 2021 and 2022

at rates previously unseen, in direct response to U.S. Shale Producers “underinvesting as an

industry”:141




141
       Clifford Krauss, What Exxon & Chevron are Doing with Those Big Profits, THE N.Y.
TIMES (Feb. 1, 2023), https://www.nytimes.com/2023/02/01/business/energy-environment/exxon-
chevron-oil-gas-profit.html.


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               a.     ExxonMobil planned to boost its 2022 production level in the Permian

                      Basin by 25% in response to record high crude oil prices.142

               b.     Similarly, Chevron planned a 10% increase in the same region in 2022

                      “from an even larger production base.”143

               c.     Midway through 2022, Chevron anticipated a “15% year-over-year

                      increase” in shale oil production from 2021 and promised to continue

                      “bolstering production.”144

               d.     In May 2023, ExxonMobil Chief Executive Darren Woods said that Exxon

                      is hoping to double the amount of oil produced from its U.S. shale holdings

                      over a five-year period using new technologies.145
        152.   Smaller, non-public shale companies drilled some of that oil, too. In 2022,

“[s]maller, privately held firms . . . raised production in response to higher prices and are going

full steam ahead.”146 Due to the gap in production left by Defendants, these smaller private

producers “lead output gains during the highest [crude oil] prices in seven years.”147 For example,




142
        Kevin Crowley, et al., Exxon and Chevron Plan Permian Oil Surge as Peers Preach
Caution, BLOOMBERG (Feb. 2, 2022), https://www.bloomberg.com/news/articles/2022-02-
01/exxon-joins-chevron-in-permian-oil-surge-as-peers-preach-caution.
143
        Id.
144
        Chevron to Boost Permian Oil Production as Demand for Reliable Energy Grows,
CHEVRON (June 16, 2022), https://www.chevron.com/newsroom/2022/q2/chevron-to-boost-
permian-oil-production-as-demand-for-reliable-energy-grows.
145
        Sabrina Valle, Exxon CEO Says Technology Advances Could Double Its Shale Output,
REUTERS (June 1, 2023), https://www.reuters.com/business/energy/exxon-ceo-says-5-year-
program-could-double-its-shale-output-2023-06-01/.
146
        Liz Hampton, U.S. Shale Oil Forecasts Keep Rising as Smaller Producers Lead the Way,
REUTERS (Mar. 2, 2022), https://www.reuters.com/business/energy/us-shale-oil-forecasts-keep-
rising-smaller-producers-lead-way-2022-03-02/.
147
        Id.


                                                60
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Reuters reported that, “Tall City Exploration, a privately-backed Permian [basin] producer, added

a second drilling rig . . . and is eying a three-fold increase” from 2021 in 2022 production.148

        153.   But small shale oil producers going from one rig to two is not enough to

meaningfully move U.S. production when Defendants control 18% of the total active oil rigs in

the U.S., including conventional oil rigs and rigs owned by supermajors.149 With those rigs, in

2023 Defendants were responsible for approximately 16.2% of U.S. total crude oil production

(including conventional crude oil). Defendants are able to leverage their collective market share

because of how fragmented the domestic oil market is: of the 247 companies operating oil rigs in

the U.S., 162 companies are running just one rig.150 Only 10 companies own 15 or more rigs ‒
five are Defendants (EOG, Occidental, Pioneer, Diamondback, and Continental), and three of the

other five are supermajors (Exxon, Chevron, and ConcoPhillips).151

        154.   Defendants’ market power is enhanced by the fact that conventional oil production

in the U.S. is largely fixed and companies cannot quickly add or remove production volume in

response to price changes.

        155.   OPEC believes itself to be outside the reach of the Sherman Act, so OPEC does not

use code words when describing its coordination with, and the coordination among, Defendants.

In OPEC officials’ own words, OPEC and Defendants “collaborate,”152 “compare[] notes[s],”153

“work together to exchange views,”154 discuss “how [OPEC and Defendants] should proceed going



148
       Id.
149
       Data obtained from https://oilgasleads.com/top-drilling-company/ on December 11, 2023.
Figures reflect a snapshot of rigs operating at December 2023.
150
       Id.
151
       See supra n.149.
152
       DiChristopher, supra n.66.
153
       OPEC bulletin Special Edition, supra n.49, at 51(OPEC Secretary General Barkindo).
154
       DiChristopher, supra n.66.


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forward,”155 “further explore the mechanic of achieving [OPECs and Defendants’] common

objective,”156 and discuss OPECs and Defendants’ “shared responsibility”157 for global oil

markets.

        156.    Whether expressed in code words or direct terms, Defendants’ agreement by and

between themselves and OPEC to coordinate U.S. domestic shale oil production is per se illegal

under the Sherman Act.

V.      POST-FILING REGULATORY ACTIVITY

        157.    The first class action complaint against Defendants related to the conduct described

herein, Rosenbaum v. Permian Resources Corp, et al., No. 2:24-cv-00103-MMD-MDC (D. Nev.)

was filed on January 12, 2024. Between the filing of Rosenbaum and the filing of this Complaint,

regulators have uncovered evidence supporting the allegations described above and first advanced

in Rosenbaum.

        A.      Exxon-Pioneer Merger

        158.    On May 2, 2024, the Federal Trade Commission (“FTC”) announced they had

reached a consent decree with Exxon in connection with Exxon’s then-pending acquisition of

Defendant Pioneer (the merger, the “Exxon-Pioneer Merger”).158




155
        OPEC bulletin Special Edition, supra n.53, at 51 (OPEC Secretary General Barkindo).
156
        Blas & Smith, supra n.34 (OPEC Secretary General Barkindo).
157
        Sam Meredith, OPEC Calls on US Shale Oil Producers to Accept ‘Shared Responsibility’
of Slashing Global Supply, CNBC (Oct. 10, 2017), https://www.cnbc.com/2017/10/10/opec-calls-
on-us-shale-oil-producers-to-accept-shared-responsibility.html (OPEC Secretary General
Barkindo).
158
        See Press Release, FTC Order Bans Former Pioneer CEO from Exxon Board Seat in
Exxon-Pioneer Deal, U.S. FED. TRADE COMM’N (May 2, 2024), https://www.ftc.gov/news-
events/news/press-releases/2024/05/ftc-order-bans-former-pioneer-ceo-exxon-board-seat-exxon-
pioneer-deal.


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          159.    This decree forbids Pioneer’s former-CEO, Defendant Scott Sheffield, from joining

Exxon’s Board of Directors based on FTC’s evidence of Sheffield’s years-long efforts to fix the

price of crude oil.159

          160.    The decree follows from an FTC administrative complaint (the “FTC Exxon

Complaint”), which was released in redacted form on May 2, 2024.160 The FTC Exxon Complaint

states:

                  Through public statements and private communications, Pioneer
                  founder and former CEO Scott D. Sheffield has campaigned to
                  organize anticompetitive coordinated output reductions between and
                  among U.S. crude oil producers, and others, including the
                  Organization of Petroleum Exporting Countries (“OPEC”), and a
                  related cartel of other oil-producing countries known as OPEC+.
                  Mr. Sheffield’s communications were designed to pad Pioneer’s
                  bottom line – as well as those of oil companies in OPEC and OPEC+
                  member states – at the expense of U.S. households and businesses. .
                  . . [as] [i]ncreases in crude oil prices are passed on to Americans
                  through higher gasoline, diesel, heating oil, and jet fuel prices.
FTC Exxon Complaint, ¶¶1-2.

          161.    The FTC Exxon Complaint references documents, including Mr. Sheffield’s

WhatsApp and text messages, that Defendant Pioneer produced to the FTC as part of the FTC’s

review of the Exxon-Pioneer Merger. See id., ¶¶5-6.

          162.    Specifically, the FTC alleged that documents produced by Pioneer as part of the

FTC’s Exxon-Pioneer Merger investigation revealed:

           a. In 2020, Sheffield’s “close communications with high-ranking OPEC officials []

                 during the early days of the COVID pandemic [] focused on [] Sheffield’s efforts to

                 limit Permian oil production in the face of falling oil prices globally.” Id., ¶38;


159
        Consent Order, In the Matter of Exxon Mobil Corp., File No. 241-0004 (May 2, 2024),
https://www.ftc.gov/system/files/ftc_gov/pdf/2410004exxonpioneerorderredacted.pdf.
160
        FTC Administrative Complaint, In the Matter of Exxon Mobil Corp., File No. 241-0004
(May 2, 2024), https://www.ftc.gov/system/files/ftc_gov/pdf/2410004exxonpioneercomplai
ntredacted.pdf.


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         b. Even after the economy and oil prices recovered from the COVID pandemic,

              “Sheffield did, in fact, stay in regular contact” with OPEC officials, id., ¶¶39-40, and

              has “exchanged information on oil pricing and output with OPEC representatives.”

              Id., ¶41;

         c. Over the past few years, Sheffield has, through “text messages,” “in-person

              meetings,” and other means of communication, “discuss[ed] crude oil market

              dynamics, pricing, and output” with Pioneer’s U.S. competitors. Id., ¶¶6, 36;

         d. Sheffield served as a “conduit” between U.S. Shale Producers and OPEC, id., ¶41;

              and “also worked to facilitate communications between his competitors in the

              Permian Basin and OPEC.” Id., ¶¶41-42; and

         e. Sheffield, through “WhatsApp” messages and other means of communication, “held

              repeated private conversations with high-ranking OPEC representatives assuring

              them that Pioneer has its Permian Basin rivals were working hard to keep oil output

              artificially low,” id., ¶5, “and to discuss U.S. producers’ efforts to maintain capital

              discipline in order to increase Pioneer’s profits.” Id., ¶34.

       163.     Among other facts, Sheffield recently admitted that he exchanged WhatsApp

messages with a government minister and acknowledged that those messages were referenced in

the FTC complaint. See Comment on Behalf of Scott Sheffield, In the Matter of Exxon Mobil

Corp., File No. 241-0004 (F.T.C. May 28, 2024), at 21 (claiming that the messages referred to in

the FTC Complaint “were entirely innocuous.”).

       164.     Contemporaneous public reporting suggests that Pioneer submitted “millions of

documents” to the FTC – hundreds of which were communications between Sheffield, Pioneer’s




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competitors, and/or OPEC – as part of the agency’s second-level review into the Exxon-Pioneer

Merger’s possible anticompetitive effects.161

          165.   FTC Chair Lina Khan summarized the Exxon-Pioneer Merger investigation

findings:
                 A core principle that should underpin the Commission’s antitrust
                 analysis is examining and understanding commercial realities.
                 Sometimes the evidence that is most probative of commercial
                 realities is how market participants act. Staff’s investigation here
                 uncovered troubling evidence of Pioneer CEO Scott Sheffield’s
                 actions and communications, which make clear that he believed and
                 acted as if he could persuade his rivals to join him in colluding to
                 restrict output and raise prices. When market actors speak and act
                 as if they can collude, we should not ignore this direct
                 evidence[.]162
          B.     Chevron-Hess Merger

          166.   On September 30, 2024, the FTC announced that it had reached a consent decree

with Chevron in connection with Chevron’s pending acquisition of Defendant Hess (the merger,

the “Chevron-Hess Merger”).163
          167.   This decree forbids Hess CEO, Defendant John Hess, from joining Chevron’s

Board of Directors based on FTC’s evidence of Hess’s years-long efforts to fix the price of crude

oil.164




161
        Benoit Morenne, et al., Former Pioneer CEO Is Accused of Trying to Collude with OPEC,
THE WALL STREET J. (May 2, 2024), https://www.wsj.com/business/energy-oil/ftc-says-ex-
pioneer-ceo-tried-to-collude-with-opec-on-oil-prices-27edf5bd.
162
        Public Statement of Chair Lina M. Khan in the Matter of Exxon Mobil Corporation, U.S.
FED. TRADE COMM’N (May 2, 2024), https://www.ftc.gov/system/files/ftc_gov/pdf/2410004
exxonpioneerlmkstmt1_0.pdf (emphasis added).
163
        See Press Release, FTC Order Bans Hess CEO from Chevron Board in Chevron-Hess
Deal, U.S. FED. TRADE COMM’N (Sept. 30, 2024), https://www.ftc.gov/news-events/news/press-
releases/2024/09/ftc-order-bans-hess-ceo-chevron-board-chevron-hess-deal.
164
        Decision and Order, In the Matter of Chevron Corp., File No. 241-0008 (Sept. 30, 2024),
https://www.ftc.gov/system/files/ftc_gov/pdf/Chevron-Hess-DecisionandOrder.pdf.


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        168.    The decree follows from an FTC administrative complaint (the “FTC Chevron

Complaint”) that was released in redacted form on September 30, 2024.165 The FTC Chevron

Complaint states, in part:

                Hess Chief Executive Officer (“CEO”) John B. Hess (“Mr. Hess”)
                has communicated publicly and privately with OPEC representatives
                and oil ministers of OPEC member states about global output and
                other dimensions of crude oil market competition.

                Mr. Hess encouraged high-level OPEC representatives in their stated
                mission to stabilize global oil markets.

FTC Chevron Complaint, ¶¶4-5.
        169.    The FTC Chevron Complaint further alleges that “Hess’s ordinary course

documents demonstrate that, as Hess’s CEO and Director, Mr. Hess had access to and connections

with OPEC Oil Producers, his market rivals” and that “Mr. Hess attended public meetings and

maintained private communications with OPEC representatives during [his CEO tenure].” See id.,

¶26.

        170.    Specifically, the FTC alleged that documents produced by Hess as part of the FTC’s

Chevron-Hess Merger investigation revealed:

         a. A lengthy history of communications and meetings between John Hess and OPEC

               Secretary General Barkindo, including several of the communications and meetings

               described above. Id., ¶¶27-40;

         b. Years-long communications and meetings between John Hess and subsequent OPEC

               Secretary General Al Ghais. Id., ¶¶41-43;

         c. Extensive private communications with Saudi Arabian oil executives at Saudi

               Aramco, the national oil company of Saudi Arabia and fourth-largest company in the

               world by revenue. Id., ¶¶44-47;


165
       FTC Administrative Complaint, In the Matter of Chevron Corp., File No. 241-0008 (Sept.
30, 2024), https://www.ftc.gov/system/files/ftc_gov/pdf/Chevron-Hess-Complaint.pdf.


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          d. John Hess’s public statements regarding the interplay between Shale Producer and

               OPEC production levels, and the impact of those production levels on world crude

               oil prices, featured “repeated themes from his private conversations about market

               stability and other business topics that he had with Mssrs. Barkindo, Al Ghais, and

               [the Saudi Aramco executives].” Id., ¶48; and

          e. John Hess’s statements to investors about OPEC’s role in influencing global crude

               oil prices while acting as CEO were “consistent with his private communications with

               OPEC representatives.” Id., ¶49.

        171.    Importantly, FTC Chair Lina Khan explicitly linked the FTC’s actions related to

the Exxon-Pioneer Merger and the Chevron-Hess Merger – further reinforcing the allegations

above that both Pioneer and Hess were coordinating with OPEC at the same time and in a similar

manner:
                The Commission’s actions in Chevron-Hess and Exxon-Pioneer
                mark an important step towards ensuring that U.S. oil producers are
                serving as a competitive check on OPEC+ rather than subordinating
                their independent decision-making to the goals set by a cartel. . . .
                Rivals responding to one another by increasing production, rather
                than coordinating to hold it back, represents the type of competitive
                dynamic the antitrust laws were designed to protect.166

VI.     PLUS FACTORS

        172.    The presence of a number of factors, referred to as “plus factors” and “super plus

factors” render the U.S. shale oil industry highly conducive to collusion. Plus factors are

“economic actions and outcomes, above and beyond parallel conduct by oligopolistic firms, that

are largely inconsistent with unilateral conduct but largely consistent with explicitly coordinated



166
       Statement of Chair Lina M. Khan Joined by Commissioner Rebecca Kelly Slaughter and
Commissioner Alvaro Bedoya in the Matter of Chevron Corporation and Hess Corporation, U.S.
FED. TRADE COMM’N (Sept. 30, 2024), https://www.ftc.gov/legal-library/browse/cases-
proceedings/public-statements/statement-chair-lina-m-khan-joined-commissioner-rebecca-kelly-
slaughter-commissioner-alvaro-bedoya-1.


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action,” and therefore support an inference of collusion.167 “Super plus factors are actions or

outcomes that would almost never be observed in the absence of collusion, [such that], it is

reasonable to presume that the cartel finds these conducts or outcomes important to the

implementation and operation of the collusive structures.”168 The following plus and super plus

factors alleged herein support an inference that Defendants’ actions constituted a per se unlawful

price-fixing conspiracy, not merely parallel conduct:

               a.     The market conditions for U.S. shale oil are favorable to collusion. As

                      discussed above, the U.S. shale oil industry is highly fragmented at the

                      bottom but consolidated at the top, with a small number of much larger

                      producers and hundreds of smaller producers. In this top-heavy market,

                      these larger producers (Defendants) always “knew which oil company was

                      buying what from who,” according to a former Portfolio Analyst at

                      Occidental.

               b.     Defendants have excess capacity. As discussed more fully above, during

                      the Class Period, Defendants openly admitted that they were not operating

                      at full drilling capacity and affirmatively argued that operating at less than

                      full capacity was a strategy decision to increase profits;

               c.     Defendants are also involved in multiple industry trade associations and

                      regularly attend trade meetings, giving them ample time and opportunity to

                      coordinate supply restraints and curtail cheating on the conspiracy. As

                      detailed above, Defendants did in fact meet during trade association

                      gatherings, including annually at the CERAWeek Conference in Houston,


167
       William E. Kovacic, et al., Plus Factors and Agreement in Antitrust Law, 110 MICH. L.
REV. 393, 393 (2011).
168
       See id. at 426.


                                                68
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              TX, to discuss their internal cooperation and the overall cooperation with

              OPEC by all Defendants to maintain that excess capacity.

        d.    There is a high level of interfirm communication and coordination between

              Defendants, beyond what is described above:

              i.     A fracking consultant that worked for both EOG Resources and

                     Centennial Resource Development during the Class Period

                     explained that most major operators in the Midland Basin “all work

                     together to share resources” even though “it may seem like they are

                     competitors.” The former consultant witnessed instances where

                     Centennial would ask EOG Resources to modify their fracking

                     schedule to accommodate Centennial’s production plans. He said

                     that “gentleman’s agreements” are prevalent in the U.S. shale

                     industry.

              ii.    A former engineer at Hess during the Class Period disclosed that

                     Hess executives routinely had round-table discussions with other

                     operators in the Bakken Basin, a major shale play in North Dakota,

                     to discuss best practices for operations, equipment designs, and

                     safety protocol.

              iii.   A former senior construction manager at Hess during the Class

                     Period confirmed that Hess “collaborated all the time with other

                     production companies” and he personally attended a regular in-

                     person roundtable with “all top tier producers,” including EOG

                     Resources and Continental Resources, to discuss extraction

                     processes, measuring wells, and other construction and operation

                     methods.


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                       iv.     A former Senior Lease Operator at Diamondback Energy said that

                               Diamondback Energy often collaborated with other Shale Oil

                               producers, like Pioneer, to share water supplies.

               e.      The market conditions for crude oil sold in the U.S. are susceptible to the

                       price effects of collusion because it, and the downstream products for which

                       it is the key input, is a daily-use commodity that has no substitute for many

                       purchasers and high switching costs for the remainder, leading to highly

                       inelastic demand.169 Academic studies have demonstrated that when oil
                       prices rise, U.S. consumer spending on gasoline and other crude oil

                       derivative fuel products remains relatively flat, while consumer spending

                       on non-crude derivative consumable goods falls – reinforcing the

                       conclusion that the demand for gasoline and crude oil derivative fuel

                       products is highly inelastic.170

               f.      Defendants’ actions were against Defendants’ independent self-interests but

                       for the existence of an agreement. As detailed above, Defendants repeatedly

                       met with each other and OPEC representatives and discussed between and

                       among themselves and with OPEC representatives their confidential

                       business plans, including forward-looking production and capacity

                       information.    No rational business would share this proprietary and

                       competitively sensitive information with a direct competitor, absent

                       collusion. Following these mutual exchanges, Defendants would decide not

169
        Gasoline itself has highly inelastic demand, meaning that very few consumers will switch
to alternative products as the price at the pump rises. This reinforces the inelasticity of upstream
demand for crude oil.
170
        James D. Hamilton, “Causes and Consequences of the Oil Shock of 2007-08,” Brookings
Papers on Economic Activity (Spring 2009), https://www.brookings.edu/wp-content/uploads/
2009/03/2009a_bpea_hamilton.pdf.


                                                 70
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                      to increase their respective production volumes, even though an increase

                      would have been in their individual rational economic best interests, given

                      rising prices. Instead, Defendants withheld production in a manner that

                      would only be in their individual rational economic best interests if

                      Defendants had an agreement between themselves and OPEC to coordinate

                      production levels to maintain crude oil prices at artificially high levels.

                      Defendants repeatedly communicated forward-looking production data and

                      publicly commented on each other’s production announcements in a

                      manner that would be irrational, absent an agreement.

VII.    ANTITRUST INJURY

        A.     Organization of the U.S. Petroleum and Gasoline Industry
        173.   The U.S. Oil and Gas industry is generally divided into three major segments:

upstream, midstream, and downstream. The upstream segment contains crude oil production and

exploration; the midstream segment includes activities related to transporting crude oil to

refineries; and the downstream sector includes refining and distribution.

        174.   The upstream production and exploration segment can be further divided into

onshore and offshore, with offshore being further divided into shallow water and deep water.

Onshore can be divided into the type or reservoir in which the oil is held, conventional, low-

permeability, and shale.171 As of year-end 2022, over 55% of the 48,321 million barrels of proven

reserves in the U.S. were in onshore shale deposits.172

171
        See, e.g., Exploration & Production, AM. PETROLEUM INST., https://www.api.org/oil-and-
natural-gas/wells-to-consumer/exploration-and-production (last accessed Nov. 3, 2024). See also
U.S. Crude Oil and Natural Gas Proved Reserves, Year-end 2022, U.S. ENERGY INFO. ADMIN.
(Apr. 29, 2024), https://www.eia.gov/naturalgas/crudeoilreserves/.
172
        See U.S. proved reserves and reserves changes, 2021-22, U.S. ENERGY INFO. ADMIN. (Apr.
29, 2024), https://www.eia.gov/naturalgas/crudeoilreserves/pdf/Table_1.pdf; and Crude Oil and
lease condensate production and proved reserves, from shale plays, 2021-22, U.S. ENERGY INFO.
ADMIN. (Apr. 29, 2024), https://www.eia.gov/naturalgas/crudeoilreserves/pdf/Table_2.pdf.


                                                71
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        175.   After crude oil is extracted, it is transported via a network of road, rail, ship, and

pipeline networks that make up the midstream segment. To get an idea of the magnitude of such

transportation networks, the Pipeline and Hazardous Materials Safety Administration, PHMSA

Pipeline Safety, 2023173 reports that of the 229,888 miles of pipeline in the U.S. related to the oil

and gas industry, 84,712 miles are related to midstream crude oil distribution (almost 40%). Of

the remainder, 64,218 miles are for the marketing of petroleum products and 80,959 are for natural

gas liquids and CO2/ethanol distribution.

        176.   The downstream segment involves refining and transporting the resultant crude oil

fuel derivatives to market.174 Figure 11 below shows that crude oil is used to produce gasoline,

fuel oil, gas liquids, jet fuel, and other products. Most of those are consumed in the transportation

sector, although others are consumed by industrial users and in the residential, commercial, and

energy sectors.




173
        Where        are    Liquid    Pipelines     Located?,     PIPELINE101       (Mar.     2023),
https://pipeline101.org/topic/where-are-liquid-pipelines-located/.
174
        See, e.g., Interim Report on Gasoline Pricing: A Report to Congress, FED. TRADE COMM’N,
at 1-2      (Mar. 2006),https://www.ftc.gov/sites/default/files/documents/reports/interim-report-
gasoline-pricing-report-congress/0510243gasolinepricesinvestigationinterimreporttocongress.pdf
(“Congress directed the Federal Trade Commission to conduct an investigation to examine
gasoline pricing [via] Section 1809 of the Energy Policy Act of 20051 (the ‘Energy Policy Act’) .
. . . The examination mandated by the Energy Policy Act requires a thorough analysis of the
petroleum industry supply infrastructure from the refinery to the street level”, including “refining,
product transportation by pipeline and marine vessel, terminaling, marketing, and retail.”).


                                                 72
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Figure 11: U.S. Petroleum Products Consumption by Source and Sector (2022)175




        177.   Another 64,218 miles of pipeline (nearly 30%) is devoted to transporting

petroleum products to terminals that market products to end users in local market areas.176

“Marketing is the wholesale and retail distribution of refined petroleum products to business,




175
       U.S. ENERGY INFO. ADMIN, https://www.eia.gov/energyexplained/oil-and-petroleum-
products/images/petroleum_spaghetti_2022.pdf.
176
       PIPELINE101, supra n.173.


                                             73
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industry, government, and public consumers.”177 Because not all terminals lie along pipelines, rail

and truck transport augments the pipeline network.

        178.    Gasoline sales from the terminal are made through retail or wholesale channels.

Retail sales are defined by the U.S. Energy Information Administration (“EIA”) as those through

“[a]ny company-owned outlet (e.g., service station) selling gasoline” or other petroleum

products.178

        179.    Gasoline sales from refineries are made through three key channels: dealer tank

wagon, rack, and bulk sales. Dealer tank wagon sales are “[w]holesale sales of gasoline priced on
a delivered basis to a retail outlet,” such as sales to an independent retail outlet or service station.179

Rack sales are “[w]holesale truckload sales or smaller of gasoline where title transfers at a

terminal.”180 Bulk sales are “[w]holesale sales of gasoline in individual transactions which exceed

the size of a truckload.”181

        180.    In all such cases, 26 C.F.R. §48.4081-3 stipulates that “tax is imposed when taxable

fuel is removed from the terminal at the [physical] rack,” so that taxes are not included in the rack

price.182 (Note that here, the reference to the “rack” is to the physical equipment that dispenses



177
        Oil and Gas Industry: A Research Guide – Downstream: Refining and Marketing, LIBRARY
OF    CONGRESS, https://guides.loc.gov/oil-and-gas-industry/downstream#s-lib-ctab-21990168-1
(last accessed Nov. 3, 2024).
178
        Petroleum & Other Liquids: Definitions, Sources and Explanatory Notes, U.S. ENERGY
INFO. ADMIN., https://www.eia.gov/dnav/pet/TblDefs/pet_cons_refmg_tbldef2.asp.
179
        Id.
180
        Id. While title transfers at the terminal, “[s]ome . . . customers own their own trucks to
transport the fuel or they may hire common carriers to do it for them.” Pricing 101: Wholesale
Rack      Fuel     Pricing     Essentials,    DOW       JONES      OPIS     (Mar.    16,    2023),
https://www.opisnet.com/blog/wholesale-rack-fuel-pricing-essentials/. Regardless, transportation
charges are not included in the rack price.
181
        U.S. ENERGY INFO. ADMIN., supra n.178.
182
        LEGAL INFORMATION INSTITUTE (CORNELL LAW SCHOOL), https://www.law.cornell.e
du/cfr/text/26/48.4081-3.


                                                    74
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gasoline into the delivery vehicle.)183 Therefore, the three types of wholesale transactions differ

primarily by whose truck is used and how big the shipment is. Dealer tank wagon sales prices are

typically higher than straight rack sales because delivery charges are included, while bulk sale

prices are slightly lower due to bulk discounts.184

        181.   End-payors purchase the majority of their gasoline from gas stations and

hypermarkets (warehouse-type grocery stores that often have their own filling stations, like Costco

and Sam’s Club), although a small percentage of end-payors purchase their gasoline directly from

the rack at a mechanical discount. The distribution of gasoline is represented in the below Figure

12:




183
        See, e.g., DOW JONES OPIS, supra n.180 (“A rack is a fuel distribution point – usually along
a pipeline – where fuel is supplied and stored. We call it a ‘rack,’ because trucks pull up to an
actual loading rack to receive fuel from their fuel suppliers.”).
184
        See, e.g., Petroleum & Other Liquids: Refiner Gasoline Prices by Grade and Sales Type,
U.S. ENERGY INFO. ADMIN. (June 1, 2022), https://www.eia.gov/dnav/pet/PET_PRI_REFMG_D
CU_NUS_M.htm.


                                                 75
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Figure 12. Gasoline Distribution Chain185




       182.    Rack prices are also the focus of a great deal of research because they provide a

valid and meaningful benchmark price for all purchasers in a geographic region, taking into

account regional prices. This is important because not all racks lie on pipelines, so that some rack




                                                76
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prices include additional common transportation costs to the relevant geographic market. Rack

prices do not, however, include additional transportation costs to retail or end-user outlets.

          183.   There are standardized “rack reports” for each geographic area, and rack prices

change once daily, at 6:00 pm.186 Dow Jones’ OPIS tracks daily rack pricing for 460 racks in the

U.S.187

          184.   Because rack prices set the benchmark for retail, dealer tank wagon, and bulk sales,

prices for each of these types of sales are highly correlated. See also Figure 13 below. Both rack

and bulk prices do not contain transportation charges, taxes, or fees, so those are correlated nearly

perfectly, at 0.997.188 Even including transportation costs, rack and bulk prices are highly




185
         As context to Figure 12, see (1) Expert Declaration of Dr. Joseph R. Mason, contained at
pages 46-56 of the Declaration of Patrick J. Coughlin in Support of First Filed Group’s Application
to Appoint First Filed Group’s Leadership Structure, ECF No. 58-1 in In re Shale Oil Antitrust
Litig., No. 1:24-cv-03119-MLG-LF (“Mason Declaration”), ¶14: “Wholesale gasoline sales are
made through three key channels: dealer tank wagon, rack, and bulk sales.”; (2) Mason
Declaration, ¶¶15-16: “Because rack prices set the benchmark for retail, DTW, and bulk sales,
prices for each of these sales types are highly correlated. Neither rack or bulk prices contain
transportation charges, taxes, or fees, so those are correlated nearly perfectly, at 0.997. Even
including transportation costs, those are highly correlated with rack prices, at 0.951 and 0.934,
respectively. Retail and DTW prices are also highly correlated, at 0.978”; (3) Declaration of Bruce
F. Burke, ECF No. 56-1 in In re Shale Oil Antitrust Litig., No. 1:24-cv-03119-MLG-LF (“Burke
Declaration”), ¶¶18, 19, and 24 (Relevant portion: “‘Wholesale’ purchasers are typically
businesses or entities – such as municipalities or trucking companies – with substantial assets and
fuel requirements. Assets could include a fleet of vehicles, a dedicated staff, buildings and other
associated infrastructure, which in combination require supply of much larger amounts of light
petroleum products than individual retail purchasers.”); (4) Burke Declaration, ¶20: “By contrast,
‘retail’ purchasers are typically individual vehicle owners who purchase gasoline by the tankful at
a service station or truck stop.”
186
        Dow Jones OPIS provides a sample report at https://www.opisnet.com/wp-
content/uploads/2019/01/rack-report-sample.pdf.
187
        OPIS Rack City List, DOW JONES OPIS, https://www.opisnet.com/about/rack-pricing-
coverage-city/#GasolineDiesel (last accessed Nov. 3, 2024). While there are an estimated 400
racks in operation in the U.S., Dow Jones also includes historical prices for legacy racks no longer
in operation.
188
        See, e.g., DOW JONES OPIS, supra n.180 (“The only charges included in a rack price are
the charges that are incurred transporting the fuel from the refinery to the distribution rack.”).


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correlated with retail prices, at 0.951 and 0.934, respectively. Retail and DTW prices are also

highly correlated, at 0.978.

Figure 13. Gasoline Prices, by Source




       B.      Defendants’ Agreement to Constrain Shale Oil Production Has Inflated the
               Price of Crude Oil Throughout the Class Period

       185.    Historically, global crude oil demand was primarily met by oil obtained from

conventional drilling. Following the Shale Revolution, the influence of U.S. shale production on

crude oil prices (and crude oil derivative fuel product prices) is undeniable, a fact recognized by

market analysts and economists alike:

               a.      A Forbes article from 2019 claims that “without the U.S. shale oil boom,

                       [crude] oil prices would have never dropped back below $100/bbl” because,




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                     since 2008, “U.S. oil production increased by 8.5 million bpd ‒ equal to

                     73.2% of the global increase in production.”189

              b.     In a 2017 article titled “The oil market in the age of shale oil,” economists

                     concluded that, since 2014, U.S. shale oil has affected oil prices by

                     increasing global crude oil supply and influencing OPEC policies.190

              c.     In October 2019, the Executive Office of the U.S. President’s Council of

                     Economic Advisors declared that the U.S. shale revolution has “reduced the

                     global price of oil by 10 percent” since 2007.191
              d.     In 2020, economists from the Federal Reserve Bank of Dallas found that

                     without the shale oil revolution, oil prices would have risen by 36% in

                     2018.192

              e.     In 2023, an article in the International Journal of Energy Economics and

                     Policy states that, in the past, “[t]he increase in US crude oil production,

                     driven by shale oil . . . significantly increased oil supply, directly affecting

                     the price of crude oil . . . .”193




189
        Robert Rapier, The U.S. Accounted for 98% of Global Oil Production Growth in 2018,
FORBES (June 23, 2019), https://www.forbes.com/sites/rrapier/2019/06/23/the-u-s-accounted-for-
98-of-global-oil-production-growth-in-2018/?sh=249e989b5125.
190
        Irma Alonso Alvarez 7 Virginia Di Nino, The oil market in the age of shale oil, 8 ECB
ECON. BULLETIN, 57-74 (2017).
191
        The Value of U.S. Energy Innovation & Policies Supporting the Shale Revolution, COUNCIL
OF ECON. ADVISORS (Oct. 2019), https://trumpwhitehouse.archives.gov/wp-content/uplo
ads/2019/10/The-Value-of-U.S.-Energy-Innovation-and-Policies-Supporting-the-Shale-Revoluti
on.pdf.
192
        Nathan S. Balke, et al., The Shale Revolution and the Dynamics of the Oil Market, FED.
RESERVE BANK OF DALLAS (June 17, 2020), https://www.dallasfed.org/-/media/documents
/research/papers/2020/wp2021.pdf.
193
        Rodhan, supra n.25, at 433-43.


                                                 79
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        186.   As noted above, U.S. Shale Producers’ output decisions have a disproportionate

impact on the price of crude oil because they are swing producers for the global market.194 When

competing with each other (and OPEC), as the largest Shale Producers in a very fractured

production landscape, Defendants have sufficient market power to dictate whether the U.S. can

produce enough shale oil in response to high crude prices to “swing” the market and push prices

down. Indeed, scholars have estimated that “U.S. supply shocks” (i.e., the Shale Revolution)

accounted for up to 13% of the global oil price variation from 2003-2015.195

        187.   Defendants acknowledge that they have power and are choosing not to use it. For

example, on March 2, 2022, the New York Times reported that “[e]xecutives of several companies,

including [Defendant] Pioneer Natural Resources . . . and [Defendant] Continental Resources, have

said in recent days that they were committed to limiting production to avoid oversupplying the

market and pushing down prices . . . .”196
        188.   Since at least 2021, Defendants have collectively coordinated their production

decisions, leading to production growth rates that are lower than would be seen in a competitive

market, despite high oil prices and healthy global demand.

        189.   Despite production increases from supermajors and smaller private producers,

Defendants’ production restraint has had a considerable impact on total U.S. shale production. In

2022, U.S. shale oil production increased by only 500,000 barrels, which was 50% short of market

analysts’ general yearly estimates.197


194
       Lee, supra n.21.
195
       Thomas S. Gunderson, The Impact of U.S. Supply Shocks on the Global Oil Price, THE
ENERGY J. 41:1 (Jan. 1, 2020).
196
       Stanley Reed, As Oil Soars, OPEC and Its Allies Decline to Offer Relief, The N.Y. TIMES
(Mar. 2, 2022), https://www.nytimes.com/2022/03/02/business/oil-prices-opec.html.
197
       Eric Rosenbaum, Oil CEOs are Doubling Down on Buybacks as Biden Budget Seeks to
Quadruple Tax, CNBC (Mar. 7, 2023), https://www.cnbc.com/2023/03/07/oxy-ceo-doesnt-seem-
worried-about-politics-of-buybacks-gas-prices.html.


                                               80
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        C.      Defendants’ Agreement to Constrain Shale Oil Production Has Inflated the
                Price of Gasoline and Diesel Fuel Purchased by Plaintiffs and the Classes
        190.    Gasoline and diesel fuel consumers in the U.S., like Plaintiffs and the proposed

Class members, typically purchase gasoline and diesel fuel from gas stations. Approximately 54%

of the U.S. price of gasoline is comprised of the price of crude oil used in the manufacturing

process.198 Consequently, as recognized by the U.S. Energy Information Administration, “[r]etail

gasoline prices are mainly affected by crude oil prices . . . .”199

        191.    Indeed, Defendants’ own trade association, the American Petroleum Institute

admits that “the price of crude oil is the primary determinant of the price we pay at the pump”200
and that “[n]ationwide on a quarterly basis, crude oil prices have explained more than 90% of the

variation in [U.S.] gasoline prices since 2020.”201

        192.    Further, while gasoline and diesel fuel prices charged to end-payors are often quick

to absorb price increases of oil, they tend to react distinctly slower when oil prices decrease.202

This asymmetrical pass-through dynamic, referred to as “rockets and feathers,” reveals the




198
        The Four Main Factors that Influence U.S. Gas Prices, U.S. DEP’T OF ENERGY (last
accessed Jan. 12, 2024), https://www.energy.gov/sites/default/files/2023-04/GasPriceFactor
s2.jpg. The remainder of gasoline prices are driven by distribution and marketing costs (16%),
refining costs (14%) and taxes (16%).
199
        Gasoline explained: Gasoline price fluctuation, U.S. ENERGY INFO. ADMIN. (last updated
Apr. 19, 2023), https://www.eia.gov/energyexplained/gasoline/price-fluctuations.php#:~:tex
t=Gasoline%20%20 prices%20generally%20follow%20crude%20oil%20prices.&text=Gasoline
%20prices%20tend%20to%20increase,expected%20gasoline%20demand%20or%20consumptio
n.
200
        Gas Prices Explained: Five Fast Facts About U.S. Gasoline Prices, AM. PETROLEUM INST.,
(last accessed Jan. 12, 2024), https://www.api.org/oil-and-natural-gas/energy-primers/gas-prices-
explained#:~:text=The%20primary%20factors%20impacting%20gasoline, gasoline%20retailers
%20pay%20to%20distributors.
201
        Id.; see also Factors that impact gas prices, NACS (Apr. 05, 2023) https://www.con
venience.org/Topics/Fuels/The-Price-Per-Gallon (“Retail gasoline prices move an estimated 2.4
cents per gallon for every $1 change in the price per barrel [of crude oil].”).
202
        Matthew Chesnes, Asymmetric Pass-Through in U.S. Gasoline Prices, THE ENERGY J.,
Vol. 1, at 154, 157 (2016), https://www.iaee.org/en/publications/init2.aspx?id=0.


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immediate yet enduring impact of Defendants’ artificially inflated gasoline and crude oil derivative

fuel product prices on Plaintiffs and the proposed members of the Class.203

        193.   Plaintiffs confirmed this relationship by conducting their own preliminary

regression analysis of monthly U.S. gasoline prices between 2001 and 2023, in which monthly

refiner acquisition crude oil prices was the only variable.204 This regression returned an R-square

of 90%.205 Put another way, between 2001 and 2023, Plaintiffs’ preliminary regression found that

90% of gasoline price variations in the U.S. can be explained by the prevailing crude oil price.

        194.   That crude oil prices drive gasoline and diesel fuel prices is not surprising when

one considers how crude oil moves through the supply chain from Defendants to consumers.

Defendants and other producers of crude oil sell crude oil to refineries, who use chemical

separation and reaction processes to convert crude oil into gasoline and other products (e.g., diesel

oil, jet fuel, and other manufacturing feedstocks). The refineries then transport the gasoline to

bulk terminal storage facilities. Because crude oil is the main raw material used to refine gasoline

sold in the United States, Defendants’ conspiracy had a direct effect on Plaintiffs and members of

the Classes who were forced to purchase gasoline at artificially inflated levels.




203
        See Sun, et al., Asymmetric pass-through of oil prices to gasoline prices with interval time
series modelling, ENERGY ECONOMICS, Vol. 78 (2018) (collecting studies that indicate the
asymmetric price pass-through relationship between crude oil prices and gasoline prices),
https://doi.org/10.1016/j.eneco.2018.10.027.
204
        A regression analysis is a statistical method that describes the relationship between two or
more variables. The regression method tests the relationship between a dependent variable (here
gasoline prices) against independent variables (here crude oil prices). Plaintiffs used the “Refiner
Acquisition Cost of Crude Oil” and “Weekly Retail Gasoline” data series maintained by the U.S.
Energy Information Administration.
205
        R-square is a statistical measure in a regression model that determines the proportion of
the variance in the dependent or “response” variable (gasoline price) that can be explained by the
independent variable or “mean” (crude oil prices paid by refiners). A R-square of 0% represents
a model that does not explain any of the variation in the response variables around the mean and a
R-square of 100% represents a model that explains all the variation in the response on the mean.


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Figure 14. U.S. Gasoline Supply Chain




        195.   Gas stations purchase gasoline and diesel fuel wholesale from refineries (or other

gasoline marketers who have purchased from the refineries) at a price that is directly tied to the

price that was paid by refineries for crude oil, including crude oil sold to those refineries by

Defendants. Gas stations set the price of retail gasoline and diesel fuel above the rack rate they

pay, therefore passing on to Plaintiffs and Class members any increase in the rack price. Indeed,

the National Association of Convenience Stores, a body which represents American gas stations,

has confirmed that gas stations mark up the price they pay for gasoline by 35 cents a gallon on

average when setting the price at the pump.206 This can be seen in Figure 15 immediately below,
which shows that U.S. gas prices follow the prices paid by U.S. refineries for crude oil.




206
        Lenard, supra n.2.


                                                83
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Figure 15. Refiners Crude Oil Acquisition Costs vs U.S. Average Gasoline Prices at Rack
and Retail (Adjusted for Inflation)




        196.    Therefore, the price of crude oil has a direct effect on the price of gasoline and

diesel fuel.207 Because crude oil is the main raw material used to refine gasoline sold in the United

States, and because changes in crude oil prices drove changes in gasoline and diesel fuel prices

paid by Plaintiffs and members of the Classes throughout the relevant period, Defendants’

conspiracy had a direct effect on Plaintiffs and members of the Classes who were forced to

purchase gasoline and diesel fuel at artificially inflated levels.


207
         Ian Thomas, U.S. won’t reach a new record in oil production ‘ever again,’ says Pioneer
Natural Resources CEO, CNBC (Mar. 9, 2023), https://www.cnbc.com/2023/03/09/us-wont-
reach-new-record-oil-production-ever-again-pioneer-ceo.html (In his 2023 State of the Union,
President Biden said that U.S. gasoline prices were too high because oil producers invested “too
little” of their “record profits” to ramp up domestic production and “used those record profits to
buy back their own stock, rewarding their CEOs.”).


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        D.      Defendants’ Agreement to Constrain Shale Oil Production Has Also Inflated
                the Price of the Other Crude Oil Derivative Fuel Products Purchased by
                Plaintiffs and the Class
        197.    As noted above, other crude oil derivative fuel products follow similar paths as

gasoline from well to market. Because the principal raw material input is the same (crude oil), and

the manufacturing processes are similar, the price of crude oil has a direct effect on the price of

crude oil derivative fuel products. As a result, Defendants’ conspiracy not only inflated the price

of crude oil, gasoline, and diesel fuel, but it inflated the price of other crude oil derivative fuel

products sold in the United States during the Class Period as well.

                1. Marine Fuel
        198.    Marine fuel purchasers in the U.S. purchase marine fuel from fuel docks.

Approximately 50% of the price of gasoline sold at fuel docks in the U.S. is comprised of the price

of crude oil used in the manufacturing process, with other cost components covering refining,

taxes, and distribution and marketing. For diesel fuel, crude oil represents a similar percentage of

the price at the dock.

        199.    Fuel dock operators purchase gasoline and diesel from refiners (or other gasoline

marketers who have purchased from the refineries) at a price that is directly linked to the price that

was paid by refineries for crude oil, including crude oil sold to those refineries by Defendants.
Fuel dock operators set the price of gasoline and diesel sold to end-users above the price they pay,

thereby passing on to certain Plaintiffs and members of the Classes any increase in the price of

marine fuel. Figure 16 below, which shows that U.S. gas prices follow the prices paid by U.S.

refineries for crude oil, illustrates this dynamic.

        200.    Costs of refining, taxes, distribution, and marketing do not fluctuate often, whereas

the price of crude oil is actively traded in financial markets and moves constantly, often

experiencing large swings.




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        201.    Because crude oil is the primary raw material used to refine marine fuel sold in the

United States, and because changes in crude oil prices drove changes in marine fuel prices paid by

certain Plaintiffs and members of the Classes throughout the relevant period, Defendants’

conspiracy had a direct effect on Plaintiffs and members of the Classes who were forced to

purchase marine fuel at artificially inflated levels. Indeed, end-user purchasers, who are members

of the Classes here, bear much of the brunt of these artificially inflated marine fuel prices.

                2. Heating Oil
        202.    Most heating oil is supplied by United States refineries that send heating oil to

storage terminals for distribution to consumers.208 Heating oil is generally transported by rail or
barge to larger storage facilities and then transported by truck to smaller storage tanks for sale to

customers, who typically have heating oil delivered directly to their home.209

        203.    According to the EIA, “[n]early all of the heating oil consumed in the United States

is produced from crude oil.”210 Accordingly, the cost of crude oil is one of the primary drivers of

heating oil prices,211 as it accounts for just under half the average price of heating oil.212 As noted

by one website, “[h]eating oil is derived from crude oil, so the price of crude oil has a major effect

on the price of heating oil.”213


208
        Heating oil explained - Where our heating oil comes from, U.S. ENERGY INFO. ADMIN. (last
updated Oct. 19, 2013), https://www.eia.gov/energyexplained/heating-oil/where-our-heating-oil-
comes-from.php.
209
        Id.
210
        Heating Oil Explained, U.S. ENERGY INFO. ADMIN. (last updated Oct. 19, 2023),
https://www.eia.gov/energyexplained/heating-oil/.
211
        Heating oil explained - Heating oil prices and outlook, U.S. ENERGY INFO. ADMIN. (last
updated Oct. 13, 2023), https://www.eia.gov/energyexplained/heating-oil/prices-and-outlook.php.
212
        Heating oil explained - Factors affecting heating oil prices, U.S. ENERGY INFO. ADMIN.
(last updated Oct. 19, 2023), https://www.eia.gov/energyexplained/heating-oil/factors-affecting-
heating-oil-prices.php.
213
        Lawrence Pines, Heating Oil: How Is This Crucial Energy Commodity Made?,
COMMODITY.COM (last updated Mar. 22, 2022), https://commodity.com/energy/heating-oil/.


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       204.    As demonstrated by Figure 16 below, prices paid by consumers for heating oil

closely mirror the prices both for crude oil and gasoline sold in the United States.

Figure 16. Heating Oil vs. Gasoline vs. Crude Oil Spot Prices




       205.    Because crude oil is the primary raw material used to refine heating oil sold in the

United States, and because changes in crude oil prices drove changes in heating oil prices paid by

certain Plaintiffs and members of the Classes throughout the relevant period, Defendants’

conspiracy had a direct effect on Plaintiffs and members of the Classes who were forced to

purchase heating oil at artificially inflated levels. Indeed, end-user purchasers, who are members

of the Classes here, bear much of the brunt of these artificially inflated heating oil prices.

               3. Jet Fuel
       206.    Jet fuel purchasers buy jet fuel at airports. The vast majority of airline fuel used by

U.S. airlines is jet fuel, which is a kerosene-based crude oil derivative fuel product.



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       207.    Crude oil is the main input into jet fuel. Therefore, the price of jet fuel is greatly

affected by the global price of crude oil. Figure 17 below shows New York jet fuel prices against

Brent crude oil prices from 2019-2021. Jet fuel’s prevailing price before the COVID-19 pandemic

was around $20/Bbl over Brent, but the changes in jet fuel and crude oil prices were almost

identical on a daily or weekly basis.

Figure 17. New York Jet Fuel Prices Against Brent Crude Oil Prices (2019-2021)




       208.    Because crude oil is the primary raw material used to refine jet fuel sold in the

United States, and because changes in crude oil prices drove changes in jet fuel prices paid by

certain Plaintiffs and members of the Classes throughout the relevant period, Defendants’

conspiracy had a direct effect on Plaintiffs and members of the Classes who were forced to

purchase jet fuel at artificially inflated levels. Indeed, end-user purchasers, who are members of

the Classes here, bear much of the brunt of these artificially inflated jet fuel prices.


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VIII. CLASS ACTION ALLEGATIONS

       209.    Plaintiffs bring this action on behalf of themselves and under Federal Rule of Civil

Procedure 23(a), (b)(1), and (b)(2) as representatives of a Class of end-payors seeking injunctive

relief (“Nationwide Injunctive Relief Class”) defined as:

       All persons and non-governmental entity end purchasers of crude oil derivative fuel
       products in the United States from January 1, 2021 and until Defendants’ unlawful
       conduct and its anticompetitive effects cease to persist.

       210.    Plaintiffs also bring this action on behalf of itself and all others similarly situated

as a class action under Federal Rules of Civil Procedure 23(a) and 23(b)(3), seeking damages as

well as equitable relief, on behalf of the following Class (“State Law Class”):

       All persons and non-governmental entity end purchasers of crude oil derivative fuel
       products in Alabama, Arizona, California, Colorado, Connecticut, the District of
       Columbia, Florida, Hawaii, Illinois, Iowa, Kansas, Maine, Maryland,
       Massachusetts, Michigan, Minnesota, Mississippi, Montana, Nebraska, Nevada,
       New Hampshire, New Jersey, New Mexico, New York, North Carolina, North
       Dakota, Oregon, Pennsylvania, Rhode Island, South Dakota, Tennessee, Utah,
       Vermont, West Virginia, and/or Wisconsin from January 1, 2021 and until
       Defendants’ unlawful conduct and its anticompetitive effects cease to persist.

       211.    For these Classes, crude oil derivative fuel products means gasoline, distillate fuel

(including diesel fuel and home heating oil), marine fuel, and jet fuel.

       212.    Specifically excluded from these Classes are Defendants; the officers, directors, or

employees of any Defendant; any entity in which any Defendant has a controlling interest; and any

affiliate, legal representative, heir, or assign of any Defendant. Also excluded from both Classes

are any federal, state, or local governmental entities, any judicial officer presiding over this action

and the members of his/her immediate family and judicial staff, any juror assigned to this action,

and any co-conspirator identified in this action.

       213.    Both Classes are so numerous as to make joinder impracticable. Plaintiffs do not

know the exact number of Class members but the above-defined Classes are readily identifiable



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and are ones for which records should exist. Plaintiffs believe that due to the nature of the product

market, there are at least millions of members of both Classes in the United States.

       214.    Common questions of law and fact exist as to all members of both Classes.

Plaintiffs and the members of both Classes were injured by the same unlawful price-fixing

conspiracy, and Defendants’ anticompetitive conduct was generally applicable to all the members

of the Classes. Common issues of fact and law include, but are not limited to, the following:

               a.      whether Defendants and their co-conspirators engaged in a combination or

                       conspiracy to fix, raise, maintain, or stabilize the price of crude oil and/or

                       crude oil derivative fuel products in the United States;

               b.      the duration of the conspiracy alleged herein and the acts performed by

                       Defendants and their co-conspirators in furtherance of the conspiracy;

               c.      whether such combination or conspiracy violated the antitrust and consumer

                       protection laws of various states;

               d.      whether the conduct of Defendants and their co-conspirators, as alleged in

                       this Complaint, caused injury to the Plaintiffs and other members of the

                       Classes;

               e.      whether Defendants caused Plaintiffs and members of the Classes to suffer

                       damages in the form of overcharges on crude oil derivative fuel products;

               f.      the effect of Defendants’ alleged conspiracy on the prices of crude oil

                       derivative fuel products sold in the United States during the Class Period;

               g.      the appropriate Class-wide measure of damages; and

               h.      the nature of appropriate injunctive relief to restore competition in the U.S.

                       market for crude oil derivative fuel products.

       215.    Plaintiffs’ claims are typical of the claims of members of the Classes, and Plaintiffs

will fairly and adequately protect the interests of both Classes. Plaintiffs and all members of both


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Classes are similarly affected by Defendants’ unlawful conduct in that they paid artificially inflated

prices for crude oil derivative fuel products sold in the U.S., resulting from price-fixing in the

crude oil market by cartel members.

       216.    Plaintiffs’ claims arise out of the same common course of conduct giving rise to the

claims of the other members of the Classes. Plaintiffs’ interests are coincident with and typical of,

and not antagonistic to, those of the other members of the Classes.

       217.    Plaintiffs have retained counsel with substantial experience litigating complex

antitrust class actions in myriad industries and courts throughout the nation.

       218.    The questions of law and fact common to the members of the Classes predominate

over any questions affecting only individual members, including issues relating to liability and

damages.

       219.    Class action treatment is a superior method for the fair and efficient adjudication of

the controversy, in that, among other things, such treatment will permit a large number of similarly

situated persons to prosecute their common claims in a single forum simultaneously, efficiently,

and without the unnecessary duplication of evidence, effort, and expense that numerous individual

actions would engender. The benefits of proceeding through the class mechanism, including

providing injured persons or entities with a method for obtaining redress for claims that it might

not be practicable to pursue individually, substantially outweigh any difficulties that may arise in

management of this class action. Moreover, the prosecution of separate actions by individual

members of the Classes would create a risk of inconsistent or varying adjudications, establishing

incompatible standards of conduct for Defendants.

       220.    Plaintiffs know of no difficulty likely to be encountered in the maintenance of this

action as a class action under Federal Rule of Civil Procedure 23.




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IX.     CLAIMS FOR RELIEF

        A.      VIOLATION OF THE SHERMAN ACT

                                          COUNT 1
                                VIOLATION OF 15 U.S.C. §1
                     (On Behalf of the Nationwide Injunctive Relief Class)
        221.    Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

        222.    From at least January 1, 2021, and continuing through the present, the exact dates

being unknown to Plaintiffs, Defendants and their co-conspirators entered into a continuing

agreement, understanding, and conspiracy in restraint of trade to artificially fix, raise, and stabilize

the price for crude oil and crude oil derivative fuel products in the United States, including by

restraining their respective production volumes, in violation of Section 1 of the Sherman Act (15

U.S.C. §1).

        223.    In formulating and carrying out the alleged agreement, understanding, and

conspiracy, Defendants and their co-conspirators did those things that they combined and

conspired to do, including but not limited to the acts, practices, and course of conduct set forth

above, which resulted in the fixing, raising, and stabilizing of the price of crude oil and crude oil

derivative fuel products.

        224.    The combination and conspiracy alleged herein has had the following effects,

among others:

                a.     Price competition in the sale of crude oil has been restrained, suppressed,

                       and/or eliminated in the United States;

                b.     Prices for crude oil sold by Defendants and their co-conspirators have been

                       fixed, raised, maintained, and stabilized at artificially high, noncompetitive

                       levels throughout the United States; and




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                c.       Those who purchased crude oil derivative fuel products indirectly from

                         Defendants and their co-conspirators for their personal use have been

                         deprived of the benefits of free and open competition, and paid artificially

                         high prices for crude oil derivative fuel products.

        225.    Plaintiffs and members of the Classes have been injured and will continue to be

injured in their businesses and property by paying more for crude oil derivative fuel products

purchased indirectly from Defendants and their co-conspirators than they would have paid (and

will continue to pay) in the absence of the combination and conspiracy.

        226.    Plaintiffs and members of the Classes are entitled to an injunction against

Defendants, preventing and restraining the violations alleged herein.

        B.      VIOLATIONS OF STATE ANTITRUST LAWS
        227.    Plaintiffs repeat and reiterate the allegations set forth above as if fully set forth

herein, and each of the state-specific causes of action described below incorporates the allegations

as if fully set forth therein.

        228.    During the Class Period, Defendants and their co-conspirators entered and engaged

in a contract, combination, or conspiracy to fix, decrease, stabilize, or maintain at artificially low

levels, the production of shale oil in various states. The result of this caused an unreasonable

restraint on trade and commerce and harmed consumers in violation of the various state antitrust

and consumer protection laws set forth below.

        229.    In formulating and effectuating this conspiracy, Defendants and their co-

conspirators performed acts in furtherance of the combination and conspiracy, including: agreeing

to fix, decrease, maintain, or stabilize shale oil production at artificially low levels, thereby raising,

fixing, and stabilizing crude oil prices, which injured Plaintiffs and members of the Classes;

exchanging competitively sensitive information between and among Defendants; and participating




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in meetings and conversations among themselves in the United States and elsewhere to implement,

adhere to, and police the unlawful agreements reached between them.

       230.    Defendants and their co-conspirators engaged in the actions described above for the

purpose of carrying out their unlawful agreements to fix, increase, maintain, or stabilize crude oil

prices at artificially high levels. As a direct and proximate result of Defendants’ conduct, Plaintiffs

and members of the Classes were deprived of free and open competition and paid more to purchase

crude oil derivative fuel products than they otherwise would have in the absence of Defendants’
unlawful conduct. This injury is of the type that the antitrust and consumer protection laws of the

below states were designed to prevent and flows from that which makes Defendants’ conduct

unlawful.

       231.    In addition, Defendants have profited significantly from the conspiracy.

Defendants’ profits derived from their anticompetitive conduct and come at the expense of and to

the detriment of Plaintiffs and members of the Classes.

       232.    Accordingly, Plaintiffs and the members of the State Law Damages Class in each

of the following jurisdictions seek damages (including statutory damages where applicable), to be

trebled or otherwise increased as permitted by each particular jurisdiction’s law, injunction (where

applicable), and costs of suit, including reasonable attorneys’ fees, to the extent permitted by the

following state laws.

       233.    Defendants’ anticompetitive acts described above were knowing and willful and

constitute violations of the following state antitrust and consumer protection statutes.

       234.    In the Counts that follow, a reference to the “Class” is a reference to the State Law

Class unless otherwise specified.




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                                COUNT 2: ALABAMA
     (On Behalf of Class Members that Purchased Crude Oil Derivative Fuel Products in
                                       Alabama)
       235.    Due to Defendants’ unlawful conduct, (1) competition for crude oil and gasoline

was restrained, suppressed, and eliminated within Alabama; (2) crude oil derivative fuel product

prices in the State of Alabama were raised, fixed, maintained, stabilized at artificially high levels;

and (3) individuals have been deprived of free and open competition. Defendants’ agreement was

an unlawful agreement to restrain trade in the State of Alabama in violation of ALA. CODE §6-5-
60 et seq. Defendants’ conspiracy substantially affected Alabama commerce and accordingly,

Plaintiffs and the members of the Class seek all forms of relief available under ALA. CODE §6-5-

60 et seq.

                             COUNTS 3 & 4: ARIZONA
     (On Behalf of Class Members that Purchased Crude Oil Derivative Fuel Products in
                                       Arizona)
       236.    Defendants’ conspiracies had the following effects: (1) price competition for crude

oil and gasoline was restrained, suppressed, and eliminated throughout Arizona; (2) price of crude

oil derivative fuel products in the State of Arizona were raised, fixed, maintained, stabilized at

artificially high levels; and (3) individuals have been deprived of free and open competition.
During the Class Period, Defendants’ illegal conduct substantially affected Arizona commerce.

       237.    Defendants’ agreement was an unlawful agreement to restrain trade in the State of

Arizona in violation of ARIZ. REV. STAT. §44-1401 et seq. Accordingly, Plaintiffs and members

of the Class seek all forms of relief available under ARIZ. REV. STAT. §44-1401 et seq.

       238.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of ARIZ. REV. STAT. ANN. §44-1521 et seq., and, accordingly, Plaintiffs and

members of the Class seek all relief available under that statute.




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                           COUNTS 5 & 6: CALIFORNIA
    (On Behalf of Class Members that Purchased Crude Oil Derivative Fuel Products in
                                      California)
       239.    Defendants’ conspiracies had the following effects: (1) price competition for crude

oil and gasoline was restrained, suppressed, and eliminated throughout California; (2) crude oil

derivative fuel product prices in the State of California were raised, fixed, maintained, stabilized

at artificially high levels; and (3) individuals have been deprived of free and open competition.

During the Class Period, Defendants’ illegal conduct substantially affected California commerce

and consumers.

       240.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of CAL. BUS. & PROF. CODE §16700 et seq. During the Class Period, Defendants and

their co-conspirators entered into and engaged in a continuing unlawful trust in restraint of the

trade and commerce. Each Defendant has acted in violation of CAL. BUS. & PROF. CODE §16720

to fix, reduce, stabilize, and maintain crude oil production. The violations of CAL. BUS. & PROF.

CODE §16720 consisted, without limitation, of a continuing unlawful trust and concert of action

among Defendants and their co-conspirators, the substantial terms of which were to fix, reduce,

maintain, and stabilize the production of domestic shale oil. For the purpose of forming and
effectuating the unlawful trust, Defendants and their co-conspirators have done those things which

they combined and conspired to do, including, but not limited to, the acts, practices, and course of

conduct set forth above, and creating a price floor, fixing, raising, and stabilizing the price of

gasoline. As a result of Defendants’ violation of CAL. BUS. & PROF. CODE §16720, Plaintiffs and

members of the Class seek treble damages and their cost of suit, including a reasonable attorneys’

fee, pursuant to CAL. BUS. & PROF. CODE §16750(a).

       241.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of CAL. BUS. & PROF. CODE §17200 et seq., and, accordingly, Plaintiffs and

members of the Class seek all relief available under that statute.


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                            COUNTS 7 & 8: COLORADO
     (On Behalf of Class Members that Purchased Crude Oil Derivative Fuel Products in
                                       Colorado)
       242.    Defendants’ conspiracies had the following effects: (1) price competition for crude

oil and gasoline was restrained, suppressed, and eliminated throughout Colorado; (2) crude oil

derivative fuel product prices in the State of Colorado were raised, fixed, maintained, and

stabilized at artificially high levels; and (3) individuals have been deprived of free and open

competition. During the Class Period, Defendants’ illegal conduct substantially affected Colorado
commerce and consumers.

       243.    Defendants have violated COLO. REV. STAT. §6-4-101 et seq.            Accordingly,

Plaintiffs and members of the Class seek all forms of relief available under violated COLO. REV.

STAT. §6-4-101, et seq.

       244.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of COLO. REV. STAT. §6-1-101 et seq. and, accordingly, Plaintiffs and

members of the Class seek all relief available under that statute.

                             COUNT 9: CONNECTICUT
     (On Behalf of Class Members that Purchased Crude Oil Derivative Fuel Products in
                                      Connecticut)
       245.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of CONN. GEN. STAT. §35-24 et seq. Defendants’ combinations or conspiracies had the

following effects: (1) price competition for crude oil and gasoline was restrained, suppressed, and

eliminated throughout Connecticut, and (2) crude oil derivative fuel product prices in the State of

Connecticut were fixed, controlled, and maintained at artificially high levels; and (3) individuals

have been deprived of free and open competition. During the Class Period, Defendants’ illegal

conduct substantially affected Connecticut commerce. By reason of the foregoing, Defendants

have entered into agreements in restraint of trade in violation of CONN. GEN. STAT. §35-24 et seq.




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Accordingly, Plaintiffs and members of the Class seek all forms of relief available under CONN.

GEN. STAT. §35-24 et seq.

                     COUNTS 10 & 11: DISTRICT OF COLUMBIA
     (On Behalf of Class Members that Purchased Crude Oil Derivative Fuel Products in
                                 District of Columbia)
        246.    Defendants’ combinations or conspiracies had the following effects: (1) price

competition for crude oil and gasoline was restrained, suppressed, and eliminated throughout the

District of Columbia; (2) crude oil derivative fuel product prices were raised, fixed, maintained,

and stabilized at artificially high levels throughout the District of Columbia; and (3) Plaintiffs and

members of the Class, including those who resided in the District of Columbia and purchased

gasoline in the District of Columbia, paid supracompetitive, artificially inflated prices for gasoline.

During the Class Period, Defendants’ illegal conduct substantially affected commerce in the

District of Columbia.

        247.    Defendants have entered into agreements in restraint of trade in violation of D.C.

CODE §28-4501 et seq. Accordingly, Plaintiffs and members of the Class seek all forms of relief

available under D.C. CODE, §28-4501 et seq.

        248.    Defendants have engaged in unfair competition or unfair or deceptive acts or
practices in violation of D.C. CODE, §28-3901 et seq., and, accordingly, Plaintiffs and members of

the Class seek all relief available under that statute.

                                COUNT 12: FLORIDA
     (On Behalf of Class Members that Purchased Crude Oil Derivative Fuel Products in
                                        Florida)
        249.    Through their actions and actions of co-conspirators, crude oil and gasoline prices

in the State of Florida were raised, fixed, maintained, and stabilized at artificially high level,

thereby injuring Plaintiffs and the Class. Throughout the Class Period, competition in the gasoline

market was restrained, suppressed, and eliminated throughout Florida. Plaintiffs and members of

the Class, including those who purchased gasoline in the State of Florida, paid supracompetitive,


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artificially inflated prices for crude oil derivative fuel products.      During the Class Period,

Defendants’ illegal conduct substantially affected commerce in Florida.

        250.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of FLA. STAT. §501.201 et seq., and, accordingly, Plaintiffs and members of

the Class seek all relief available under that statute.

                                 COUNT 13: HAWAII
     (On Behalf of Class Members that Purchased Crude Oil Derivative Fuel Products in
                                        Hawaii)
        251.    Defendants have violated Haw. Rev. Stat. Ann. §480-1 et seq., through their

actions. See HAW. REV. STAT. §§480-4, 480-13. Through Defendants’ actions and the actions of

their co-conspirators, gasoline prices in the State of Hawaii were raised, fixed, maintained, and

stabilized at artificially high levels, thereby injuring Plaintiffs and the Class. Throughout the Class

Period, price competition for crude oil and gasoline was restrained, suppressed, and eliminated

throughout the State of Hawaii. Plaintiffs and members of the Class, including those who resided

in the State of Hawaii and purchased gasoline in Hawaii, paid supracompetitive, artificially inflated

prices for their crude oil derivative fuel products. During the Class Period, Defendants’ illegal

conduct substantially affected commerce in Hawaii. Accordingly, Plaintiffs and members of the
Class seek all forms of relief available under HAW. REV. STAT. ANN. §480-1 et seq.

                             COUNTS 14 & 15: ILLINOIS
     (On Behalf of Class Members that Purchased Crude Oil Derivative Fuel Products in
                                        Illinois)
        252.    Defendants’ combinations or conspiracies had the following effects: (1) price

competition in the crude oil and gasoline market was restrained, suppressed, and eliminated

throughout the State of Illinois, and (2) crude oil derivative fuel product prices were raised, fixed,

maintained, and stabilized at artificially high levels throughout the State of Illinois. During the

Class Period, Defendants’ illegal conduct substantially affected Illinois commerce.




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       253.    Defendants have entered into agreements in restraint of trade in violation of 740

ILL. COMP. STAT. 10/1 et seq. Accordingly, Plaintiffs and members of the Class seek all forms of

relief available under 740 ILL. COMP. STAT. 10/1 et seq.

       254.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of 815 ILL. COMP. STAT. 505/1 et seq, and 720 ILL. COMP. STAT. 295/1a, and,

accordingly, Plaintiffs and members of the Class seek all relief available under that statute.

                                  COUNT 16: IOWA
     (On Behalf of Class Members that Purchased Crude Oil Derivative Fuel Products in
                                         Iowa)
       255.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of IOWA CODE §553.1 et seq. Defendants’ combinations or conspiracies had the

following effects: (1) price competition for crude oil and gasoline was restrained, suppressed, and

eliminated throughout the State of Iowa, and (2) crude oil derivative fuel product prices were

raised, fixed, maintained and stabilized at artificially high levels throughout the State of Iowa.

During the Class Period, Defendants’ illegal conduct substantially affected Iowa commerce. By

reason of the foregoing, Defendants have entered into agreements in restraint of trade in violation

of IOWA CODE §553.1 et seq. Accordingly, Plaintiffs and members of the Class seek all forms of

relief available under IOWA CODE §553.1 et seq.




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                                 COUNT 17: KANSAS
     (On Behalf of Class Members that Purchased Crude Oil Derivative Fuel Products in
                                        Kansas)
       256.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of KAN. STAT. ANN. §50-101 et seq. Defendants’ combinations or conspiracies had the

following effects: (1) price competition for crude oil and gasoline was restrained, suppressed, and

eliminated throughout the State of Kansas; (2) crude oil derivative fuel product prices in the State

of Kansas were raised, fixed, maintained, and stabilized at artificially high levels; and (3)

individuals have been deprived of free and open competition.             During the Class Period,

Defendants’ illegal conduct substantially affected Kansas commerce. Accordingly, Plaintiffs and

members of the Class seek all forms of relief available under KAN. STAT. ANN. §50-101 et seq.

                                  COUNT 18: MAINE
     (On Behalf of Class Members that Purchased Crude Oil Derivative Fuel Products in
                                        Maine)
       257.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of ME. STAT. TIT. 10, §1101. Defendants’ combinations or conspiracies had the following

effects: (1) price competition for crude oil and gasoline was restrained, suppressed, and eliminated

throughout the State of Maine; and (2) crude oil derivative fuel product prices in the State of Maine

were raised, fixed, maintained, and stabilized at artificially high levels. During the Class Period,

Defendants’ illegal conduct substantially affected Maine commerce. Accordingly, Plaintiffs and

members of the Class seek all relief available under ME. STAT. TIT. 10, §1104.

                            COUNTS 19 & 20: MARYLAND
     (On Behalf of Class Members that Purchased Crude Oil Derivative Fuel Products in
                                       Maryland)
       258.    Defendants’ combinations or conspiracies detrimentally affected the price

competition in the State of Maryland for crude oil derivative fuel products by restraining,

suppressing, and eliminating competition. Further, Defendants’ unlawful conduct raised, fixed,

maintained, and stabilized crude oil derivative fuel product prices in the State of Maryland at


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artificially high levels. During the Class Period, Defendants’ illegal conduct substantially affected

Maryland commerce.

       259.    Defendants violated the MD. CODE ANN., COM. LAW §11-201 et seq., by entering

into unlawful agreement in restraint of trade in the State of Maryland. Accordingly, Plaintiffs and

members of the Class seek all relief available under MD. CODE ANN., COM. LAW §11-201 et seq.

       260.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of MD. CODE ANN., COM. LAW §13-101 et seq., and, accordingly, Plaintiffs

and members of the Class seek all relief available under that statute.

                            COUNT 21: MASSACHUSETTS
     (On Behalf of Class Members that Purchased Crude Oil Derivative Fuel Products in
                                    Massachusetts)
       261.    Defendants’ combinations or conspiracies had the following effects: (1) price
competition for crude oil derivative fuel products was restrained, suppressed, and eliminated

throughout the State of Massachusetts, and (2) crude oil derivative fuel product prices were raised,

fixed, maintained, and stabilized at artificially high levels throughout the State of Massachusetts.

During the Class Period, Defendants’ illegal conduct substantially affected Massachusetts

commerce.

       262.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of MASS. GEN. LAWS ANN., Ch. 93A §1, et seq. by entering into unlawful

agreement in restraint of trade in the State of Massachusetts and, accordingly, Plaintiffs and

members of the Class seek all relief available under that statute.

                            COUNTS 22 & 23: MICHIGAN
     (On Behalf of Class Members that Purchased Crude Oil Derivative Fuel Products in
                                       Michigan)
       263.    Defendants’ combinations or conspiracies had the following effects: (1) price

competition for crude oil and crude oil derivative fuel product was restrained, suppressed, and

eliminated throughout the State of Michigan, and (2) crude oil derivative fuel product prices were


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raised, fixed, maintained, and stabilized at artificially high levels throughout the State of Michigan.

During the Class Period, Defendants’ illegal conduct substantially affected Michigan commerce.

       264.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of MICH. COMP. LAWS §445.771 et seq. Accordingly, Plaintiffs and members of the Class

seek all relief available under MICH. COMP. LAWS §445.771 et seq.

       265.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of MICH. COMP. LAWS §445.903 et seq., and, accordingly, Plaintiffs and

members of the Class seek all relief available under that statute.

                           COUNTS 24 & 25: MINNESOTA
     (On Behalf of Class Members that Purchased Crude Oil Derivative Fuel Products in
                                       Minnesota)
       266.    Through their actions and actions of co-conspirators, gasoline prices in the State of

Minnesota were raised, fixed, maintained, and stabilized at an artificially high level, thereby

injuring Plaintiffs and the Class. Throughout the Class Period, price competition in the market for

crude oil and gasoline was restrained, suppressed, and eliminated throughout the State of

Minnesota. Plaintiffs and members of the Class, including those who resided in the State of

Minnesota and purchased gasoline there, paid supracompetitive, artificially inflated prices for
crude oil derivative fuel products.       During the Class Period, Defendants’ illegal conduct

substantially affected commerce in the State of Minnesota.

       267.    Defendants have violated the MINN. STAT. §325D.49 et seq., through their

anticompetitive actions. Accordingly, Plaintiffs and members of the Class seek all forms of relief

available under MINN. STAT. §325D.49 et seq.

       268.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation MINN. STAT. MINN. STAT. § 325d.43-48 et seq., and, accordingly, Plaintiffs

and members of the Class seek all relief available under that statute.




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                              COUNT 26: MISSISSIPPI
     (On Behalf of Class Members that Purchased Crude Oil Derivative Fuel Products in
                                      Mississippi)
       269.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of MISS. CODE ANN. §75-21-1 et seq. See MISS. CODE ANN. §75-57-63. Defendants’

combinations or conspiracies had the following effects: (1) price competition for crude oil and

crude oil derivative fuel product was restrained, suppressed, and eliminated throughout the State

of Mississippi, and (2) crude oil derivative fuel product prices were raised, fixed, maintained, and

stabilized at artificially high levels throughout the State of Mississippi. During the Class Period,

Defendants’ illegal conduct substantially affected the State of Mississippi commerce.

Accordingly, Plaintiffs and members of the Class seek all relief available under MISS. CODE ANN.
§75-21-1 et seq., and MISS. CODE ANN. §75-57-63.

                               COUNT 27: MONTANA
     (On Behalf of Class Members that Purchased Crude Oil Derivative Fuel Products in
                                       Montana)
       270.    By reason of the conduct alleged herein, Defendants have violated MONT. CODE,
§§30-14-101, et seq. Defendants’ unlawful conduct had the following effects: (1) crude oil

derivative fuel product price competition was restrained, suppressed, and eliminated throughout

Montana; (2) crude oil derivative fuel product prices were raised, fixed, maintained, and stabilized

at artificially high levels throughout Montana; (3) Plaintiffs were deprived of free and open

competition; and (4) Plaintiffs and members of the Class paid supracompetitive, artificially inflated

prices for crude oil derivative fuel products.

       271.    During the Class Period, Defendants’ illegal conduct substantially affected

Montana commerce and consumers. As a direct and proximate result of Defendants’ unlawful

conduct, Plaintiffs were injured and are threatened with further injury. Accordingly, Plaintiffs and

members of the Class seek all relief available under the Montana Consumer Protection Act of

1973, MONT. CODE, §§30-14-101, et seq.


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                            COUNTS 28 & 29: NEBRASKA
     (On Behalf of Class Members that Purchased Crude Oil Derivative Fuel Products in
                                       Nebraska)
       272.    Defendants’ combinations or conspiracies had the following effects: (1) price

competition for crude oil and crude oil derivative fuel product was restrained, suppressed, and

eliminated throughout the State of Nebraska, and (2) crude oil derivative fuel product prices were

raised, fixed, maintained, and stabilized at artificially high levels throughout the State of Nebraska.

During the Class Period, Defendants’ illegal conduct substantially affected the State of Nebraska
commerce.

       273.    Defendants restrained trade and commerce in the State of Nebraska by entering into

an unlawful agreement in violation of NEB. REV. STAT. §59-801 et seq. Accordingly, Plaintiffs

and members of the Class seek all relief available under NEB. REV. STAT. §59-801 et seq.

       274.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of NEB. REV. STAT. §59-1601 et seq., and, accordingly, Plaintiffs and

members of the Class seek all relief available under that statute.

                             COUNTS 30 & 31: NEVADA
     (On Behalf of Class Members that Purchased Crude Oil Derivative Fuel Products in
                                        Nevada)
       275.    Defendants’ conspiracies had the following effects: (1) price competition for crude

oil and gasoline was restrained, suppressed, and eliminated throughout the State of Nevada; (2)

crude oil derivative fuel product prices in the State of Nevada were raised, fixed, maintained, and

stabilized at artificially high levels; and (3) individuals have been deprived of free and open

competition.

       276.    Defendants violated the NEV. REV. STAT. ANN. §598A.210 et seq., by entering into

unlawful agreement in restraint of trade in the State of Nevada. As a result of Defendants’ violation

of NEV. REV. STAT. ANN. §598A.210 et seq. Plaintiffs and members of the Class seek treble




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damages and their cost of suit, including a reasonable attorneys’ fee, pursuant to NEV. REV. STAT.

ANN. §598A.210.

       277.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of NEV. REV. STAT. §598.0903 et seq., and, accordingly, Plaintiffs and

members of the Class seek all relief available under that statute.

                        COUNTS 32 & 33: NEW HAMPSHIRE
  (On Behalf of Class Members that Purchased Crude Oil Derivative Fuel Products in New
                                     Hampshire)
       278.    Defendants’ combinations or conspiracies detrimentally affected the price

competition in the State of New Hampshire crude oil and crude oil derivative fuel product market

by restraining, suppressing, and eliminating competition. Further, Defendants’ unlawful conduct

raised, fixed, maintained, and stabilized crude oil derivative fuel product prices in the State of New

Hampshire at artificially high levels. During the Class Period, Defendants’ illegal conduct

substantially affected the State of New Hampshire commerce.

       279.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of N.H. REV. STAT. ANN. §356:1 et seq. Accordingly, Plaintiffs and members of the

Class seek all relief available under N.H. REV. STAT. ANN. §356:1 et seq.

       280.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of N.H. REV. STAT. ANN. §358-A:1 et seq., and, accordingly, Plaintiffs and

members of the Class seek all relief available under that statute.

                             COUNT 34: NEW JERSEY
  (On Behalf of Class Members that Purchased Crude Oil Derivative Fuel Products in New
                                       Jersey)
       281.    Defendants’ conspiracy detrimentally affected the price competition for crude oil

derivative fuel products purchased in the State of New Jersey by restraining, suppressing, and

eliminating competition. Further, Defendants’ unlawful conduct raised, fixed, maintained, and

stabilized crude oil derivative fuel product prices in the State of New Jersey at artificially high


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levels. During the Class Period, Defendants’ illegal conduct substantially affected the State of

New Jersey commerce.

       282.    Defendants engaged in a conspiracy in restraint of the trading of PVC Pipe in

violation of the New Jersey Antitrust Act, N.J. STAT. ANN. §56:9-3. Accordingly, Plaintiffs and

members of the Class seek equitable relief and compensatory damages, together with reasonable

attorneys’ fees, filing fees and reasonable costs of suit, including but not limited to expenses of

discovery and document reproduction. N.J. STAT. ANN. §56:9-12.

                         COUNTS 35 & 36: NEW MEXICO
  (On Behalf of Class Members that Purchased Crude Oil Derivative Fuel Products in New
                                       Mexico)
       283.    Defendants’ combinations or conspiracies detrimentally affected the price

competition in the State of New Mexico for crude oil and crude oil derivative fuel product by

restraining, suppressing, and eliminating competition. Further, Defendants’ unlawful conduct
raised, fixed, maintained, and stabilized crude oil derivative fuel product prices in the State of New

Mexico at artificially high levels.      During the Class Period, Defendants’ illegal conduct

substantially affected commerce in the State of New Mexico.

       284.    Defendants violated the N.M. STAT. ANN. §57-1-1 et seq., by entering into unlawful

agreement in restraint of trade in the State of New Mexico. Accordingly, Plaintiffs and Members

of the Class seek all relief available under N.M. STAT. ANN. §57-1-1 et seq.

       285.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of N.M. STAT. ANN. §57-12-1 et seq., and, accordingly, Plaintiffs and

members of the Class seek all relief available under that statute.

                               COUNT 37: NEW YORK
  (On Behalf of Class Members that Purchased Crude Oil Derivative Fuel Products in New
                                        York)
       286.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of N.Y. GEN. BUS. LAW §340 et seq. Defendants’ combinations or conspiracies had the


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following effects: (1) price competition in the market for crude oil and crude oil derivative fuel

product was restrained, suppressed, and eliminated throughout the State of New York, and (2)

crude oil derivative fuel product prices were raised, fixed, maintained, and stabilized at artificially

high levels throughout the State of New York. During the Class Period, Defendants’ illegal

conduct substantially affected the State of New York commerce. The conduct set forth above is a

per se violation of the Donnelly Act, N.Y. GEN. BUS. LAW §340 et seq. Accordingly, Plaintiffs

and members of the Class seek all relief available under N.Y. GEN. BUS. LAW §340 et seq.

                         COUNT 38: NORTH CAROLINA
(On Behalf of Class Members that Purchased Crude Oil Derivative Fuel Products in North
                                      Carolina)
       287.    Defendants have entered into an unlawful agreement in restraint of trade in
violation of N.C. GEN. STAT. §75-1 et seq. Defendants’ combinations or conspiracies had the

following effects: (1) price competition in the market for crude oil and crude oil derivative fuel

product was restrained, suppressed, and eliminated throughout the State of North Carolina, and (2)

crude oil derivative fuel product prices were raised, fixed, maintained, and stabilized at artificially

high levels throughout the State of North Carolina. During the Class Period, Defendants’ illegal

conduct substantially affected the State of North Carolina commerce. Accordingly, Plaintiffs and

members of the Class seek all relief available under N.C. GEN. STAT. §75-1 et seq.

                           COUNT 39: NORTH DAKOTA
(On Behalf of Class Members that Purchased Crude Oil Derivative Fuel Products in North
                                      Dakota)
       288.    Defendants’ actions have violated the N.D. CENT. CODE §51-08.1-01 et seq.

through their anticompetitive actions. Through their actions and actions of co-conspirators, crude

oil derivative fuel product prices in the State of North Dakota were raised, fixed, maintained, and

stabilized at artificially high level, thereby injuring Plaintiffs and the Class. Throughout the Class

Period, price competition in the market for crude oil and crude oil derivative fuel product was

restrained, suppressed, and eliminated throughout the State of North Dakota. Plaintiffs and


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members of the Class, including those who resided in the State of North Dakota and purchased

crude oil derivative fuel product there, paid supracompetitive, artificially inflated prices. During

the Class Period, Defendants’ illegal conduct substantially affected commerce in the State of North

Dakota. Accordingly, Plaintiffs and members of the Class seek all forms of relief available under

N.D. CENT. CODE §51-08.1-01 et seq.

                             COUNTS 40 & 41: OREGON
    (On Behalf of Class Members that Purchased Crude Oil Derivative Fuel Products in
                                       Oregon)
        289.    Defendants’ combinations or conspiracies had the following effects: (1) price

competition for crude oil and crude oil derivative fuel product was restrained, suppressed, and

eliminated throughout the State of Oregon; (2) crude oil derivative fuel product prices in the State

of Oregon were raised, fixed, maintained, and stabilized at artificially high levels; and (3)

individuals have been deprived of free and open competition.             During the Class Period,

Defendants’ illegal conduct substantially affected the State of Oregon commerce.

        290.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of OR. REV. STAT. §646.725 et seq. Accordingly, Plaintiffs and members of the Class

seek all forms of relief available under OR. REV. STAT. §646.725 et seq.

        291.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of OR. REV. STAT. §646.605 et seq., and, accordingly, Plaintiffs and members

of the Class seek all relief available under that statute.

                            COUNT 42: PENNSYLVANIA
    (On Behalf of Class Members that Purchased Crude Oil Derivative Fuel Products in
                                     Pennsylvania)
        292.    Through their actions and actions of Co-Conspirators, crude oil derivative fuel

product prices in the State of Pennsylvania were raised, fixed, maintained, and stabilized at

artificially high level, thereby injuring Plaintiffs and the Class. Throughout the Class Period,

competition in the crude oil derivative fuel product markets was restrained, suppressed, and


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eliminated throughout Pennsylvania. Plaintiffs and members of the Class, including those who

Purchased crude oil derivative fuel products in the State of Pennsylvania, paid supracompetitive,

artificially inflated prices for crude oil derivative fuel products. During the Class Period,

Defendants’ illegal conduct substantially affected commerce in Pennsylvania.

        293.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of 73 P.S. §201-1, et seq., and, accordingly, Plaintiffs and members of the

Class seek all relief available under that statute.

                        COUNTS 43 & 44: RHODE ISLAND
(On Behalf of Class Members that Purchased Crude Oil Derivative Fuel Products in Rhode
                                       Island)
        294.    Defendants’ combinations or conspiracies detrimentally affected the price

competition in the State of Rhode Island for crude oil and crude oil derivative fuel product by

restraining, suppressing, and eliminating competition. Further, Defendants’ unlawful conduct

raised, fixed, maintained, and stabilized crude oil derivative fuel product prices in the State of

Rhode Island at artificially high levels. During the Class Period, Defendants’ illegal conduct

substantially affected commerce in the State of Rhode Island.

        295.    Defendants have entered into an unlawful agreement in restraint of trade in
violation of R.I. GEN. LAWS §6-36-7 et seq. Accordingly, Plaintiffs and members of the Class seek

all relief available under R.I. GEN. LAWS §6-36-7 et seq.

        296.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of R.I. GEN. LAWS §6-13.1-1, and, accordingly, Plaintiffs and members of

the Class seek all relief available under that statute.

                        COUNTS 45 & 46: SOUTH DAKOTA
(On Behalf of Class Members that Purchased Crude Oil Derivative Fuel Products in South
                                      Dakota)
        297.    Through their actions and actions of co-conspirators, crude oil derivative fuel

product prices in the State of South Dakota were raised, fixed, maintained, and stabilized at


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artificially high level, thereby injuring Plaintiffs and the Class. Throughout the Class Period, price

competition in the market for crude oil and crude oil derivative fuel product was restrained,

suppressed, and eliminated throughout the State of South Dakota. During the Class Period,

Defendants’ illegal conduct substantially affected commerce in the State of South Dakota.

Plaintiffs and members of the Class, including those who resided in the State of South Dakota and

purchased crude oil derivative fuel product there, paid supracompetitive, artificially inflated prices

for their crude oil derivative fuel products.
       298.    Defendants have violated S.D. CODIFIED LAWS §37-1-3.1 et seq., through their

anticompetitive actions. Accordingly, Plaintiffs and members of the Class seek all forms of relief

available under S.D. CODIFIED LAWS §37-1-3.1 et seq.

       299.    Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of S.D. CODIFIED LAWS §37-24-1 et seq., and, accordingly, Plaintiffs and

members of the Class seek all relief available under that statute.

                              COUNT 47: TENNESSEE
    (On Behalf of Class Members that Purchased Crude Oil Derivative Fuel Products in
                                      Tennessee)
       300.    Defendants have entered into an unlawful agreement in restraint of trade in
violation of TENN. CODE ANN. §47-25-101 et seq. Defendants’ combinations or conspiracies had

the following effects: (1) price competition for the sale of crude oil derivative fuel product, a

tangible good, was restrained, suppressed, and eliminated throughout the State of Tennessee; and

(2) individuals have been deprived of free and open competition. During the Class Period,

Defendants’ illegal conduct substantially affected commerce in the State of Tennessee.

Accordingly, Plaintiffs and members of the Class seek all forms of relief available under TENN.

CODE ANN. §47-25-101 et seq.




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                                 COUNT 48: UTAH
(On Behalf of Class Members that Purchased Crude Oil Derivative Fuel Products in Utah)
       301.    Defendants violated the UTAH CODE ANN. §76-10-3101 et seq. by entering into

unlawful agreement in restraint of trade in the State of Utah.            Specifically, Defendants’

combinations or conspiracies detrimentally affected the price competition in the State of Utah for

crude oil and crude oil derivative fuel product by restraining, suppressing, and eliminating

competition. Further, Defendants’ unlawful conduct raised, fixed, maintained, and stabilized

crude oil derivative fuel product prices in Utah at artificially high levels. During the Class Period,

Defendants’ illegal conduct substantially affected commerce in the State of Utah. Accordingly,

Plaintiffs and Members of the Class seek all relief available under UTAH CODE ANN. §76-10-
3101 et seq.

                               COUNT 49: VERMONT
    (On Behalf of Class Members that Purchased Crude Oil Derivative Fuel Products in
                                       Vermont)
       302.    Defendants’ combinations or conspiracies had the following effects: (1) price

competition for crude oil and crude oil derivative fuel product was restrained, suppressed, and

eliminated throughout the State of Vermont; (2) crude oil derivative fuel product prices in the State

of Vermont were raised, fixed, maintained, and stabilized at artificially high levels; and (3)

individuals have been deprived of free and open competition. Defendants have entered into an

unlawful agreement in restraint of trade in violation of VT. STAT. ANN. TIT. 9, §2453 et seq. During

the Class Period, Defendants’ illegal conduct substantially affected commerce in the State of

Vermont. Accordingly, Plaintiffs and members of the Class seek all forms of relief available under

VT. STAT. ANN. TIT. 9, §2465 et seq.

                           COUNT 50: WEST VIRGINIA
(On Behalf of Class Members that Purchased Crude Oil Derivative Fuel Products in West
                                      Virginia)
       303.    Defendants’ conspiracy had the following effects: (1) price competition for crude

oil derivative fuel products was restrained, suppressed, and eliminated throughout the State of

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West Virginia; (2) crude oil derivative fuel product prices in the State of West Virginia were raised,

fixed, maintained, and stabilized at artificially high levels; and (3) individuals have been deprived

of free and open competition.

        304.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of W. VA. CODE §47-18-1 et seq. During the Class Period, Defendants’ illegal conduct

substantially affected commerce in the State of West Virginia. Accordingly, Plaintiffs and

members of the Class seek all forms of relief available under W. VA. CODE §47-18-1 et seq.

                               COUNT 51: WISCONSIN
     (On Behalf of Class Members that Purchased Crude Oil Derivative Fuel Products in
                                       Wisconsin)
        305.    Defendants have entered into an unlawful contract and conspiracy in restraint of

trade in violation of WIS. STAT. §133.03(1). Defendants’ conspiracy had the following effects: (1)
price competition for crude oil derivative fuel products was restrained, suppressed, and eliminated

throughout the State of Wisconsin; (2) crude oil derivative fuel product prices in the State of

Wisconsin were raised, fixed, maintained, and stabilized at artificially high levels; and (3)

individuals have been deprived of free and open competition.

        306.    During the Class Period, Defendants’ illegal conduct substantially affected

commerce in the State of Wisconsin. Accordingly, Plaintiffs and members of the Class seek all

forms of relief available under WIS. STAT. §133.03.

X.      PRAYER FOR RELIEF

     WHEREFORE, Plaintiffs, individually and on behalf of the Classes of all others so similarly

situated, respectfully requests that:

        A.      The Court determine that this action may be maintained as a class action under Fed.

R. Civ. P. 23(a) and (b)(3), appoint Plaintiffs as Class Representative and its counsel of record as

Class Counsel, and direct that notice of this action, as provided by Fed. R. Civ. P. 23(c)(2) be

given to the Class, once certified;


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         B.      The Court adjudge and decree that the acts of Defendants are illegal and unlawful,

including the agreement, contract, combination, or conspiracy, and acts done in furtherance

thereof by Defendants and their co-conspirators be adjudged to have been a per se violation (or

alternatively illegal as a quick look or full-fledged rule of reason violation) of various state

antitrust and competition laws as alleged above;

         C.      The Court permanently enjoin and restrain Defendants, their affiliates, successors,

transferees, assignees, and other officers, directors, agents, and employees thereof, and all other

persons acting or claiming to act on their behalf, from in any manner continuing, maintaining, or

renewing the conduct, contract, conspiracy, or combination alleged herein, or from entering into

any other contract, conspiracy, or combination having a similar purpose or effect, and from

adopting or following any practice, plan, program, or device having a similar purpose or effect;

         D.      The Court enter judgment against Defendants, jointly and severally, and in favor of

Plaintiffs and members of the Classes for treble the amount of damages sustained by Plaintiffs

and the Classes as allowed by law, together with costs of the action, including reasonable

attorneys’ fees, pre- and post-judgment interest at the highest legal rate from and after the date of

service of this Complaint to the extent provided by law; and

         E.      The Court award Plaintiffs and members of the Classes such other and further relief

as the case may require and that the Court may deem just and proper under the circumstances.

XI.      JURY TRIAL DEMANDED

      Plaintiffs demands a trial by jury, pursuant to Rule 38(b) of the Federal Rules of Civil

Procedure, on all issues so triable.


Date: November 4, 2024                               /s/ Vincent J. Ward

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